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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No.

CITY AND COUNTY OF DENVER,

            Plaintiff,

v.

JUUL LABS, INC. F/K/A PAX LABS, INC.;
EONSMOKE LLC;
ALTRIA GROUP, INC.;
ALTRIA CLIENT SERVICES LLC;
ALTRIA GROUP DISTRIBUTION COMPANY;
NU MARK LLC; AND
NU MARK INNOVATIONS, LTD.;

            Defendants.



                                     COMPLAINT
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                                   I.      INTRODUCTION

        1.     One of the great public health success stories over the past nearly two decades has

been a reduction in youth tobacco use and nicotine addiction. Youth smoking rates plummeted

from 28% in 2000 to 7.6% in 2017.1 This success has been the result of years of litigation and

strict regulation. It is also due to a powerful public health message that Big Tobacco can no

longer dispute or contradict: smoking kills.

        2.     This incredible progress towards eliminating youth use of tobacco products has

now largely been reversed due to e-cigarettes and vaping. Between 2017 and 2018, e-cigarette

use increased 78% among high school students nationwide, from 11.7% of high school students

in 2017 to 20.8% of high schoolers in 2018. 2 Among middle school students, e-cigarette use

increased 48% between 2017 and 2018.3 The increase in youth nicotine vaping from 2017 to

2018 was the largest for any substance tracked by the national Monitoring the Future surveys

over the past forty-four years.4

        3.     Youth vaping rates continued to climb from 2018 to 2019, such that vaping

prevalence more than doubled among each grade level surveyed—eighth, tenth, and twelfth



1
  Meredith Berkman, Testimony of Meredith Berkman, Parents Against Vaping E-cigarettes,
  U.S. House Committee on Oversight & Reform (July 24, 2019),
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2019.07.24%20Berkman-
  PAVe%20Testimony.pdf.
2
  Jerome Adams, Surgeon General’s Advisory on E-cigarette Use Among Youth, CDC (Dec.
  2018), https://e-cigarettes.surgeongeneral.gov/documents/surgeon-generals-advisory-on-e-
  cigarette-use-among-youth-2018.pdf.
3
  2018 NYTS Data: A startling rise in youth e-cigarette use, FDA (Feb. 2, 2019),
  https://www.fda.gov/tobacco-products/youth-and-tobacco/2018-nyts-data-startling-rise-youth-
  e-cigarette-use.
4
  Richard Miech, Ph.D. et al., Trends in Adolescent Vaping, 2017-2019, 381 New Eng. J. Med.
  1490-91 (Oct. 10, 2019), https://www.nejm.org/doi/full/10.1056/NEJMc1910739.


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graders—in the past two years.5 In 2019, more than five million middle and high school students

reported current use of e-cigarettes, including more than one in every four high schoolers.6

        4.     Consistent with these national numbers, youth in the City and County of Denver

(“Denver” or “Plaintiff”) are vaping at high rates—rates which continue to climb. In 2013, only

11% of high school students in Colorado Region 20, which encompasses Plaintiff’s community,

had ever tried e-cigarettes.7 By 2017, that number had jumped to 40% of high school students.8

Colorado has the highest rate of youth vaping in the nation.9

        5.     According to the Centers for Disease Control and Prevention (“CDC”) Director

Robert Redfield, “The skyrocketing growth of young people’s e-cigarette use over the past year

threatens to erase progress made in reducing tobacco use. It’s putting a new generation at risk for

nicotine addiction.”10 Former U.S. Food and Drug Administration (“FDA”) Commissioner Scott

Gottlieb described the federal statistics as “astonishing,” and both the FDA and the United States




5
  Id.
6
  Youth Tobacco Use: Results from the National Youth Tobacco Survey, FDA (Nov. 6, 2019),
  https://www.fda.gov/tobacco-products/youth-and-tobacco/youth-tobacco-use-results-national-
  youth-tobacco-survey#1.
7
  2013 Healthy Kids Colorado Survey Results: Region 20 High School Summary Tables at 52,
  Colo. Dep’t of Pub. Health & Env’t (2013),
  https://drive.google.com/file/d/0B_NVoyuCwHvoaW5nTGlGZGFvVUk/view.
8
  2017 Healthy Kids Colorado Survey Results: Region 20 High School Summary Tables at 76,
  Colo. Dep’t of Pub. Health & Env’t (2017),
  https://drive.google.com/file/d/1Od5tWXlu_sFMiFj2KexKB8kL3DnDBZvG/view.
9
  Sawyer D’Argonne, CDC Study: Colorado youth use vaping products, e-cigarettes at twice the
  national average, Aspen Times (July 31, 2018), https://www.aspentimes.com/news/cdc-study-
  colorado-youth-use-e-cigarettes-vaping-nicotine-products-at-twice-the-national-average/.
10
   Amir Vera, Texas governor signs law increasing the age to buy tobacco products to 21, CNN
  (June 8, 2019), https://www-m.cnn.com/2019/06/08/health/texas-new-tobacco-
  law/index.html#:~:targetText=Supporters%20say%20increasing%20the%20minimum,go%20in
  to%20effect%20September%201.?r=https%3A%2F%2Fwww.google.com%2F.


                                                 2
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Surgeon General (“Surgeon General”) have characterized youth vaping as an “epidemic.”11 The

Secretary of the U.S. Department of Health and Human Services (“HHS”) declared that “[w]e

have never seen use of any substance by America’s young people rise as rapidly as e-cigarette

use [is rising].”12

         6.     A major cause of this epidemic is Defendant JUUL Labs, Inc. (“JLI”), the maker

of the JUUL e-cigarette. JLI entered the e-cigarette market in 2015 and, by 2019, controlled over

70% of it.13 Over one million JUUL e-cigarettes were sold between 2015 and 2017.14 In 2017,

JLI’s e-cigarette products had generated over $224 million in retail sales, a 621% year-over-year

increase.15 By June 2018, sales had skyrocketed another 783%, reaching $942.6 million.16 The

e-cigarette category as a whole grew 97% to $1.96 billion in the same period, largely based on




11
   Angelica LaVito, FDA chief Gottlieb threatens to pull e-cigarettes off market if ‘astonishing’
  surge in teen use doesn’t slow, CNBC (Nov. 16, 2018), https://www.cnbc.com/2018/11/16/fda-
  chief-gottlieb-threatens-to-pull-e-cigarettes-off-market.html; Jayne O’Donnell, FDA declares
  youth vaping an epidemic, announces investigation, new enforcement, USA Today (Sept. 12,
  2018), https://www.usatoday.com/story/news/politics/2018/09/12/fda-scott-gottlieb-youth-
  vaping-e-cigarettes-epidemic-enforcement/1266923002/.
12
   Jan Hoffman, Study Shows Big Rise in Teen Vaping This Year, N.Y. Times (Dec. 17, 2018),
  https://www.nytimes.com/2018/12/17/health/ecigarettes-teens-nicotine-.html; Rajiv Bahl, Teen
  Use of Flavored Tobacco was Down, But E-Cigarettes Are Bringing It Back Up, Healthline
  (Jan. 9, 2019), https://www.healthline.com/health-news/flavored-tobacco-use-rising-again-
  among-teens#An-unhealthy-habit.
13
   Richard Craver, Juul ends 2018 with 76 percent market share, Winston-Salem J. (Jan. 8,
  2019), https://www.journalnow.com/business/juul-ends-with-percent-market-
  share/article_6f50f427-19ec-50be-8b0c-d3df18d08759.html.
14
   Melia Robinson, How a startup behind the ‘iPhone of vaporizers’ reinvented the e-cigarette
  and generated $224 million in sales in a year, Bus. Insider (Nov. 21, 2017),
  https://www.businessinsider.com/juul-e-cigarette-one-million-units-sold-2017-11/.
15
   Id.
16
   Angelica LaVito, Popular e-cigarette Juul’s sales have surged almost 800 percent over the
  past year, CNBC Health & Sci. (Sept. 11, 2018), https://www.cnbc.com/2018/07/02/juul-e-
  cigarette-sales-have-surged-over-the-past-year.html.


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JUUL’s market success.17 The JUUL e-cigarette’s rise to become the dominant product on the e-

cigarette market was so rapid, and so complete, that the act of vaping is now often referred to as

“juuling.”

         7.    As JUUL’s popularity skyrocketed, Defendant Eonsmoke, LLC (“Eonsmoke”)

explicitly traded on JUUL’s market share, promoting its own products as “JUUL compatible,”

initiating a successful “Doit4juul” social media campaign, and offering its JUUL-compatible

pods in flavors including “Sour Gummy,” “Pineapple Crush,” and “Pink Lemonade.”18 Other

copycats also hurried to mimic JUUL’s potent nicotine formulation and youth-oriented design—

building on the illicit youth e-cigarette market JLI created.

         8.    By September 2018, youth vaping rates were spiraling out of control, and the

FDA sent warning letters to Defendants JLI19 and Altria Client Services20 regarding the

alarmingly high rates of youth using their products. In October 2018, the FDA raided JLI’s

headquarters and seized more than one thousand documents relating to JLI’s sales and marketing

practices.21 By the end of 2019, the FDA, the Federal Trade Commission, and the U.S. House of



17
   Id.
18
   Letter from Ann Simoneau, J.D., Director FDA Center for Tobacco Products’ Office of
  Compliance and Enforcement, to Kelly L. Zeller, General Manager, Eonsmoke, LLC
  (“Eonsmoke, LLC Warning Letter”) (Oct. 24, 2019), https://www.fda.gov/inspections-
  compliance-enforcement-and-criminal-investigations/warning-letters/eonsmoke-llc-592097-
  10242019.
19
   Letter from Scott Gottlieb, M.D., FDA Commissioner, to Kevin Burns, JUUL Labs, Inc. (Sept.
  12, 2018), https://www.fda.gov/media/119669/download.
20
   Letter from Scott Gottlieb, M.D., FDA Commissioner, to Howard A. Willard III, Altria Group,
  Inc. (Sept. 12, 2018), https://www.fda.gov/media/119666/download.
21
   Laurie McGinley, FDA seizes Juul e-cigarette documents in surprise inspection of
  headquarters, Wash. Post (Oct. 2, 2018),
  https://www.washingtonpost.com/health/2018/10/02/fda-seizes-juul-e-cigarette-documents-
  surprise-inspection-headquarters/.


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Representatives Committee on Oversight and Reform had all commenced investigations into

JLI’s role in the youth vaping epidemic and whether JLI’s marketing practices purposefully

targeted youth. Multiple state attorneys general have now also opened investigations into or filed

suit against JLI.

         9.     As the pressure on JLI intensified, Altria22—maker of Marlboro cigarettes, parent

company of Philip Morris USA, and one of the largest tobacco companies in the world—stepped

in to publicly support JLI. While Altria first began having “confidential discussions” beginning

in the spring of 2017,23 Altria did not make its relationship with JLI public until December 20,

2018, when Altria announced a $12.8 billion equity investment in JLI, giving it a 35% stake in

JLI. Just several weeks prior to this announcement, Altria had seemingly criticized JLI’s

marketing practices in a letter to the FDA and declared that “pod-based products significantly

contribute to the rise in youth use of e-vapor products.” Altria removed its own pod-based

products, the MarkTen Elite and Apex by MarkTen, from the market—only to commit its

substantial resources, regulatory knowledge, and lobbying muscle to protecting and expanding

JUUL’s market share, which, as Altria and JLI both know, relies heavily on youth.

         10.    Attempting to revise history and cover-up JLI’s misconduct, JLI and Altria are

now describing their collaboration as a “harm reduction opportunity,” and insist JLI never

marketed to youth. These assertions fall flat against the facts, as detailed below. Altria has



22
   Altria Group, Inc. and its subsidiaries Altria Client Services LLC, Altria Group Distribution
  Company, and Nu Mark, LLC, and Nu Mark Innovations, Ltd (collectively, “Altria” or “Altria
  Defendants”).
23
   Letter from Howard A. Willard III, Altria Group, Inc. to Senator Richard J. Durbin at 3 (Oct.
  14, 2019), https://www.altria.com/-/media/Project/Altria/Altria/about-altria/federal-regulation-
  of-tobacco/regulatory-filings/documents/Altria-Response-to-October-1-2019-Senate-Letter.pdf.


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described the JUUL e-cigarette as “compelling” and “a terrific product.” In fact, Defendant JLI’s

JUUL e-cigarette has compelled a generation of youth, who were never cigarette smokers, into

nicotine addiction and forced local governments to spend significant amounts of time and

resources combatting the youth vaping crisis sweeping their communities. JLI and Altria are now

working together and denying that JLI’s products are marketed to and designed for youth and

nonsmokers while maintaining JUUL’s market dominance—which would not be possible if the

customer base were in fact only adult smokers seeking to quit.

       11.     Plaintiff the City and County of Denver brings this action against Defendants

JUUL Labs, Inc.; Eonsmoke, LLC; Altria Group, Inc. and its subsidiaries Altria Client Services

LLC, Altria Group Distribution Company, and Nu Mark, LLC, and Nu Mark Innovations, Ltd

(collectively, “Altria” or “Altria Defendants”), for damages and injunctive relief, including

abatement of the public health crisis caused by Defendants’ wrongful conduct.

                             II.     JURISDICTION AND VENUE

       12.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 because Plaintiff’s racketeering claim arises under the laws of the United States, 18 U.S.C.

§ 1961 et seq., and pursuant to 28 U.S.C. § 1332(a) because: (i) the amount in controversy

exceeds $75,000, exclusive of interests and costs, and (ii) the plaintiff and defendants are citizens

of different states. This Court has supplemental jurisdiction over the state law claims pursuant to

28 U.S.C. § 1367.

       13.     The Court has personal jurisdiction over Defendants because they do business in

the District of Colorado and have sufficient minimum contacts with this District. Defendants

intentionally avail themselves of the markets in this State through the promotion, marketing, and



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sale of the products at issue in this lawsuit in Colorado, and by retaining the profits and proceeds

from these activities, to render the exercise of jurisdiction by this Court permissible under

Colorado law and the U.S. Constitution.

        14.     Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391 (b)(2)

and (3) because a substantial part of the events or omissions giving rise to the claims at issue in

this Complaint arose in this District and Defendants are subject to the Court’s personal

jurisdiction with respect to this action.

                                            III.   PARTIES

Plaintiff

        15.     Plaintiff the City and County of Denver (“Plaintiff” or “City and County of

Denver” or “Denver”) is a home-rule municipality and a municipal corporation of the State of

Colorado under the Colorado Constitution, Article XX.

JUUL Labs, Inc.

        16.     Defendant JUUL Labs, Inc. (“JLI”) is a Delaware corporation, having its principal

place of business in San Francisco, California. JLI was incorporated in Delaware on March 12,

2007 (file no. 4315504) under the name Ploom, Inc. (“Ploom”). In February 2015, Ploom

changed its name to PAX Labs, Inc. In April 2017, PAX Labs, Inc. formed a new corporation

under the name PAX Labs (Deux), Inc., incorporated in Delaware on April 21, 2017 (file no.

6387684). On June 30, 2017, PAX Labs, Inc. was renamed JUUL Labs, Inc., and PAX Labs

(Deux), Inc. was given the name PAX Labs, Inc.

        17.     JLI manufactures, designs, sells, markets, promotes and distributes JUUL

e-cigarettes, JUULpods and accessories (collectively, “JUUL products”). From JUUL’s launch



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in 2015 until June 2017, JLI manufactured, designed, sold, marketed, promoted, and distributed

JUUL products under the name PAX Labs, Inc.

        18.     JUUL Labs, Inc., formerly known as PAX Labs, Inc., formerly known as Ploom,

Inc., is referred to herein as “JLI.”

Eonsmoke

        19.     Defendant Eonsmoke, LLC (“Eonsmoke”) is a New Jersey limited liability

company with its principal place of business in Clifton, New Jersey. Eonsmoke markets and sells

“Juul Compatible” Eonsmoke and Eonsmoke v2.0 electronic vapor devices and flavor pods, as

well as 4X pods and disposable vape products such as Eon St!Ks.

Altria Defendants

        20.     Defendant Altria Group, Inc. is a Virginia corporation, having its principal place

of business in Richmond, Virginia. Altria is one of the world’s largest producers and marketers

of tobacco products. On December 20, 2018, Altria purchased a 35% stake in JLI.

        21.     Defendant Altria Client Services LLC (“Altria Client Services”) is a New York

corporation and wholly owned subsidiary of Altria Group, Inc. with its principal place of

business in Henrico County, Virginia. Altria Client Services provides Altria Group, Inc. and its

companies with services in many areas including digital marketing, packaging design &

innovation, product development, and safety, health, and environmental affairs. Pursuant to

Altria’s Relationship Agreement with JLI, Altria Client Services assists JLI in the sale,

marketing, promotion and distribution of JUUL products.24 Such services include database



24
  Altria Group, Inc., Relationship Agreement by and among JUUL Labs, Inc., Altria Group,
 Inc., and Altria Enterprises LLC (“Relationship Agreement”) (Form 8-K), Ex. 2.2 (Dec. 20,


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support, direct marketing support, and premarket product application support.25 On September

25, 2019, the former senior vice president and chief growth officer of Altria Client Services,

K.C. Crosthwaite, became the new chief executive officer of JLI.

       22.     Defendant Altria Group Distribution Company is a Virginia corporation and

wholly owned subsidiary of Altria Group, Inc. with its principal place of business in Henrico

County, Virginia. Altria Group Distribution Company provides sales, distribution and consumer

engagement services to Altria’s tobacco companies. Altria Group Distribution Company




   Altria Group Distribution Company




       23.     Defendant Nu Mark LLC is a Virginia corporation and wholly owned subsidiary

of Altria Group, Inc., with its principal place of business in Richmond, Virginia. Nu Mark LLC

was engaged in the manufacture and sale of Altria’s electronic vapor products. Shortly before

Altria purchased a 35% stake in JLI in December 2018, Altria Group, Inc. announced that Nu

Mark would be discontinuing the production and sale of all e-vapor products.

       24.     Defendant Nu Mark Innovations, Ltd. is a subsidiary of Nu Mark LLC located in

Beit Shemesh, Israel. Nu Mark Innovations, Ltd. provides digital marketing and customer care




  2018),
  https://www.sec.gov/Archives/edgar/data/764180/000119312518353970/d660871dex22.htm.
25
   Id.


                                                 9
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services for Nu Mark LLC and Altria’s e-vapor brands, as well as product and technology

development services.

       25.     Collectively, Altria Group, Inc. and its subsidiaries named above will be referred

to herein as “Altria” or “Altria Defendants.”

                              IV.     ALLEGATIONS OF FACT

A.     JUUL: Runaway Commercial Success and Public Health Disaster

       1.      Redesigning “the most successful consumer product of all time”

       26.     JLI was founded by Defendants Adam Bowen and James Monsees. JLI’s

beginnings can be traced to the pair’s collaboration on a product design master’s thesis when

they were graduate students at Stanford University in 2004—Monsees completing a Master of

Fine Arts in Product Design, and Bowen a Master of Science in Mechanical Engineering in

Product Design.26 Their proposed product? A better cigarette.




26
  Allison Keeley, Vice Made Nice?, Stan. Mag. (Aug. 2012),
 https://stanfordmag.org/contents/vice-made-nice.


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       27.     Monsees has described the cigarette as “the most successful consumer product of

all time . . . an amazing product.”27 But years of anti-smoking campaigns, including work by

local government public health departments and school-based anti-tobacco programs, have

successfully de-normalized cigarette smoking. As part of their thesis research, Monsees and

Bowen interviewed smokers who talked about feeling self-conscious of the signs of smoking, for

example, coming back into a room after a smoke break and smelling like smoke, or having their

hands smell like cigarettes even after washing them multiple times.28 When Monsees and Bowen

presented their thesis and product design to their classmates, they included a clip from a South

Park episode showing the characters assembled at the Museum of Tolerance and shaming a

smoker.29 Their goal was to design a cigarette without the stigma and self-consciousness smokers

experienced—as Monsees described it, to “deliver[] solutions that refresh the magic and luxury

of the tobacco category” and recreate the lost “ritual and elegance that smoking once

exemplified.”30

       28.     Essentially, Monsees and Bowen saw a market opportunity in a generation of

consumers brought up on anti-smoking norms. In Monsees’ words, they wanted to redesign the

cigarette “to meet the needs of people who want to enjoy tobacco but don’t self-identify with—



27
   Gabriel Montoya, Pax Labs: Origins with James Monsees, Soc. Underground (Jan. 2015),
  https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees/.
28
   Jordan Crook, This is the Stanford thesis presentation that launched Juul, Tech Crunch (Feb.
  27, 2019), https://techcrunch.com/2019/02/27/this-is-the-stanford-thesis-presentation-that-
  launched-juul/.
29
   Id.; Adam and James’ Thesis Presentation at 4:04, JUUL (Feb. 27, 2019),
  https://www.youtube.com/watch?v=ZBDLqWCjsMM&has_verified=1.
30
   Start Your Own Revolution: An Interview with James Monsees, onboardly (Apr. 30, 2014),
  https://web.archive.org/web/20161108110231/http://onboardly.com/entrepreneur-
  interviews/an-interview-with-james-monsees/ (last visited Mar. 27, 2020).


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or don’t necessarily want to be associated with—cigarettes.”31 Monsees saw “a huge opportunity

for products that speak directly to those consumers who aren’t perfectly aligned with traditional

tobacco products.”32

         29.   At one point during their thesis presentation, Monsees states, “The cigarette is

actually a carefully engineered product for nicotine delivery and addiction.”33 This description

applies just as well to the product he and Bowen would launch a decade later—JUUL.

         30.   The outcome of Monsees and Bowen’s thesis project was a “heat-not-burn”

e-cigarette, which uses loose-leaf tobacco. The device heated tobacco contained in pods to a

constant temperature, vaporizing nicotine and flavor without burning the materials or producing

smoke.

         31.   After graduation, Bowen and Monsees worked on bringing their thesis project to

the market, incorporating under the name Ploom in 2007. In those early years, they spent a lot of

time talking about what Bowen called “the kind of typical thoughts of evil Big Tobacco

companies like coming down and squashing you.”34 But ultimately, that “was not really an

issue.”35 In fact, not only did Big Tobacco not squash them, but the opposite occurred. Although

Bowen and Monsees characterized their products as aimed toward consumers not aligned with

traditional tobacco products, they themselves have aligned with Big Tobacco on at least two

occasions: first, with Japan Tobacco International (“JTI”) and then with Altria.




31
   Id.
32
   Id.
33
   See Crook, supra note 28.
34
   Keeley, supra note 26.
35
   Id.


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       32.        In 2010, JLI (then called Ploom) launched its e-cigarette as the ModelOne, using

pods of loose-leaf tobacco heated by butane. It did not catch on. JLI only sold a few thousand of

them. By then a company with a dozen employees, JLI was faltering, in need of money,

technological expertise, and marketing savvy.36

       33.        Help came from JTI, a division of Japan Tobacco Inc., the fourth-largest tobacco

company in the world. In December 2011, JTI and JLI entered into a strategic agreement, which

gave JTI a minority stake in JLI and made it a strategic partner. According to internal documents,



             37
                  In a statement regarding the agreement, Monsees said, “We are very pleased to

partner with JTI as their deep expertise, global distribution networks and capital resources will

enable us to enter our next phase of growth and capitalize on global expansion opportunities.”38

As Bowen explained in an interview, “We were still doing a lot of our own internal product

development, but now we had access to floors of scientists at JTI.”39

       34.        In 2012, JLI (still known as Ploom) unveiled the PAX, a loose-leaf vaporizer that

did not use pods, but which was much more successful. The following year, JLI combined

elements of the PAX with the pod system as the ModelTwo. Although consumers were

enthusiastic about both the PAX and the ModelTwo, the products were limited to a small,


36
   David H. Freedman, How Do You Sell a Product When You Can't Really Say What It Does?,
  Inc.com (May 2014), https://www.inc.com/magazine/201405/david-freedman/james-monsees-
  ploom-ecigarette-company-marketing-dilemma.html.
37
   INREJUUL_00371423 (Feb. 2015,                                     ).
38
   Innovative Partnership for Ploom and Japan Tobacco International JTI to Take Minority
  Share in Ploom, Japan Tobacco Int’l (Dec. 8, 2011),
  https://www.jti.com/sites/default/files/press-releases/documents/2011/innovative-partnership-
  for-ploom-and-japan-tobacco-international.pdf.
39
   D. Freedman, supra note 36.


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high-end market. The PAX, for example, retailed for $250 when it was first marketed. But, as

one of JLI’s investors remarked in 2014, “The company is going to invade the bigger, lower-end

market now dominated by e-cigarettes.”40 He explained that JLI had “lots of products in the

works” and that “[w]e know we need something cheaper than Pax to go after the mass market.

There are still huge opportunities out there.”41

       35.     In February 2015, JLI and JTI ended their relationship, with JLI buying back

JTI’s minority stake in the business. JTI acquired the ModelTwo and pods product line, as well

as the Ploom name, while JLI kept its open-system PAX vaporizer and changed its name to PAX

Labs Inc. Monsees characterized the partnership as having “afforded both parties many mutual

benefits,” but said that the new arrangement would “fuel continued growth” and that JLI

intended “rapid rollouts of new products.”42

       36.     JLI made good on its promise of new products and invading the bigger, lower-end

market in e-cigarettes. As discussed further below, JLI launched JUUL products in June 2015

with a well-publicized launch party in New York City and a viral social media marketing

campaign.

       37.     In 2017, as JUUL became more and more popular, JLI changed its name from

PAX to JUUL Labs, Inc.




40
   Id.
41
   Id.
42
   JTI to Acquire Ploom Product Line, Convenience Store News (Feb. 16, 2015),
  https://csnews.com/jti-acquire-ploom-product-line#close-olyticsmodal.


                                                   14
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       38.     By the close of 2017, according to Nielsen data, JLI had surpassed its competitors

in capturing 32.9% of the e-cigarette market, with British American Tobacco at 27.4% and Altria

at 15.2%.43 The total e-cigarette market expanded 40% to $1.16 billion. 44

       39.     In 2018, JLI’s gross profit margins were 70%45 and it represented 76.1% of the

national e-cigarette market.46 In a complaint it filed in November 2018 against 24 vape

companies for alleged patent infringement, JLI asserted that it was “now responsible for over

95% of the growth in the ENDS pod refill market in the United States” and included the

following chart:47




43
   Ari Levy, E-cigarette maker Juul is raising $150 million after spinning out of vaping
  company, CNBC (Dec. 20, 2017), https://www.cnbc.com/2017/12/19/juul-labs-raising-150-
  million-in-debt-after-spinning-out-of-pax.html.
44
   Id.
45
   Dan Primack, Scoop: The Numbers Behind Juul’s Investor Appeal, Axios (July 2, 2018),
  https://www.axios.com/numbers-juul-investor-appeal-vaping-22c0a2f9-beb1-4a48-acee-
  5da64e3e2f82.html.
46
   Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market at 2, Stan.
  Res. into the Impact of Tobacco Advert. (2019),
  http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
47
   Verified Complaint Under Section 337 of the Tariff Act of 1930 at 6, In the Matter of Certain
  Cartridges for Elec. Nicotine Delivery Sys. & Components Thereof, Investigation No. 337-TA-
  1141 (USITC Nov. 19, 2018).


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       40.     JLI shattered previous records for reaching decacorn status, reaching valuation of

over $10 billion in a matter of months—four times faster than Facebook.48 This all came just

three years after its product launch.

       2.      Following Big Tobacco’s footsteps: Nicotine Salts

       41.     JLI’s staggering commercial success did not come from a blank slate. Under the

Master Settlement Agreement between Big Tobacco and the States, the public has access to

hundreds of thousands of Big Tobacco’s internal documents. In creating JUUL, Monsees and

Bowen carefully studied the marketing strategies, advertisements, and product design of Big

Tobacco. As Monsees candidly acknowledged, the internal tobacco documents “became a very

intriguing space for us to investigate because we had so much information that you wouldn’t

normally be able to get in most industries. And we were able to catch-up, right, to a huge, huge

industry in no time. And then we started building prototypes.”49 JLI researched how Big Tobacco

companies engineered their products and chemically manipulated nicotine to maximize delivery:

“We started looking at patent literature. We are pretty fluent in ‘Patentese.’ And we were able to

deduce what had happened historically in the tobacco industry.”50

       42.     JLI built on Big Tobacco’s research to formulate its nicotine solution in a manner

that would be appealing to youth and nonsmokers. JLI was well aware from the historical

cigarette industry documents that the future of any nicotine-delivery business depends on

ensnaring customers before they age beyond the window of opportunity. Big Tobacco designed


48
   Zack Guzman, Juul Surpasses Facebook As Fastest Startup to Reach Decacorn Status, Yahoo!
  Fin. (Oct. 9, 2018), https://finance.yahoo.com/news/juul-surpasses-facebook-fastest-startup-
  reach-decacorn-status-153728892.html.
49
   Montoya, supra note 27.
50
   Crook, supra note 28.


                                                16
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products specifically to make it easier for teens to initiate smoking. In a 1973 internal memo Dr.

Claude Teague of R.J. Reynolds Tobacco Company (“R.J. Reynolds”) observed, “Realistically,

if our Company is to survive and prosper, over the long term, we must get our share of the youth

market. In my opinion this will require new brands tailored to the youth market.”51 Dr. Teague

noted that “‘learning’ smokers” have a low tolerance for throat irritation so the smoke should be

“as bland as possible,” i.e., not harsh; and he specifically recommended an acidic smoke “by

holding pH down, probably below 6.”52 As described below, JLI heeded Dr. Teague’s advice.

       43.     Monsees, Bowen, and JLI’s employees reviewed documents in the Big Tobacco

archive that included information on how to manipulate nicotine pH to maximize nicotine

delivery in a vapor while minimizing the throat irritation or “throat hit” that may potentially

deter new smokers. Chenyue Xing, a chemist who worked for JLI (then called PAX Labs) and

helped patent its liquid-nicotine formula, told Reuters that she recalled reviewing tobacco

company records and research. “We had consultants who were veterans of the big tobacco

companies,” she said, “We learned all the history.”53

       44.     As Monsees noted in 2015 during an interview with WIRED magazine, “The

people who understood the science and were listed on previous patents from tobacco companies




51
   Claude E. Teague, Jr., Research Planning Memorandum on Some Thoughts About New Brands
  of Cigarettes for the Youth Market at 1, U.C.S.F. Truth Tobacco Indus. Documents (Feb. 2,
  1973), https://www.industrydocuments.ucsf.edu/tobacco/docs/#id=lhvl0146.
52
   Id. at 4.
53
   Chris Kirkham, Juul disregarded early evidence it was hooking teens, Reuters (Nov. 5, 2019),
  https://www.reuters.com/investigates/special-report/juul-ecigarette/.


                                                 17
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aren’t at those companies anymore. If you go to Altria’s R&D facility, it’s empty.”54 Instead,

some of those people were advising JLI and helping to develop JUUL.

       45.     As Dr. Teague’s memo described, the solution that R.J. Reynolds scientists

devised in the 1970s for reducing nicotine’s harshness to make it easier for “‘learning’ smokers”

to start and continue smoking was to combine the high-pH nicotine with a low-pH acid. The

result was a neutralized compound referred to as nicotine salt. In a 1973 R.J. Reynolds

memorandum, R.J. Reynolds highlighted that this chemical manipulation of the nicotine content

was expected to give its cigarettes an “additional nicotine ‘kick’” that would be more appealing

and addictive.55 A young R.J. Reynolds chemist, Thomas Perfetti, synthesized thirty different

nicotine salt combinations, tested the salts’ ability to dissolve into a liquid, and heated them in

pursuit of the “maximum release of nicotine.”56 Perfetti published his results in a 1979 memo

stamped “CONFIDENTIAL,” which was found among the documents that the FDA obtained

from JLI in 2018. Relying on cigarette industry research like this,

       , JLI developed a cartridge-based e-cigarette using nicotine salts. As described herein,

JLI’s use of nicotine salts, pioneered by major combustible Big Tobacco companies, was a

critical tool for addicting non-smokers, including youth.




54
   David Pierce, This Might Just Be the First Great E-Cig, WIRED (Apr. 21, 2015),
  www.wired.com/2015/04/pax-juul-ecig/.
55
   Frank G. Colby, Cigarette Concept to Assure RJR a Larger Segment of the Youth Market at 1,
  U.C.S.F. Truth Tobacco Industry Indus. Documents (Dec. 4, 1973),
  https://www.industrydocuments.ucsf.edu/tobacco/docs/#id=mzfx0091.
56
   Thomas A. Perfetti, Smoking Satisfaction and Tar/Nicotine Control (Dec. 7, 1978), https://ca-
  times.brightspotcdn.com/3a/12/a5ec27874843a56e26b4ecdfd221/nicotine-salts-
  investigation.pdf.


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       46.     The “nicotine salt” formulation that JLI popularized follows this same approach.

JLI added benzoic acid to its nicotine liquid, creating a nicotine salt called nicotine benzoate.

This both reduced the nicotine’s harshness and delivered it more directly to the user’s lungs and

brain. 57 The freebase nicotine in earlier e-cigarettes was partly absorbed in the user’s mouth and

throat, resulting in a much slower absorption by the body.

       47.     JLI’s use of nicotine benzoate affects the palatability of nicotine inhalation by

reducing the “throat hit” that users experience when vaping. According to Ari Atkins, one of the

inventors of JUUL, “[i]n the tobacco plant, there are these organic acids that naturally occur.

And they help stabilize the nicotine in such a way that makes it . . . I’ve got to choose my words

carefully here: Appropriate for inhalation.”58

       48.     Because cigarette smokers are already accustomed to a certain level of harshness

and throat hit, developing a product with reduced harshness and minimal “throat hit” is only a

critical concern if the goal is to appeal to first-time smokers. The tobacco industry has long

recognized this; a published study of industry documents concluded that “product design changes

which make cigarettes more palatable, easier to smoke, or more addictive are also likely to

encourage greater uptake of smoking.”59 In the vaping context, reducing the harshness of

nicotine also allows more frequent vaping, for longer periods of time, and masks the amount of

nicotine being delivered.




57
   Kirkham, supra note 53.
58
   Pierce, supra note 54.
59
   David A. Kessler, Juul Says It Doesn’t Target Kids, But Its E-Cigarettes Pull Them In, N.Y.
  Times (July 31, 2019), https://www.nytimes.com/2019/07/31/opinion/juul-kids.html.


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        49.        Building on Big Tobacco’s research, JLI intentionally designed its product to

minimize “throat hit” and maximize “buzz.”




        50.



                              60



                                “Employees tested new liquid-nicotine formulations on themselves

or on strangers taking smoke breaks on the street. Sometimes, the mix packed too much punch –

enough nicotine to make some testers’ hands shake or send them to the bathroom to

vomit . . . .”61

        51.




                        62




60
   INREJUUL_00002903.
61
   Kirkham, supra note 53.
62
   INREJUUL_00002903.


                                                   20
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       52.




       53.     A later study by Anna K. Duell et al., explains why JUUL delivered a strong

“buzz” but so little throat hit. The Duell Study determined that the fraction of free-base nicotine

in JLI’s “Fruit Medley” flavor was 0.05 and was 0.07 in the “Crème Brulee” flavor.63 For

comparison, “Zen” brand e-liquid has a free-base fraction of 0.84.64 The Duell Study’s authors

found that the low free-base fraction in JUUL aerosols resulted in a “decrease in the perceived

harshness of the aerosol to the user and thus a greater abuse liability.”65

       54.     Dramatically reducing the throat hit is not necessary for a product that is aimed at

smokers, who are accustomed to the harshness of cigarette smoke, but it very effectively appeals



63
   87 U.S. Patent No. 9,215, 895; Anna K. Duell et al., Free-Base Nicotine Determination in
  Electronic Cigarette Liquids by H NMR Spectroscopy (“Duell Study”), 31 Chem. Res. Toxicol.
  431, 432 (Fig. 3) (May 18, 2018),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6008736/pdf/tx8b00097.pdf.
64
   Id. at 432.
65
   Id. at 431–34.


                                                 21
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to nonsmokers, especially youth. The Duell Study concluded that JLI’s use of nicotine salts “may

well contribute to the current use prevalence of JUUL products among youth.”66

       55.     Reducing the harshness of nicotine also allows more frequent use of e-cigarettes,

for longer periods of time, and masks the amount of nicotine being delivered. By removing the

physiological drawbacks of inhaling traditional free-base nicotine, JLI’s technology removes the

principal barrier to nicotine consumption and addiction. The Duell Study further concluded that

JLI’s creation of a non-irritating vapor that delivers unprecedented amounts of nicotine is

“particularly problematic for public health.”67

       56.     JLI contemplated features that would automatically disable the device after

nicotine delivery exceeded a certain threshold; according to Xing, one idea was to disable the

device for thirty minutes or more following a certain number of puffs. 68 But in the end JLI

launched its product without any such features.

                      JLI designed JUUL products to contain and deliver as much nicotine
               as possible

       57.     JLI claims that each JUULpod is the equivalent of a pack of cigarettes and

contains up to fifty-nine mg per ml of nicotine—an alarming amount that is roughly three times

the concentration of nicotine that can be sold to consumers in the European Union. Compared to

the average e-cigarette, JUULpods deliver roughly twice as much nicotine at nearly three times




66
   Id. at 433 (citing J.G. Willett et al., Recognition, use and perceptions of JUUL among youth
  and young adults, 28 Tobacco Control 115-16 (2018)).
67
   Id. at 431.
68
   Kirkham, supra note 53.


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the speed.69




               70
                    And, while only approximately 10% of the nicotine in a cigarette is delivered to

the user,71 JUUL e-cigarettes, on the other hand, have been found to deliver at least 82% of the

nicotine contained in a JUULpod to the user.72
                                             73



       58.      JLI knew that it had designed a highly addictive product that would appeal to

youth much more than adult smokers.




                                                                                       74




69
   How Much Nicotine is In Juul?, Truth Initiative (Feb. 26, 2019),
  https://truthinitiative.org/research-resources/emerging-tobacco-products/how-much-nicotine-
  juul.
70
   INREJUUL_00279931 (emphasis added).
71
   Lynn T. Kozlowski & Janine L. Pilliteri, Compensation for Nicotine by Smokers of Lower
  Yield Cigarettes, 7 Smoking and Tobacco Control Monograph 161, 164
  (1983), https://cancercontrol.cancer.gov/brp/tcrb/monographs/7/m7_12.pdf.
72
   Samantha M. Reilly et al., Free Radical, Carbonyl, and Nicotine Levels Produced by JUUL
  Electronic Cigarettes, 21 Nicotine Tobacco Research 1274 (Aug. 19, 2019),
  https://www.ncbi.nlm.nih.gov/pubmed/30346584 (about 82%, for averages of 164 μg per puff).
73
   See, e.g., INREJUUL_00023597 (
           ).
74
   JLI00365905.


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                                                          75



      59.




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      60.
                                         77




                    78


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      61.
                                   80


       81



      62.




75
   Id. (emphasis added).
76
   JLI00365709.
77
   JLI00365176.
78
   INREJUUL_00058345.
79
   Id.
80
   JLI00364678.
81
   JLI00364487.


                                    24
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                                                                                  82




                                      83



        63.

                                           JLI took no steps to offer U.S. consumers its products in

a lower nicotine formulation until August 2018, when it began marketing certain flavors in 3%

nicotine strength. (JLI markets 1.7% nicotine JUULpods in countries such as the UK and Israel.)

Instead, JLI’s sales force emphasized the addictiveness of its formulation to persuade retailers to

give the new product shelf space. Vincent Latronica, head of East Coast sales and distribution for

JLI (then called PAX Labs) from 2014 until early 2016, told Reuters that he used a chart

showing JUUL’s rapid delivery of nicotine to the bloodstream as a way to convince store owners

that they would have repeat business and not be left with unsold inventory, and this became a

central selling point for the new JLI product.84 JLI’s sales team was, in Latronica’s words,

“relentless.”85

        64.                                                                                  For

example,

                                     He wrote:




82
   INREJUUL_00260068.
83
   INREJUUL_00260065.
84
   Kirkham, supra note 53.
85
   Id.


                                                  25
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                         86


        65.   Another example came just days later. On




86
     INREJUUL_00264888-890.


                                            26
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                                                                                           87



       66.        Instead of taking steps to reduce the addictive nature of its products and to stop its

advertising to youth, JLI doubled down.



                                                   88



       B.    Following Big Tobacco’s Playbook, JLI Launched JUUL with a Blatantly
       Youth-Oriented Campaign

                         JLI learned from Big Tobacco the importance of hooking kids.

       67.        JLI also looked to Big Tobacco for other marketing strategies, including

advertisements designed to lure non-smoking youth.

       68.



             89
                  In addition,




                                                                                                 90



       69.        As discussed above, Monsees and Bowen were also able to take advantage of an

extensive online tobacco advertising research database maintained by the Stanford Research into

the Impact of Tobacco Advertising (“SRITA”), an inter-disciplinary research group devoted to


87
   INREJUUL_00230416.
88
   INREJUUL_00228928-930.
89
   INREJUUL_00371447.
90
   INREJUUL_00371458-459.


                                                    27
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researching the promotional activities of the tobacco industry. SRITA’s database contains

approximately 50,000 original tobacco advertisements. According to Monsees, JLI’s advertising

was informed by traditional tobacco advertisements, and SRITA in particular had been very

useful to JLI.91

        70.        It is no secret that a good portion of the Big Tobacco playbook involved targeting

youth. Beginning in the 1950s, Philip Morris—now JLI’s corporate affiliate—intentionally

marketed cigarettes to young people under the age of twenty-one to recruit “replacement

smokers” to ensure the economic future of the tobacco industry.92 Philip Morris knew that youth

smoking was essential to the tobacco industry’s success and longevity, as one of its internal

documents makes clear: “It is important to know as much as possible about teenage smoking

patterns and attitudes. Today’s teenager is tomorrow’s potential regular customer, and the

overwhelming majority of smokers first begin to smoke while still in their teens.”93 In August

1953, Elmo Roper & Associates on Philip Morris’ behalf, conducted a study that examined the

smoking habits of a “cross section of men and women 15 years of age and over.”94 The study

noted that Philip Morris had “very great strength among young people-particularly under 20.”95

In 1975, Philip Morris recognized that “Marlboro’s phenomenal growth rate in the past has been

attributable in large part to our high market penetration among young smokers . . .15 to 19 years

old . . . my own data, which includes younger teenagers, shows even higher Marlboro market


91
   Jackler et al., supra note 46 at 27.
92
   U.S. v. Philip Morris USA, Inc. (“Philip Morris”), 449 F. Supp. 2d 1, 618-622 (D.D.C. 2006).
93
   Tobacco Company Quotes on Marketing to Kids, Campaign for Tobacco-Free Kids (May 14,
  2001), https://www.tobaccofreekids.org/assets/factsheets/0114.pdf.
94
   Philip Morris, 449 F. Supp. 2d at 580 (citing Burns W. Roper, A Study of People’s Cigarette
  Smoking Habits and Attitudes, N.Y Roper (1953)).
95
   Id.


                                                   28
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penetration among 15-17-year-olds.”96 Similarly, an internal Philip Morris document reported

that “[t]he success of Marlboro Red during its most rapid growth period was because it became

the brand of choice among teenagers who then stuck with it as they grew older.”97 This was no

accident. Philip Morris designed its marketing campaigns to appeal to youth because they

recognized that “[t]oday’s teenager is tomorrow’s potential regular customer, and the

overwhelming majority of smokers first begin to smoke while still in their teens.”98 This

marketing worked, and Marlboro cigarettes became the most popular brand with youth. In 2016,

48.7% of high school current cigarette smokers and 38.3% of middle school current cigarette

smokers reported using Marlboro cigarettes.99

       71.     Tobacco companies have focused on the fourteen to twenty-four-year-old age

group because young smokers have been the critical factor in the growth of their business. As the

Vice-President of Marketing at R.J. Reynolds explained in 1974, the “young adult . . . market . . .

represent[s] tomorrow’s cigarette business. As this 14-24 age group matures, they will account

for a key share of the total cigarette volume—for at least the next 25 years.”100 In 1978,




96
   Philip Morris and Targeting Kids, Campaign for Tobacco-Free Kids (Oct. 8, 1999),
  https://www.tobaccofreekids.org/assets/content/what_we_do/industry_watch/doubletalk/philip
  morris.pdf.
97
   Id.
98
   Tobacco Company Quotes on Marketing to Kids, supra note 93.
99
   Siobhan N. Perks et al., Cigarette Brand Preference and Pro-Tobacco Advertising Among
  Middle and High School Students⸺United States, 2012- 2016, CDC Morbidity & Mortality
  Wkly. Rep. [MMWR] (Feb. 2, 2018),
  https://www.cdc.gov/mmwr/volumes/67/wr/mm6704a3.htm?s_cid=mm6704a3_w.
100
    C.A. Tucker, Marketing Plans Presentation to RJRI B of D at 2, U.C.S.F. Truth Tobacco
  Indus. Documents (Sept. 30, 1974),
  https://www.industrydocumentslibrary.ucsf.edu/tobacco/docs/#id=ypmw0091.


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Lorillard’s Director of Sales in the Midwest told the president of the company that “the base of

our business is the high school student.”101

       72.     According to the Surgeon General, “[n]early 9 out of 10 smokers start smoking by

age 18, and more than 80% of underage smokers choose brands from among the top three most

heavily advertised.”102 The overwhelming consensus from public health authorities, independent

studies, and credible expert witnesses is that “marketing is a substantial contributing factor to

youth smoking initiation.”103

       73.     For decades, cigarette companies spun smoking as signifier of adulthood. This

turned smoking into a way for teenagers to project independence and enhance their image among

their peers.104 R.J. Reynolds’s now-infamous Joe Camel “ambassador of Cool” advertising

campaign, which ran from 1988 through 1997, exemplifies the importance the tobacco industry

placed on hooking young smokers early:105




101
    Tobacco Company Quotes on Marketing to Kids, supra note 93; see also Philip Morris, 449
  F. Supp. 2d at 596.
102
    Preventing Tobacco Use Among Youths, Surgeon General Fact Sheet, U.S. Dep’t Health &
  Human Servs. (June 6, 2017), https://www.hhs.gov/surgeongeneral/reports-and-
  publications/tobacco/preventing-youth-tobacco-use-factsheet/index.html.
103
    Philip Morris, 449 F. Supp. 2d at 570.
104
    Id. at 576 (“the ubiquity of Defendants’ marketing increases young peoples’ perceptions of
  the prevalence of smoking (‘everyone is doing it’), normalizes smoking, and connects positive
  imagery (sex appeal, popularity, peer approval, success, and independence) with smoking, all
  of which work together to encourage youth smoking initiation and continued consumption”);
  see also id. at 617-19.
105
    Joe Camel: Character of the Year Advertisement, Stan. U. Res. into the Impact of Tobacco
  Advert. (1990),
  http://tobacco.stanford.edu/tobacco_main/images.php?token2=fm_st138.php&token1=fm_img
  4072.php&theme_file=fm_mt015.php&theme_name=Targeting%20Teens&subtheme_name=J
  oe%20Camel.


                                                 30
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       74.     Big Tobacco, of course, is now prohibited from employing youth-oriented

marketing strategies to sell traditional cigarettes by virtue of the Master Settlement Agreement

and subsequent regulations. For example, combustible cigarette companies may not:

               A.     use outdoor advertising such as billboards;

               B.     sponsor events;

               C.     give free samples;

             D.     pay any person to “use, display, make reference to or use as a prop any
       Tobacco Product, Tobacco Product package . . . in any “Media;”

             E.      pay any third party to conduct any activity which the tobacco
       manufacturer is prohibited from doing; or

               F.     sell “flavored” cigarettes.




                                                31
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       75.     All of these above activities were prohibited precisely because of their

effectiveness at appealing to youth. But nothing prevented JLI from using these same strategies

to market e-cigarettes.

       76.     As described below, all of these activities figured prominently in the marketing

campaign for JUUL products.

                     JLI’s advertising strategy was                                       to capture
               young nonsmokers, not adult smokers.

       77.     Contrary to JLI’s and Altria’s recent statements that JUUL was only ever

marketed to adult smokers, JLI’s internal documents show that, from the outset, JLI’s target

demographic was nonsmoking

       78.     Consistent with Monsees’ position that he has no “qualms” with marketing to

people that were not yet addicted to nicotine,106



                               107
                                     In




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106
    D. Freedman, supra note 36.
107
    INREJUUL_00441209.
108
    INREJUUL_00057291 et seq. (emphasis added).


                                                32
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       79.     JLI’s strategy to cultivate an aura of “cool” around its nicotine-delivery device is,

of course, not new. Decades before, Dr. Teague from R.J. Reynolds observed that “pre-smokers”

face “psychological pressure” to smoke if their peers are doing so, “a new brand aimed at a

young smoker must somehow be the ‘in’ brand and its promotion should emphasize

togetherness, belonging and group acceptance, while at the same time emphasizing ‘doing one’s

own thing.’”109 Struggling to define their own identities, teenagers are particularly vulnerable to

image-heavy advertisements that psychologically cue them on the “right” way to look and

behave amongst peers.110 Advertisements that map onto adolescent aspirations and

vulnerabilities drive adolescent tobacco product initiation.111

       80.     JLI followed this playbook to the letter.




         112


                                                                    113



                                              ” fairly describes most adolescents—but has little

relevance to existing smokers wishing to quit their cigarette habit.




109
    Teague, supra note 51.
110
    Philip Morris, 449 F. Supp. 2d at 578.
111
    Id. at 570, 590.
112
    INREJUUL_00057298-487.
113
    Id.


                                                 33
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      81.
                                       114


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      82.   Other internal documents emphasize the theme of making JUUL trendy and cool.




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                                                    118
                                                          For example,



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                                 120


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      83.   This focus on              continued up to and after launch.




114
    Id.
115
    INREJUUL_00277080-104.
116
    INREJUUL_00057289.
117
    INREJUUL_00057293.
118
    Id.
119
    Id.
120
    Id.
121
    INREJUUL 00441325-326.


                                               34
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          125                       126




        84.     In addition, JLI identified



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                       JLI’s “Vaporized” campaign was intentionally youth-focused.

        85.     As noted above, JLI’s first major marketing hire was Cult Collective. JLI engaged

the Calgary-based advertising agency in 2014 to complete a “diagnostic” evaluation of the JLI

brand and to make recommendations regarding the best advertising strategy to market the JUUL

e-cigarette.

        86.     Cult Collective recommended that JLI position its e-cigarette technology as the

focus of its advertisements, emphasizing JUUL as an alternative option for existing smokers.



122
    JLI00218598.
123
    JLI00206206.
124
    JLI00222528.
125
    JLI00461564.
126
    JLI00235965.
127
    INREJUUL_00161703-715.


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Cult Collective presented JLI with exemplar advertisements that used images of a boom box and

a joy stick, juxtaposed against the JUUL e-cigarette, with the tag line: “Everything changes,

eventually. JUUL | The evoluution of smoking | Finally, a truly satisfying alternative.”128




       87.     This campaign expressly invokes combustible cigarettes and positions JUUL as a

technological upgrade for the modern smoker.

       88.     But JLI rejected Cult Collective’s suggestion, instead choosing to run a campaign

that experts would later describe as “patently youth oriented.”129




128
    Complaint ¶ 41, Commonwealth of Massachusetts v. JUUL Labs, Inc., No. 2084CV00402
  (Mass. Super. Ct. Feb. 12, 2020), https://www.mass.gov/doc/juul-complaint/download
  (emphasis added).
129
    Robert K. Jackler, The Role of the Company in the Juul Teen Epidemic, Testimony of Robert
  Jackler before the House Subcommittee on Economic and Consumer Policy (“Jackler
  Testimony”) at 2 (July 24, 2019),
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2019.07.24%20Jackler%2
  0Testimony.pdf.


                                                36
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        89.     JLI’s 2015 ad campaign, called “Vaporized,” was designed to create a “cult-like

following” for JUUL products.130 The Vaporized campaign’s imagery featured a vivid color

scheme and models in their twenties in poses that researchers noted are evocative of behaviors

more characteristic of underage teens than mature adults.131 Researchers from the SRITA found

it “clear” that this imagery resonated with underage teens who aspire to emulate trendsetting

young adults.132




130
    Id. at 4.
131
    Jackler et al., supra note 46 at 1.
132
    Id. at 7.


                                                37
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       90.    JLI recognized that the models in these advertisements looked young and were

likely to appeal to youth, but it launched the campaign anyway.



                    133


                          134




                                                                                135
                                                                                      “Monsees,

who was CEO at the time, personally reviewed images from the billboard photo shoot while it

was in session.”136 A senior manager later told The New York Times that “he and others in the




133
    INREJUUL_00371285.
134
    INREJUUL_00371314.
135
    INREJUUL_00174387.
136
    Ainsley Harris, How Juul, founded on a life-saving mission, became the most embattled
  startup of 2018: E-cigarette startup Juul Labs is valued at more than $16 billion. It’s also
  hooking teens on nicotine and drawing scrutiny from the FDA. Can the company innovate its
  way out of a crisis it helped create?, Fast Co. (Nov. 19, 2018),
  https://www.fastcompany.com/90262821/how-juul-founded-on-a-life-saving-mission-became-
  the-most-embattled-startup-of-2018.


                                               38
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company were well aware” that the marketing campaign “could appeal to” teenagers.137

         91.   JLI knew these images would be successful with a youth market because it

intentionally crafted them to mimic specific ads that Big Tobacco had used to target teens. In

fact, many JUUL ads were nearly identical to old cigarette ads that were designed to get teens to

smoke.




                                                                                           138




                                                                                             139




137
    Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?, N.Y.
  Times (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-
  marketing.html.
138
    Virginia Slims vs Juul Advertisement, Stan. U. Res. into the Impact of Tobacco Advert.
  (2015), http://tobacco.stanford.edu/tobacco_main/images-
  comp.php?token2=fm_tn_st328.php&token1=fm_tn_img10799.php&theme_file=fm_tn_mt035
  .php&theme_name=Cigs%20vs.%20eCigs&subtheme_name=Cigs%20vs%20eCigs%20JUUL.
139
    Julia Belluz, The Vape Company Juul Said It Doesn’t Target Teens. Its Early Ads Tell a
  Different Story, Vox (Jan. 25, 2019), https://www.vox.com/2019/1/25/18194953/vape-juul-e-
  cigarette-marketing.


                                                39
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       92.     JLI’s officers and directors were well aware that JLI’s branding of JUUL products

was oriented toward youth and duplicated earlier efforts by the cigarette industry to hook

children on nicotine. JLI’s officers and directors directed and approved JLI’s branding of JUUL

products to be oriented toward youth. JLI’s officers and directors




                                              140




       93.     JLI’s officers and directors




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140
    Examining JLI’s Role in the Youth Nicotine Epidemic: Part II: Hearing Before the
  Subcommittee on Economic and Consumer Policy of the Committee on Oversight and Reform,
  House of Representatives, 116th Cong. 70 (2019) (statement of Monsees, CPO, JLI).
141
    JLI00206239.
142
    JLI00214617.
143
    Id.


                                                    40
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                  144




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       94.     This recognition notwithstanding, JLI’s officers and directors pressed on with

JLI’s youth-oriented campaign. Some of JLI’s leaders, such as Board member Hoyoung Huh,

opposed any actions to curb youth sales. Youth sales were a large potential source of revenue.147

As one manager explained, perhaps “people internally had an issue” with sales of JUUL to

teenagers, “[b]ut a lot of people had no problem with 500 percent year-over-year growth.”148

And JLI’s leaders understood that the youth who were hooked on nicotine were the most likely

to become lifelong customers and thus were the most profitable segment to target.149




144
    Id.
145
    Id.
146
    Id. (emphasis added).
147
    Kirkham, supra note 53.
148
    Id.
149
    Id.


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       95.     So in June 2015, JLI launched the “Vaporized” advertising campaign,150 with
                                                                    151
                                                                          JLI aggressively sought

high-visibility spaces with youth appeal. For example, Vaporized ads occupied the front spread

of the July 2015 issue of VICE Magazine, which bills itself as the “#1 youth media brand” in the

world, and a twelve-unit billboard display in New York City’s Times Square.152




                                                                     153



       96.     JLI’s advertisements were also placed on websites attractive to children,

adolescents in middle school and high school, and underage college students. These

advertisements, which included the images of models from the Vaporized campaign, began


150
    Declan Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized Campaign’, AdAge
  (June 23, 2015), https://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-cigarette-ads-
  campaign/299142.
151
    INREJUUL_00057291-295.
152
    Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns, Forbes
  (Nov. 16, 2018), https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-
  focus-of-juuls-early-marketing-campaigns/#3da1e11b14f9; see also Harty, supra note 150.
153
    http://tobacco.stanford.edu/tobacco_web/images/pod/juul/timesquare/large/times_17.gif; see
  also Erin Brodwin, Silicon Valley e-cig startup Juul ‘threw a really great party’ to launch its
  devices, which experts say deliberately targeted youth, Bus. Insider (Sept. 4, 2018),
  https://www.businessinsider.com/juul-e-cig-startup-marketing-appealed-to-teens-2018-7.


                                               42
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appearing on websites as early as June 2015. The websites included: nickjr.com (the website for

a children’s television network run by Nickelodeon Group); cartoonnetwork.com (Cartoon

Network’s website); allfreekidscrafts.com; hellokids.com; and kidsgameheroes.com. In addition,

JLI purchased banner advertisements on websites providing games targeted to younger girls, 154

educational websites for middle school and high school students,155 and other teen-targeted

websites.156

       97.      JLI knew these websites targeted children.




                               157
                                     Nevertheless, JLI continued to push its campaign on websites

with young demographics.

       98.      As discussed further below, JLI also promoted the Vaporized campaign on

Facebook, Instagram, and Twitter. JLI could have employed age-gating on its social media

accounts to prevent underage consumers from viewing its Vaporized advertisements, but chose

not to do so.




154
    The sites included dailydressupgames.com, didigames.com, forhergames.com,
  games2girls.com, girlgames.com, and girlsgogames.com.
155
    E.g., coolmath-games.com. JLI also purchased advertisements on basic-mathematics.com,
  coolmath.com, math-aids.com, mathplayground.com, mathway.com, onlinemathlearning.com,
  and purplemath.com.
156
    E.g., teen.com, seventeen.com, justjaredjr.com, and hireteen.com. JLI purchased
  advertisements on websites for high school students hoping to attend college such as
  collegeconfidential.com and collegeview.com.
157
    INREJUUL_00082179-185 (emphasis added).


                                                  43
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        99.     The Vaporized campaign included the largest e-cigarette smartphone campaign of

2015, which accounted for 74% of all such smartphone advertising that year.158

        100.
                      159



                      JLI hosted parties and pop-up “JUUL Lounges” to create a youthful
                brand and gave away free samples to get youth hooked.

        101.    In addition to print media, JLI utilized events, promotional models, and free

samples to market JUUL products. Over the first year after JLI launched its ad campaign in June

2015, it held a series of at least twenty-five highly stylized parties, typically with rock music

entertainment, in cities across the United States.160




        102.    Photographs from these events confirm that they drew a youthful crowd.




158
    Jackler et al., supra note 46 at 19.
159
    INREJUUL_00093933-934.
160
    Jackler et al., supra note 46 at 4.


                                                 44
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       103.    At these launch parties, thousands of young people were given free JUUL devices

and nicotine-filled JUULpods (appropriately named “JUUL starter kits”), and JLI posted photos

of various young people enthusiastically puffing on JUULs across JLI’s social media

channels.161

       104.    In addition, JLI gave away samples at music events without age restrictions,

including Outside Lands in San Francisco’s Golden Gate Park, and other events aimed a youthful

audience, such as the annual Cinespia “Movies All Night Slumber Party” in Los Angeles. These

events, in addition to providing youthful crowds for handing out samples, were opportunities for

JLI to cultivate its brand image as youthful, hip, and trendy—but had nothing to do with smoking

cessation. For example, on August 7, 2015, JLI tweeted, “Need tix for @cinespia 8/15? We got

you. Follow us and tweet #JUULallnight and our faves will get a pair of tix!”162

       105.    As part of the Vaporized campaign, JLI also emulated trendy pop-up restaurants

and stores by using a shipping container “pop-up JUUL bar” at festivals and events in the Los

Angeles and New York City metro areas. The firm BeCore designed and created the container



161
   Jackler et al., supra note 46 at 4; Chaykowski, supra note 152.
162
   JUUL Labs, Inc. (@JUULvapor), Twitter (Aug. 7, 2015),
 http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_18.jpg.


                                               45
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for JLI, and managed it as a mobile JUUL product sampling lounge. BeCore reported that, on

average, it “exceeded the sampling goals set by JUUL for each location (average number of

samples/event distributed equals 5,000+.”163




                                                                                164



       106.   JLI also held sampling events of JUUL products in stores.



      165



       107.   Documents obtained by the New York Attorney General show that JLI recruited

young “brand ambassadors” to staff its events and required a dress code that included skinny

jeans, high-top sneakers or booties, and an iPhone in a JUUL-branded case.166




163
    Jackler et al., supra note 46 at 9.
164
    Harty, supra note 150.
165
    INREJUUL_00160394.
166
    Jake Offenhartz, Juul Hooked Teens Through Sick Parties and Hip Ambassadors, NY AG
  Says, Gothamist (Nov. 19, 2019), https://gothamist.com/news/juul-hooked-teens-through-sick-
  parties-and-hip-ambassadors-ny-ag-says; Chaykowski, supra note 152.


                                               46
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       108.    JLI engaged PUSH Agency, LLC (“PUSH”), a promotional model and event

staffing agency, to provide models and brand ambassadors to hand out coupons in trendy areas of

New York City popular with young people.




                                        167



       109.    Though JLI publicly acknowledged in October 2017 that it is unlawful to

distribute free samples of its products at live events,168 it continued to reach out to new users by

offering samples, sometimes at $1 “demo events.” Like so many of JLI’s initiatives, promotions

of this kind are prohibited for cigarette companies by the Master Settlement Agreement.




167
   INREJUUL_00158794-803.
168
   See Nik Davis (@bigbabynik), Twitter (Nov. 17, 2017 1:11 PM),
 https://twitter.com/JLIvapor/status/931630885887266816; see also Jackler Testimony, supra
 note 129.


                                                 47
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          110.    The effect—and purpose—of JLI’s Vaporized giveaways was to flood major

cities with JUUL products that would hook thousands of new users, and to generate buzz for the

brand among urban trendsetters who would then spread JLI’s message to their friends via word

of mouth and social media.

                        By using viral advertising, JLI ensured that Its advertising campaigns
                  would reach youth and outlast JLI’s own efforts.

          111.    JLI not only used Big Tobacco’s advertising imagery and giveaways in a manner

that reached youth, but also coupled traditional advertisements with an aggressive social media

marketing campaign. Through the use of social media, JLI has been able to operate an even more

pervasive, insidious, and successful viral marketing campaign than its predecessors in the

tobacco industry.
                             169




          112.    JLI was particularly active on Instagram, which is the most popular social media

site among teens.170 JLI cultivated hashtags, allowing it to blend JUUL products’ ads in with a

wide range of user content, increasing exposure while concealing the commercial nature of the




169
      INREJUUL_00349541.
170
      Jackler et al., supra note 46.


                                                  48
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content.171 JLI then used hashtags to reinforce the themes it crafted in the JUUL products’

design, like #style, #technology, #smart, and #gadget.




                                                                        172



       113.    JLI’s hashtags attracted an enormous community of youthful posts on a wide

array of subjects. According to Dr. Jackler, #Juul contains literally thousands of juvenile

postings, and numerous Instagram hashtags contain the JUUL brand name.173

       114.    A key feature of JLI’s viral marketing campaign was inviting user-generated

content. This strategy revolves around prompting social media followers to provide their own

JUUL-related content—posting selfies in their favorite places to use JUUL products, for

example. The response provided by a user is then typically distributed by the social media

platform employed into the user’s personal network. In this way, brands can infiltrate online

communities with personalized content that promotes their products, such as a picture of a friend

using a JUUL e-cigarette at the beach.




171
    Id. at 23.
172
    INREJUUL_00093294.
173
    Jackler Testimony, supra note 129 at 10.


                                                49
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          115.   Just as JLI intended, JUUL users began taking photos of themselves using JUUL

devices and putting them on social media with the hashtag #juul. They were creating JLI content

that looked and felt like real JLI ads: featuring young people having fun and using JUUL. JLI’s

flavor-based hashtag campaigns #MangoMonday and #coolmint generated hundreds of

thousands of user-generated posts. Within a few months of JLI’s commercial release of JUUL in

June 2015, a former JLI executive reportedly told The New York Times that JLI “quickly realized

that teenagers were, in fact, using [JUULs] because they posted images of themselves vaping

JUULs on social media.”174 Some JLI executives sought to take advantage of this to build the

JUUL brand. For example,




174
      Richtel & Kaplan, supra note 137.


                                               50
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                                        175


                                              176



       116.    JLI also sought to work with high profile “influencers” that appeal to youth. JLI

used these



                        177
                              Influencers are prized sources of brand promotion on social media

networks.

       117.    Documents obtained pursuant to a Congressional investigation show that in July

2015, JLI’s contract with Grit was for services that including “Influencer Relations,” in which

Grit agreed to provide two “Social Buzzmakers” for six events within a four-week period, with

each Social Buzzmaker having a minimum of 30,000 followers and be active on at least two

social media channels, such as Instagram, Twitter, or Facebook. The contract provided that JLI

would determine or approve the timing of the Buzzmakers’ posts. In addition, JLI engaged Grit

to “develop influencer engagement efforts to establish a network of creatives to leverage as

loyalists for Juul/Pax brand activations.”178




175
    JLI00382271.
176
    JLI00382271.
177
    See INREJUUL_00091138 (


            ).
178
   Kenrick Cai, Juul Funded High Schools, Recruited Social Media Influencers To Reach Youth,
 House Panel Charges, Forbes (July 25, 2019),
 https://www.forbes.com/sites/kenrickcai/2019/07/25/juul-high-schools-influencers-reach-
 youth-house-investigation/#57735a4a33e2. See JLI-HOR-00042050.


                                                    51
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       118.    Like its Vaporized campaign,



                    179
                          In keeping with this strategy, JLI targeted influencers that were young

and popular with adolescents. One influencer JLI targeted was Tavi Gevinson, who was nineteen

years old in the summer of 2015. The year before, Rolling Stone magazine described Gevinson

as “possibly the most influential 18-year-old in America.”180

       119.    JLI contracted with Grit to enlist influencers by sending them free JUUL

e-cigarettes. Grit provided free JUUL products to Luka Sabbat, known as the “the Internet’s

Coolest Teenager,”181 who was seventeen years old during the summer of 2015.

       120.



                                                182



       121.    JLI paid these social media influencers to post photos of themselves with JUUL

devices and to use the hashtags that it was cultivating.183 One such influencer was Christina

Zayas, whom JLI paid $1,000 for just one blog post and one Instagram post in the fall of 2017.




179
    INREJUUL_00057293.
180
    Alex Morris, Tavi Gevinson: A Power Teen’s New Direction, Rolling Stone (Aug. 14, 2014),
  https://www.rollingstone.com/culture/culture-features/tavi-gevinson-a-power-teens-new-
  direction-232286/.
181
    Alexis Barnett, Who Is Luka Sabbat? Meet the Internet’s Coolest Teenager, Complex (Aug.
  17, 2015), https://www.complex.com/style/luka-sabbat-interview-on-youth-kanye-west-and-
  fashion.
182
    See INREJUUL_00091141 (
                                                                   ).
183
    Jackler et al., supra note 46 at 19-21.


                                                  52
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                                                                                      184



       122.    JLI encouraged its distributors, wholesalers, and other resellers—either explicitly

or implicitly—to hire affiliates and influencers to promote JLI’s brand and JUUL products. Even

if not paid directly by JLI, these influencers profited from the promotion of JUUL products either

because they were paid by JUUL resellers, JUUL accessory sellers, or sellers of JUUL-

compatible products.

       123.    For example, one YouTube user Donnysmokes (Donny Karle, age twenty-one)

created a JUUL products promotional video in 2017 that garnered roughly 52,000 views, many

of which were from users under the age of eighteen.185 Since that time, Karle has made a series

of videos, including videos: How to hide your JUUL from your parents; and How to HIDE &

HIT Your JUUL at SCHOOL WITHOUT Getting CAUGHT.186 Karle has admitted to earning




184
    Michael Nedelman et al., #Juul: How social media hyped nicotine for a new generation, CNN
  Health (Dec. 19, 2018), https://www.cnn.com/2018/12/17/health/juul-social-media-
  influencers/index.html.
185
    Jackler Testimony, supra note 129.
186
    Id.


                                                53
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approximately $1,200 a month from unspecified sources simply from posting videos of himself

consuming e-cigarettes, especially of JUUL products online.187




       124.   Karle also created a YouTube sensation called the “JUUL Challenge,” which is a

play on the viral “Ice Bucket Challenge.” In the JUUL Challenge, the goal is to suck down as

much nicotine as possible within a predetermined amount of time. The JUUL Challenge, which

promotes nicotine abuse and adolescent use of JUUL products, went viral like the Ice Bucket

Challenge it mimicked. Soon, youth across the country were posting their own JUUL Challenge

videos, a practice that continues to this day on YouTube, Instagram, Snapchat and other social

media platforms. In one recent JUUL Challenge on YouTube, which has received nearly 500,000

views, the two teenagers filming themselves discussing the hundreds of thousands of views their

prior JUUL Challenge received and comment upon the “virality” of their JUUL Challenge

content.188


187
    Allie Conti, This 21-year-old is Making Thousands a Month Vaping on YouTube, VICE (Feb.
  5, 2018), https://www.vice.com/en_us/article/8xvjmk/this-21-year-old-is-making-thousands-a-
  month¬vaping-on-youtube.
188
    Nate420, JUUL Challenge (Apr. 22, 2018), https://youtu.be/gnM8hqW_2oo (last visited Mar.
  30, 2020).


                                               54
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         125.   JLI was aware of Karle’s videos and his young followers.
                             189
                                   And                                            it did not attempt to

remove his JUUL-related content until 2018, and by then JLI’s efforts were too little, too late.
                                                                   190
                                                                         JLI knowingly sought and

accepted the benefits of viral marketing and user-generated content.



                                           191



         126.   JLI recruited “affiliates” to help its viral marketing campaign. I




                                         192
                                               JLI’s affiliates promoted JUUL products on social media

platforms including YouTube, Instagram, Facebook, Snapchat, and Twitter and routinely failed

to disclose that they were being paid to promote JUUL products. JLI’s “affiliate program”

recruited those who authored favorable reviews of its products by providing such reviewers with

a 20% discount of purchases of JUUL products.193 It even recruited JUUL users to act as part of

their marketing team by asking users to “refer a friend and get a discount.”194




189
      INREJUUL_00199348 (
                              ).
190
    INREJUUL_00349541.
191
    Karle000009 (undated Twitter direct messages exchange).
192
    INREJUUL_00113437-441.
193
    Jackler Testimony, supra note 129 at 9-10.
194
    Id. at 9.


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       127.    Between 2015 and 2017, JUUL-related posts on Twitter increased quadratically,

which is the exact result to be expected from an effective viral marketing campaign.195 JLI’s

growth on Instagram was likely even more rapid.

       128.    A 2018 study of JLI’s sales and presence on social media platforms found that JLI

grew nearly 700%, yet spent “no recorded money” in the first half of 2017 on major advertising

channels, and spent only $20,000 on business-to-business advertising.196 Despite JLI’s

apparently minimal advertising spend in 2017, the study found a significant increase in JUUL-

related tweets in 2017.197

       129.    On Instagram, the study found seven JUUL-related accounts, including

@doit4juul and @JUULgirls, which accounted for 4,230 total JUUL-related posts and had more

than 270,000 followers.198

       130.    The lead author of the study concluded that JLI was “taking advantage” of the

reach and accessibility of multiple social media platforms to “target the youth and young

adults . . . because there are no restrictions,” on social media advertising. 199

       131.    A large number of JLI’s social media posts reached youth. The Surgeon General

found that JLI’s Twitter account was being followed by adolescents, and that 25% of those re-


195
    See Brittany Emelle et al., Mobile Marketing of Electronic Cigarettes in the U.S., Truth
  Initiative (May 22, 2017), https://www.slideshare.net/YTHorg/mobile-marketing-of-electronic-
  cigarettes.
196
    Jidong Huang et al., Vaping versus JUULing: how the extraordinary growth and marketing of
  JUUL transformed the US retail e-cigarette market, 28 Tobacco Control 146-52 (May 31,
  2018), https://tobaccocontrol.bmj.com/content/tobaccocontrol/28/2/146.full.pdf.
197
     Id.
198
     Id.
199
     Laura Kelley, JUUL Sales Among Young People Fueled by Social Media, Says Study, Wash.
  Times (June 4, 2018), https://www.washingtontimes.com/news/2018/jun/4/juul-sales-among-
  young-people-fueled-by-social-med/.


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tweeting official JLI tweets were under eighteen years old.200 Another study found that as many

as half of JLI’s Twitter followers were thirteen to seventeen years old.201

       132.    A study characterizing JLI’s JUUL-related Instagram posts between March and

May 2018 found that among nearly 15,000 relevant posts from over 5,000 unique Instagram

accounts, more than half were related to youth or youth lifestyle.202

       133.    By April 2018, searching “JUUL” on YouTube yielded 137,000 videos with

forty-three videos having over 100,000 views.203 Of these, a huge number were plainly related to

underage use, including: 1,730 videos on “hiding JUUL in school,” 789 on “JUUL in school

bathroom,” 992 on “hiding JUUL at home,” and 241 on “hiding JUUL in Sharpie.”204

       134.    In 2018, JLI was internally collecting hundreds of social media posts—directed at

JLI—informing it of JUUL’s wild popularity with young people and in many cases requesting

that JLI do something to stop it.205

       135.    But even after JLI halted its own social media posts in November 2018, viral

peer-to-peer promotion among teens insured continued corporate and product visibility among



200
    Adams, supra note 2.
201
    Steven Reinberg, Study: Half of Juul’s Twitter followers are teens, young adults, United Press
  Int’l (May 20, 2019), https://www.upi.com/Health_News/2019/05/20/Study-Half-of-Juuls-
  Twitter-followers-are-teens-young-adults/1981558384957/.
202
    Lauren Czaplicki et al., Characterizing JUUL-related posts on Instagram, Tobacco Control
  054824 (Aug. 1, 2019),
  https://tobaccocontrol.bmj.com/content/early/2019/07/30/tobaccocontrol-2018-054824.
203
    Divya Ramamurthi et al., JUUL and Other Stealth Vaporizers: Hiding the Habit from Parents
  and Teachers, 28 Tobacco Control 610-16 (Sept. 15, 2018),
  https://tobaccocontrol.bmj.com/content/tobaccocontrol/28/6/610.full.pdf.
204
    Id.
205
    Complaint for Permanent Injunction, Abatement, Civil Penalties, and Other Equitable Relief,
  People v. JUUL Labs, Inc. (“CA AG JUUL Complaint”), No. RG19043543 (Super. Ct. of Cal.
  Nov. 18, 2019), https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.


                                                57
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youth.206 In fact, community posts about JUUL products increased after JLI itself quit social

media in the fall of 2018. Prior to November 2018, over a quarter of a million posts appeared. In

the eight months after JLI halted its promotional postings, the rate of community postings

increased significantly, resulting in the number of posts doubling to over half a million.207

       136.    If JLI was concerned that other social media accounts were using its trademark in

posts directed to underage audiences, JLI could have stepped in and attempted to stop the use of

the word “JUUL,” including the use of all the hashtags that contain the word “JUUL.” JLI could

have sought to shut down infringing accounts such as @doit4juul and @JUULgirls. JLI did not

act promptly to do so. Instead, JLI repeatedly thanked and encouraged the owner of the

@JUULnation Instagram account for his posting of youth-oriented JUUL content on Instagram.

       C.    JLI and Its Officers and Directors Knew JLI’s Aggressively Youth-Oriented
       Advertising Was Hooking Kids But Continued It Anyway

       137.    JLI was well aware from the beginning that its products would appeal to youth.



                                                                                         208




       138.    But JLI’s officers and directors at this point were taking actions that went beyond

the regular and legitimate business operations of JLI in order to market JUUL products to youth.



206
    Id.
207
    Id.
208
    INREJUUL_00056077 [Confidential].


                                                 58
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At the same time




                                209



        139.   Within weeks of JUUL’s launch, on June 23, 2015, an article in AdAge regarding

the Vaporized campaign highlighted the concerns about the youth focus of the campaign: “John

Schachter, director of state communications for Campaign for Tobacco-Free Kids, expressed

concern about the Juul campaign because of the youth of the men and women depicted in the

campaign, especially when adjoined with the design.”210 Reacting to the article that evening, JLI

Marketing Manager Sarah Richardson commented,
                                                                                      211



        140.   A former JLI manager, who spoke to The New York Times on the condition that

his name not be used, said that within months of JUUL’s 2015 introduction, it became evident

that teenagers were either buying JUUL products online or finding other individuals who made

the purchases for them. Some people bought more JUUL kits on JLI’s website than they could

individually use—sometimes ten or more devices at a time. “First, they just knew it was being

bought for resale,” said the former senior manager, who was briefed on JLI’s business strategy.

“Then, when they saw the social media, in fall and winter of 2015, they suspected it was

teens.”212



209
    Id.
210
    Harty, supra note 150.
211
    INREJUUL00278533 (emphasis added).
212
    Richtel & Kaplan, supra note 137.


                                               59
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        141.




                                      213



        142.




                                                             214
                                                                   But JLI did not run this campaign

then and in fact did not begin focusing its advertising on switching from combustible cigarettes

until 2018. 215

        143.      JLI’s officers and directors, and in particular Huh, wanted to continue their

fraudulent marketing, knowing that these ads were also targeted to youth, “argu[ing] that the

company couldn’t be blamed for youth nicotine addiction.”216

        144.      JLI’s officers and directors had the authority to direct the marketing to JLI and

approved JLI’s youth marketing strategy despite their knowledge that the marketing campaigns

appealed to youth.

        145.      In October 2015, Monsees stepped down from his role as CEO of JLI (to become

Chief Product Officer) and, in his stead, Pritzker, Huh, and Valani formed an Executive

Committee of the JLI Board of Directors that would take charge of fraudulently marketing JUUL



213
    INREJUUL_00339938 (emphasis added).
214
    JLI00214617.
215
    Jackler, supra note 129.
216
    Kirkham, supra note 53.


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products, including to youth. Prior to the installation of Tyler Goldman as JLI’s new CEO in

August 2016, Pritzker, Huh, and Valani used their newly formed Executive Committee to expand

the number of addicted e-cigarette users through fraudulent advertising and representations to the

public. They cleaned house at JLI by “dismiss[ing] other senior leaders and effectively tak[ing]

over the company.”
                                                                       217
       146.
                                                             218
                                                                   Also,




                                                                             219
                                                                                   Additionally,



           220




       147.




217
    See INREJUUL_00278406 et seq. (                 ); INREJUUL_00278410 et seq. (
        ).
218
    See INREJUUL_00278404 et seq. (                  ); INREJUUL_00278402 et seq. (
        ).
219
    INREJUUL_00278405 (             ).
220
    Id.


                                               61
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                                          221


                                   222



       148.   By March 2016, however, JLI employees internally recognized that JLI’s efforts

to market to children were too obvious.



                            223




       224


                                                                                 225




                     226




                                                227
                                                      Around this time, JLI reoriented its JUUL

products advertising from the explicitly youth-oriented Vaporized campaign to a more subtle

approach to appeal to youth. The advertising’s key themes continued to include




221
    INREJUUL_00061856.
222
    INREJUUL_00278359.
223
    INREJUUL_00178377.
224
    INREJUUL_00061469.
225
    INREJUUL_00178379.
226
    INREJUUL_00178384.
227
    INREJUUL_00061274.


                                                62
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pleasure/relaxation, socialization/romance, and flavors228—all of which still appeal to youth, as

was made clear in the Big Tobacco litigation.

       149.    It is clear that JLI, like Philip Morris and other Big Tobacco companies before it,

targeted youth as a key business demographic. Unsurprisingly, JLI’s efforts to follow these pages

of Big Tobacco’s playbook has yielded results: a recent study found that 15 to 17-year-olds are

sixteen times more likely to use JUUL products than 25 to 34-year-olds.229

       D.     JLI’s Early Labeling and Advertising for JUUL Products Omitted the Fact
       that JUUL Products Contain Nicotine.

       150.    As part of its strategy to market to youth and nonsmokers, JLI also did not

effectively inform users that JUUL products contain nicotine. Despite making numerous

revisions to JUUL products’ packaging since 2015, JLI did not add nicotine warnings until

forced to do so in August 2018. The original JUUL product labels had a California Proposition

65 warning indicating that the product contains a substance known to cause cancer, and a

warning to keep JUULpods away from children and pets, but contained no warnings specifically

about the known effects, or unknown long-term effects, of nicotine or consuming

e-cigarettes/inhaling nicotine salts.

       151.    Moreover, many of JUUL’s advertisements, particularly prior to November 2017,

also did not mention that JUUL contained nicotine. In the first year after its launch, not one of

JLI’s 171 promotional emails said anything about the nicotine content in JUUL products.230 For



228
    Jackler et al., supra note 46 at 9.
229
    D.M. Vallone et al., Prevalence and correlates of Juul use among a national sample of youth
  and young adults, 28 Tobacco Control 603-09 (Oct. 29, 2018),
  http://dx.doi.org/10.1136/tobaccocontrol-2018-054693.
230
    Jackler et al., supra note 46 at 25.


                                                63
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example, in a July 11, 2015 email, JLI advertised its promotional events with the text, “Music,

Art, & JUUL. What could be better? Stop by and be gifted a free starter kit.”231 This email did

not mention that JUULpods contain nicotine, nor did it say that JUUL or the free starter kits were

only for adults.

        152.    Compounding these omissions, JLI’s marketing strategy for JUUL products was

so successful in embedding its products into pop culture that it entered the vernacular as a verb.

The term “juuling” also erases the connection to terms like “smoking” or “e-cigarette,” which

could alert users to the true nature of the activity.

        153.    As a result of these omissions, many youth were unaware that JUUL products

contained nicotine at all, let alone a high dose of it. One recent survey of youth and young adults

ages fifteen to twenty-four found that 63% of JUUL users did not know that JUULpods always

contain nicotine.232

        E.   In Another Page from Big Tobacco’s Playbook, JLI Used Flavors to Hook
        Kids

        154.    JUULpods sold in fruity or sweet flavors made the product even more attractive

to adolescents. Tobacco companies have known for decades that flavored products are key to

nicotine adoption by youth. A 1972 Brown & Williamson memorandum: Youth Cigarette – New

Concepts, specifically noted the “well known fact that teenagers like sweet products.”233 A 1979

Lorillard memorandum concluded that younger customers would be “attracted to products with


231
    Check out our JUUL events this Summer, JUUL (hello@juulvapor.com) (July 11, 2015),
  http://tobacco.stanford.edu/tobacco_web/images/pod/juul/email/large/email_2.jpg.
232
    Willett, supra note 66.
233
    Marketing Innovations, Inc., Brown & Williamson Tobacco Corp. Project Report: Youth
  Cigarette—New Concepts, U.C.S.F. Truth Tobacco Indus. Documents (Sept. 1972),
  https://www.industrydocuments.ucsf.edu/tobacco/docs/#id=hzpd0040.


                                                   64
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‘less tobacco taste,” and even proposed borrowing data from the “Life Savers” candy company

to determine which flavors enjoyed the widest appeal among youth.234

       155.    Altria’s subsidiary U.S. Smokeless Tobacco Company (formerly called United

States Tobacco Company) described the initiation of new customers through flavored products as

“the graduation theory”:

       New users of smokeless tobacco—attracted to the product for a variety of
       reasons—are most likely to begin with products that are milder tasting, more
       flavored, and/or easier to control in the mouth. After a period of time, there is a
       natural progression of product switching to brands that are more full-bodied, less
       flavored, have more concentrated “tobacco taste” than the entry brand.235

       156.    A sales manager who worked at U.S. Tobacco in the 1980s told the Wall Street

Journal that “They talked about graduation all the time—in sales meetings, memos and manuals

for the college program. It was a mantra.236

       157.    According to 2004 data, seventeen-year-old smokers were more than three times

as likely as those over the age of twenty-five to smoke flavored cigarettes and viewed flavored

cigarettes as safer.237 For this reason, in 2009 the FDA banned flavored cigarettes pursuant to its

new authority under the Family Smoking Prevention and Tobacco Control Act of 2009. In

announcing the ban, former FDA Commissioner Dr. Margaret Hamburg declared that “flavored


234
    Flavored Tobacco FAQs, Students Working Against Tobacco,
  http://swatflorida.com/uploads/fightresource/Flavored%20Tobacco%20Industry%20Quotes%2
  0and%20Facts.pdf (citing Sedgefield Idea Sessions 790606-790607 (June 8, 1979), Bates No.
  81513681/3691) (last visited Mar. 27. 2020).
235
    G.N. Connolly, The marketing of nicotine addiction by one oral snuff manufacturer, 4
  Tobacco Control 73-79 (1995),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1759392/pdf/v004p00073.pdf.
236
    Alix Freedman, Juiced Up: How a Tobacco Giant Doctors Snuff Brands to Boost Their
  ‘Kick,’ Wall St. J. (Oct. 26, 1994).
237
    Gardiner Harris, Flavors Banned From Cigarettes to Deter Youth, N.Y. Times (Sept. 22,
  2009), https://www.nytimes.com/2009/09/23/health/policy/23fda.html.


                                                65
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cigarettes are a gateway for many children and young adults to become regular smokers.”238 A

2017 study of the cigarette flavor ban found that the ban was effective in lowering both the

number of smokers and the amount smoked by smokers, though it was associated with an

increased use of menthol cigarettes (the only flavor still available).239

       158.    The use of flavors is just as problematic with e-cigarettes. According to the

Surgeon General, 85% of adolescents who use e-cigarettes use flavored varieties. 240 Studies also

show that flavors motivate e-cigarette initiation among youth,241 and that youth are much more

likely to use flavored tobacco products than adults are.242 Flavored e-cigarettes play a large role

in the youth vaping epidemic. As mentioned above, flavors motivate e-cigarette initiation among

youth and youth are much more likely to use flavored tobacco products than adults.243 According

to the FDA, 96% of twelve to seventeen-year-olds who recently begun using e-cigarettes




238
    Id.
239
    Charles J. Courtemanche et al., Influence of the Flavored Cigarette Ban on Adolescent
  Tobacco Use, Am. J. of Preventive Med. 52(5):e139 - e146 (May 2017),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5401634/pdf/nihms842675.pdf; M.B. Harrell
  et al., Flavored e-cigarette use: Characterizing youth, young adult, and adult users, 5 Prev.
  Med Rep. 33–40 (Nov. 11, 2016),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5121224/pdf/main.pdf.
240
    E-Cigarette Use Among Youth and Young Adults, U.S. Dep’t of Health & Human Servs.
  (2016), https://www.ctclearinghouse.org/Customer-Content/www/topics/2444-E-Cigarette-
  Use-Among-Youth-And-Young-Adults.pdf (last visited Mar. 27, 2020).
241
    Karl Paul, Flavored Vapes Lure Teens Into Smoking and Nicotine Addiction, Study Shows,
  MarketWatch (Feb. 26, 2019), https://www.marketwatch.com/story/flavored-vapes-lure-teens-
  into-smoking-and-nicotine-addiction-study-shows-2019-02-25.
242
    A.C. Villanti et al., Flavored Tobacco Product Use in Youth and Adults: Findings From the
  First Wave of the PATH Study, 53 Am. J. of Preventative Med. 139 (2017),
  https://www.ncbi.nlm.nih.gov/pubmed/28318902.
243
    See E-Cigarette Use Among Youth and Young Adults, supra note 240; Paul, supra note 241;
  Villanti, supra note 242.


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reported using a flavored e-cigarette the first time they tried the product.244 Flavors work to

attract youth. A survey of teenagers between the ages of thirteen to seventeen from 2014-2015

showed that this age group was six times more interested in trying e-cigarettes in fruity flavors

than they were in trying e-cigarettes with only tobacco flavor.245

       159.    Research confirms that flavored products—no matter what the tobacco product—

appeal to youth and young adults. According to the 2012 Surgeon General Report, “Much of the

growing popularity of small cigars and smokeless tobacco is among younger adult consumers

(aged <30 years) and appears to be linked to the marketing of flavored tobacco products that, like

cigarettes, might be expected to be attractive to youth.”246 A study published in JAMA in 2015

found that approximately 80% of those between the ages of twelve and seventeen who had ever

used a tobacco product initiated tobacco use with a flavored product, and that for each tobacco

product, at least two-thirds of youth reported using these products “because they come in flavors

I like.”247 Research also shows that when youth see advertisements for flavored e-cigarettes, they




244
    Modifications to Compliance Policy for Certain Deemed Tobacco Products, FDA (Mar.
  2019), https://www.fda.gov/media/121384/download.
245
    J.K. Pepper et al., Adolescents’ interest in trying flavored e-cigarettes, 25 Tobacco Control
  ii62 (Sept. 15, 2016), https://tobaccocontrol.bmj.com/content/25/Suppl_2/ii62.
246
    Preventing Tobacco Use Among Youth and Adults, A Report of the Surgeon General (“2012
  Surgeon General Report”) at 539, U.S. Dep’t Health & Human Servs. (2012),
  https://www.ncbi.nlm.nih.gov/books/NBK99237/pdf/Bookshelf_NBK99237.pdf.
247
    Bridget K. Ambrose et al., Flavored Tobacco Product Use Among US Youth Aged 12-17
  Years, 2013-2014, 314 JAMA 1871 at 1872, 1873 (2015),
  https://jamanetwork.com/journals/jama/fullarticle/2464690.


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believe the advertisements and products are intended for them.248 A significant majority of

under-age users choose flavored e-cigarette products.249

       160.    Both mint and menthol flavors have been successfully used to make tobacco

products more palatable to youth. Among youth smokeless tobacco users, for example, mint and

menthol are the most popular flavors.250 And a recent study found that among high school JUUL

users, mint is the most popular flavor.251

       161.    The role of mint and menthol flavors in facilitating youth tobacco use is well

documented, as Dr. Jonathan Winickoff, a professor of pediatrics at Harvard Medical School and

the Director of Pediatric Research in the Tobacco Research and Treatment Center, testified

before Congress:

       [It is] completely false to suggest that mint is not an attractive flavor to children.
       From candy canes to toothpaste, children are introduced to mint flavor from a
       young age. Not only do children enjoy mint, but it has special properties that
       make it an especially dangerous flavor for tobacco. Menthol’s anesthetic
       properties cool the throat, mask the harshness of nicotine, and make it easier for




248
    D.C. Petrescu et al., What is the Impact of E-Cigarette Adverts on Children’s Perceptions of
  Tobacco Smoking? An Experimental Study, 26 Tobacco Control 421 (2016); Julia C. Chen-
  Sankey et al., Perceived Ease of Flavored E-Cigarette Use and E-Cigarette Use Progression
  Among Youth Never Tobacco Users, 14 PLOS ONE 1 (2019),
  https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0212353.
249
    Karen A. Cullen et al., E-cigarette Use Among Youth in the United States, 2019, 322 JAMA,
  2095 (2019), https://tinyurl.com/y3g75gmg (“Among current exclusive e-cigarette users, an
  estimated 72.2% . . . of high school students and 59.2% . . . of middle school students used
  flavored e-cigarettes[.].”).
250
    Shyanika W. Rose et al., Flavour types used by youth and adult tobacco users in wave 2 of
  the Population Assessment of Tobacco and Health (PATH) Study 2014–2015, Tobacco Control
  (Sept. 21, 2019).
251
    Adam M. Leventhal et al., Flavors of e-Cigarettes Used by Youths in the United States, 322
  JAMA 2132-34 (2019).


                                                 68
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       children to start using and continue using tobacco products. The impact of mint
       and menthol flavors on increasing youth tobacco addiction is well documented.252

       162.    Robin Koval, CEO and president of Truth Initiative, echoed Dr. Winickoff’s

testimony, stating that mint and menthol are among the most popular flavors for youth and that

“[w]e also know, as does the tobacco industry, that menthol has been and continues to be the

starter flavor of choice for young cigarette users.”253 According to the FDA, “younger

populations have the highest rate of smoking menthol cigarettes” and “menthol in cigarettes is

likely associated with increased initiation and progression to regular [] cigarette smoking.”254

Menthol cigarettes are also more addictive than regular cigarettes.255

       163.    In June 2015, JUUL came to market in four flavors including Tabaac (later

renamed Tobacco), Fruut (later renamed Fruit Medley), Bruulé (later renamed Crème Brulee),

and Miint (later renamed Mint).




252
    Jonathan Winickoff, Testimony of Jonathan Winickoff before the U.S. House of
  Representatives Committee on Oversight and Reform Subcommittee on Economic and
  Consumer Policy (“Winickoff Testimony”) at 3, U.S. House Committee on Oversight &
  Reform (July 24, 2019),
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2019.07.24%20Winickoff
  %20AAP%20Testimony.pdf.
253
    Id.
254
    Preliminary Scientific Evaluation of the Possible Public Health Effects of Menthol Versus
  Nonmenthol Cigarettes at 5, FDA, https://www.fda.gov/media/86497/download (last visited
  Mar. 28, 2020).
255
    Id. at 6.


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          164.   JUUL later offered other kid-friendly flavors, including Cool Cucumber and

Mango.




          165.   JUUL also offered limited edition flavors, including Coco Miint, a mint chocolate

flavor.


                                                 70
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         166.
                       256
                             Instead of taking corrective action or withdrawing the kid-friendly

flavors, JLI capitalized on their popularity with kids and continued to promote JUUL’s flavors.

In a social media post from August 2017, for example, JLI tweeted “Beat The August Heat with

Cool Mint” and “Crisp peppermint flavor with a pleasant aftertaste.”257 In another August 2017

tweet, JLI compared JUUL to dessert: “Do you brulée? RT [re-tweet] if you enjoy dessert

without the spoon with our Creme Brulee #JUULpods.” 258




256
      See INREJLI_00265068 (



           ).
257
    JUUL Labs, Inc. (@JUULvapor), Twitter (Aug. 4, 2017),
  http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_39.jpg.
258
    Chaykowski, supra note 152.


                                                  71
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       167.    The flavors pose dangers beyond luring young people into trying nicotine. Studies

now show these sweet and fruity flavors present distinct additional health hazards. Researchers

have found that some of the chemicals JLI uses for flavor and perfume—particularly in the

Crème Brulee flavor—contain relatively high levels of acetals.259 Acetals are airway-irritating

chemicals that may cause lung damage.260 Dr. Robert Jackler reported that test results have

shown that JLI’s sweet and fruity flavors “contribute[] to the increasing body of evidence

documenting toxicological effects of e-cig vapor.”261

       168.    JLI also engaged market research consultants to study youth flavor preferences,

and this research provided additional confirmation that JLI’s flavors appealed to youth.


259
    Susie Neilson, Irritating Compounds Can Show Up in ‘Vape Juice’, NPR (July 30, 2019),
  https://www.npr.org/sections/health-shots/2019/07/30/746238009/irritating-compounds-
  discovered-in-vape-juice.
260
    Id.
261
    Id.


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                                                      262



      169.    Under the
                                                     263




                                                                    264




        265



      170.



                              266                            267



      171.



                                                              268




262
    INREJUUL_00053206.
263
    INREJUUL_00121627 (             ); INREJUUL_00124965 (   ).
264
    Id.
265
    INREJUUL_00035325.
266
    INREJUUL_00124965.
267
    Id.
268
    INREJUUL_00035325.


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       172.



       173.    A 2018 survey of adolescents and young adults in California found that 74% of

those surveyed indicated that their first use of a JUUL was of a flavored JUULpod.269

       174.    In January 2020, the FDA banned flavored e-cigarette pods, other than “Tobacco”

and “Menthol” flavors, in response to “epidemic levels of youth use of e-cigarettes” because

these products are “so appealing” to children.”270 But the damage to Plaintiff and Plaintiff’s

community had already been done, and as discussed below, copycat companies exploited

loopholes in the ban to continue supplying flavored nicotine products to youth.

       F.    JLI also used JUUL’s Discreet and Tech-Inspired Design to Attract a New
       Generation of Youth to Nicotine

       175.    The design of JUUL is also acutely attractive to youth. Unlike most of its

predecessors, JUUL looks nothing like a cigarette. Instead of mimicking a cigarette, the product

that adult smokers are used to using, JUUL is sleek and linear and seems like the latest tech

invention. JLI co-founder Bowen drew on his experience as a design engineer at Apple Inc.

(“Apple”) to make JUUL’s design mimic technology children were already familiar with, like

Apple’s iPhone.271 This made JUUL look “more like a cool gadget and less like a drug delivery



269
    Karma McKelvey et al., Adolescents and Young Adults Use in Perceptions of Pod-based
  Electronic Cigarettes, 1 JAMA Network Open e183535 (2018), https://
  doi:10.1001/jamanetworkopen.2018.3535.
270
    FDA News Release: FDA finalizes enforcement policy on unauthorized flavored cartridge-
  based e-cigarettes that appeal to children, including fruit and mint, FDA (Jan. 2, 2020),
  https://www.fda.gov/news-events/press-announcements/fda-finalizes-enforcement-policy-
  unauthorized-flavored-cartridge-based-e-cigarettes-appeal-children.
271
    How JUUL made nicotine go viral, Vox – By Design (Aug. 10, 2018),
  https://www.youtube.com/watch?v=AFOpoKBUyok.


                                                74
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device. This wasn’t smoking or vaping, this was juuling.”272 The evocation of technology makes

JUUL familiar and desirable to the younger tech-savvy generation, particularly teenagers.

According to a nineteen-year-old interviewed for the Vox series By Design, “our grandmas have

iPhones now, normal kids have JUULs now. Because it looks so modern, we kind of trust

modern stuff a little bit more so we’re like, we can use it, we’re not going to have any trouble

with it because you can trust it.”273 A sixteen-year-old agreed, explaining that “the tech aspect

definitely helps people get introduced to it and then once they’re introduced to it, they’re staying,

because they are conditioned to like all these different products. And then this is another product.

And it’s just another product. Until you’re addicted to nicotine.”274

        176.    JUUL is small and discrete. Fully assembled, the device is just over 9.5 cm in

length and 1.5 cm wide. JUUL resembles a memory stick and can be charged in a computer’s

USB drive. This design allows the device to be concealed in plain sight, camouflaged as a

thumb-drive, for use in public spaces, like schools and even charged in school computers. JLI

has been so successful in emulating technology that its small, rectangular devices are often

mistaken for—or passed off as—flash drives. According to one high school senior, “that’s what

people tell the teachers a lot, too, if you charge it in class, they’ll just say it’s my flash drive.”275

And unlike the distinct smell and odor emitted from combustible cigarettes, JUUL emits a

reduced aerosol with a nearly undetectable scent. Unlike other e-cigarettes, JUUL does not

produce large plumes of smoke. Instead, the vapor cloud is very small and dissipates very


272
    Id.
273
    Id.
274
    Id.
275
    Juuling at School, KOMO News (2019),
  https://komonews.com/news/healthworks/dangerous-teen-trend-juuling-at-school.


                                                   75
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quickly, allowing for concealed use. As a result, young users can, and do, use JUUL—in class or

at home—without detection.




       177.    The ability to conceal a JUUL is part of the appeal for adolescents. The devices

are small and slim, so they fit easily in a closed hand or a pocket. The ease and simplicity of

use—there is nothing to light or unwrap, not even an on-off switch—also make it possible to

covertly use a JUUL behind a turned back, which has become a trend in many schools. As a

police officer told reporters, JUUL use is “incredibly prevalent in schools,” including both high

schools and middle schools, and that it is hard to catch kids in the act of vaping because JUUL

does not produce a big vapor cloud. As the officer explained, students will “just take a little hit or


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puff off them and then can hold the vapor in their mouth for a little while . . . There’s minimal

vapor. They’ll also just blow into their sleeve or into their hoodie.”276 Finding new ways to hide

the ever-concealable JUUL has spawned products designed just for that purpose, such as apparel

that allows the wearer to use the device while it is concealed in the drawstring of a hoodie or the

strap of a backpack. 277

       178.    JLI also designed JUUL with features reminiscent of youth-oriented tech culture

and gaming, like “secret” features users can unlock, such as making the indicator light flash

rainbow colors in “party mode.” “Party mode” is activated by the user waving the JUUL device

back and forth until the white LED light starts flashing multiple colors, so that the rainbow

colors are visible while the person inhales from the JUUL device. “Party mode” can also be

permanently activated by the user quickly and firmly slapping a JUUL against the palm of the

hand, until the LED light starts flashing multiple colors permanently. JUUL party mode is

described by users to be “like an Easter egg in a video game” and allows for “some cool tricks

that are going to drive [] friends crazy.” 278 This feature made it even more appealing and “cool”

to young users.




276
    Id.
277
    Evie Blad, ‘Juuling’ and Teenagers: 3 Things Principals and Teachers Need to Know, Educ.
  Wk. (July 18, 2018), https://www.edweek.org/ew/articles/2018/07/18/juuling-and-teenagers-3-
  things-principals-and.html.
278
    Jon Hos, Getting Your Juul Into Party Mode, Vape Drive (July 12, 2018),
  https://vapedrive.com/getting-your-juul-into-party-mode.


                                                77
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       179.    According to Dr. David Kessler, a former Commissioner of the FDA and current

Professor of pediatrics at the University of California, San Francisco, JUUL’s “fundamental

design appears to ease young people into using these e-cigarettes and ultimately, addiction.”279

Dr. Kessler emphasized the reduced harshness of JUUL’s nicotine salt formulation, the high

nicotine content, discreet vapor cloud, and use of flavors as design features that appeal to

youth.280 On April 24, 2018, the FDA sent JLI a letter, based on the FDA’s concern “about the

popularity of JUUL products among youth” and stated that this popularity may be related to “the

product design.”281 As a result, the FDA requested documents related to product design,

including its “shape or form,” “nicotine salt formulation” and “nicotine concentration/content,”




279
    Kessler, supra note 59.
280
    Id.
281
    Letter from Matthew R. Holman, Director of the Office of Science at the Center for Tobacco
  Products, to Ziad Rouag, Vice President of Regulatory & Clinical Affairs, JUUL Labs, Inc.
  (Apr. 24, 2018), https://www.fda.gov/media/112339/download.


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“flavors,” and “features such as: appearance, or lack thereof, or plume . . . [and] USB port

rechargeability.”

       G.   Eonsmoke, Riding on JLI’s Coattails, Promoted JUUL and Its Own “JUUL-
       Compatible” Products

       180.    Defendant Eonsmoke took notice of JLI’s successful marketing to youth and saw

it as an opportunity to profit, directly using the JUUL name to reach JLI’s young customers.

       181.    Eonsmoke designs, markets, and distributes e-cigarettes and accessories.

Eonsmoke makes its own electronic vaping device that resembles JUUL. Eonsmoke also makes

both closed-system pods, like those sold by JLI, and open-system pods that can be filled by the

user. Both Eonsmoke’s device and its pods are advertised as JUUL-compatible, meaning that

users can use Eonsmoke’s device to vape JUULpods and they can also use a JUUL to vape

Eonsmoke’s pods.282




282
   Eonsmoke Vapes, Tumblr (June 4, 2018),
 https://eonsmoke.tumblr.com/post/174567212961/mango-pods-6-tastes-like-a-sweet-and-crisp
 (showing Eonsmoke mango pods compatible with JUUL, captioned by Eonsmoke as “Mango
 Pods 6%. Tastes like a sweet and crisp Mango! Follow @Eonsmoke); Eonsmoke Vapes,
 Tumblr (June 18th, 2018), https://eonsmoke.tumblr.com/post/175012943246/blueberry-6-
 restocked-on-the-sites-grab-yours (showing Eonsmoke blueberry pods compatible with JUUL;
 captioned by Eonsmoke as “Blueberry 6% restocked on the sites! Grab yours today while
 supplies last! Follow @Eonsmoke”).


                                                79
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          182.   Below is an image of the Eonsmoke device:283




          183.   Eonsmoke’s devices, like JUUL, are designed to resemble flash drives. Eonsmoke

explicitly capitalized on this confusing design by advertising that users of its products could lie

to their parents and pretend the product was a flash drive. In the post pictured below, posted on

Eonsmoke’s Instagram page, the company shared a photograph of its device with the caption




283
      Post by Instagram user “eonsmoke” on August 11, 2018.


                                                 80
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“Mom! It’s a USB drive!! #eonsmoke.”284 On this post, one user comments “I told my dad that

about my old juul and he actually fell for it lol.”285




        184.    Although the official “eonsmoke” Instagram account is now deleted, on Tumblr,

another social media platform, an account called “Eonsmoke Vapes” contains links and images

of Instagram posts that appear to have been originally posted by Eonsmoke. Each linked

Instagram post is now-deleted. This Tumblr user holds itself out as Eonsmoke’s official page. 286

These posts show Eonsmoke frequently used, as a marketing tool, the tendency to confuse its

product with a flash drive:287


284
    Post by Instagram user “eonsmoke” on January 15, 2018.
285
    Id.
286
    The “Eonsmoke Vapes” Tumblr page uses Eonsmoke’s logo and the page’s bio says “Buy
  Eonsmoke e juices at an incredibly [sic] price. Also check out our Juul compatible e-cig pods in
  six flavors available now! Visit https://www.eonsmoke.com”. Eonsmoke Vapes, Tumblr,
  https://eonsmoke.tumblr.com/ (last visited Mar. 29, 2020).
287
    Eonsmoke Vapes, Tumblr (June 26, 2018),
  https://eonsmoke.tumblr.com/post/175286181941/2018-we-smoking-purple-flash-drives-
  eonsmoke (showing purple vape; captioned by Eonsmoke as “‘2018 we smoking purple flash


                                                  81
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       185.   The resemblance between a vaping device and a flash drive would be meaningless

if one was selling a smoking cessation device to chain smokers. But Eonsmoke was seeking to

tap into the youth social media network JLI created by marketing to users of JUUL. Eonsmoke

advertised its product as JUUL-compatible and used hashtags to connect itself to JUUL,

including “#juulcompatible,” “#juulgang,” “#juul,” “#doit4juul,” and “#juulnation,” among

others.288 Similarly, in a post on the “Eonsmoke Vapes” Tumblr, Eonsmoke’s device and




  drives’- @eonsmoke”); Eonsmoke Vapes, Tumblr (Apr. 16, 2018),
  https://eonsmoke.tumblr.com/post/172997769276/red-devices-now-restocked-and-available-on
  (showing red vape next to soda can with text “Smoke flashdrives all 2018”; captioned by
  Eonsmoke as “Red devices now restocked and available on Eonsmoke.com! Vape Eon!
  @eonsmoke”).
288
    Eonsmoke has been so aggressive in copying JUUL and targeting JUUL users that JLI sued
  Eonsmoke for patent infringement. See Verified Complaint, JUUL Labs, Inc. v. Eonsmoke et
  al., No. 19- 08405 (D.N.J. Mar. 12, 2019).


                                              82
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blueberry pods are marketed as “sexy” and tagged with “#juul,” “#juulgang,” “#juulnation,” and

“#doit4juul,” among other tags. Eonsmoke also told users to “[f]ollow” them for sales and

giveaways as in the post shown here from 2018, even though the FDA made it clear in October

2017 that e-cigarette products are included in its ban on free samples of tobacco products:289




289
   Eonsmoke Vapes, Tumblr (Feb. 13, 2018),
 https://eonsmoke.tumblr.com/post/170841792591/so-sexy-what-do-you-guys-think-follow
 (showing red vape and Eonsmoke blueberry pods, captioned by Eonsmoke “So sexy! What do
 you guys think? Follow @eonsmoke for sales and giveaways! #juul #juulgang #juulnation
 #juulcentral #doit4juul #doit4state #kangertech #kanger #aspirebreeze #aspirebreezekit #xfire
 #xfirevape #bovaping #bovape #bovapingus #smokeshop #vapeshop #vapor #vaporshop
 #smoktech #sourin #sourinair #sourindrop #bouldervape #mrsalte”); see also Eonsmoke
 Vapes, Tumblr (Feb. 10, 2018), https://eonsmoke.tumblr.com/post/170724357236/we-are-
 doing-a-quick-weekend-juice-giveaway-of-our (showing different flavor vape juice with text
 “Eonsmoke 60mg Juice Giveaway Tag a Friend Now!!”, captioned by Eonsmoke “We are
 doing a quick weekend Juice giveaway of our made in USA 60mg salt nicotine vape juice!!!
 Giveaway ends Sunday 11:59 EST February 11th. The rules: 1. Follow @Eonsmoke 2. Tag a
 friend who vapes! More friends you tag the better your chances of winning!!! We will give
 away 4 bottles of 30ml juice!!!!!!!!!!!”); see also Eonsmoke Vapes, Tumblr (Feb. 10, 2018),
 https://eonsmoke.tumblr.com/post/170725145496/you-probably-know-the-rules-by-now-we-
 are (showing three vape devices with text “Gonna giveaway some devices too!!!!!!! Follow
 @eonsmoke and tag a friend! Free devices giveaway!!!”, captioned by Eonsmoke “You
 probably know the rules by now…. we are feeling pretty generous! Hope you guys win
 something!!!! #eonsmoke #vapegiveaway #vapegiveaways #pods #podsgiveaways
 #vapegiveaways #vapegiveaway #podsgiveaways #eonsmoke #pods”).


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          186.   Eonsmoke’s “Doit4juul” account on Instagram was the most-followed JUUL

account on Instagram, with over 81,000 followers as of February 2018.290 On YouTube, one of

the “Doit4juul” videos had nearly 192,000 views as of March 2018.291 The “Doit4juul”

campaign called on followers to share pictures or videos of themselves using JUUL.

          187.   In addition to driving social media posts about JUUL and vaping, Eonsmoke

targeted the youth market by selling its pods and nicotine salts in fruity and candy flavors such as




290
      Huang et al., supra note 196.
291
      Id.


                                                84
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“Sour Gummy Worms,” “Gummy Bear,” “Donut Cream,” “Pineapple Crush,” “Cotton Candy”

and more:292




       188.    When JLI was pressured to stop selling certain flavors in stores, Eonsmoke was

more than happy to fill the role. In 2018, Eonsmoke generated an estimated $5.3 million in

revenue.293 In 2019, after JLI stopped selling flavors like Mango in stores, Eonsmoke’s business



292
    Eonsmoke Vapes, Tumblr (June 12, 2018),
  https://eonsmoke.tumblr.com/post/174824533561/sour-gummies-60mg-restocked-today-
  online-and (showing Sour Gummy Worm salt nicotine vape juice, captioned by Eonsmoke
  “Sour Gummies 60mg restocked today online and through our vendors! Follow @Eonsmoke
  for more stock, vape developments, and new flavors”; see also Eonsmoke Vapes, Tumblr (July
  1, 2018), https://eonsmoke.tumblr.com/post/175446333176/cop-one-of-our-world-class-salt-
  nicotine-juices-in (showing Gummy Bear salt nicotine vape juice, captioned by Eonsmoke
  “Cop one of our world class salt nicotine juices in 60mg. #eonsmoke @eonsmoke”); see also
  Eonsmoke Vapes, Tumblr (June 27, 2018),
  https://eonsmoke.tumblr.com/post/175313662276/our-salt-nic-family-of-products-try-one-
  today-to (showing salt nicotine vape juices, captioned by Eonsmoke “Our Salt Nic family of
  products! Try one today to see what all the hype is about. Follow @Eonsmoke”).
293
    Sheila Kaplan, ‘Juul-alikes’ Are Filling Shelves with Sweet, Teen-Friendly Nicotine Flavors,
  N.Y. Times (Aug. 13, 2019), https://www.nytimes.com/2019/08/13/health/juul-flavors-
  nicotine.html.


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soared, with an estimated $43.6 million in tracked sales as of mid-July 2019. 294 According to a

sixteen-year-old interviewed by The New York Times, Eonsmoke’s wide range of flavors is a big

draw for minors: “A lot of my friends use the blueberry . . . People use the mango because it’s

somewhat similar to the Juul mango.”295

       189.    Eonsmoke followed in JLI’s footsteps by advertising these flavors to youth using

the apps and websites where minors often spend time, including Instagram, Tumblr, Snapchat,

YouTube, and Reddit.296

       190.    For example, on the social media platform Reddit, user “Eonjuulcompatiblepod”

holds itself out as a “Eonsmoke.com Juul Compatible Pods Official Representative” and claims

that “Eonsmoke.com is the 2nd largest pod company in the USA and the top 5 in Salt Nicotine

Bottled eLiquid. Our pods are Juul compatible so you don’t have to buy another device. 7 flavors

including blueberry, watermelon and strawberry.”297 Eonsmoke used Reddit to try to recruit

JUUL users. For example, Eonsmoke commented that its products are not only compatible with

JUUL but also cheap, a crucial factor for youth who often do not have much money: “Our pods

are compatible with the juul device and our devices are compatible with juul pods and we just

lowered the retail to 20$ online after coupon.”298 In addition, when Reddit users were discussing



294
    Id.
295
    Id.
296
    Eonsmoke Vapes, Instagram (Feb. 3, 2018) (captioned by Eonsmoke “The official vaping
  brand of Snapchat :) #snapchat #eonsmoke #eonpods #juul #juulgang #phix #phixvapor”).
297
    Eonsmoke (@Eonjuulcompatiblepod), Reddit,
  https://www.reddit.com/user/Eonjuulcompatiblepod (last visited Mar. 29, 2020).
298
    Eonsmoke (@Eonjuulcompatiblepod), Comment to @u/981ti, Reddit (May 21, 2018, 8:43
  PM),
  https://www.reddit.com/r/juul/comments/8k5wfa/are_there_any_other_devices_that_fit_juul_p
  ods/dzeu9sj/?context=3.


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additional JUUL flavors that they would like to try, including watermelon flavor, Eonsmoke was

ready with its pitch: “We make watermelon. Step over to the dark side!”299 In a comment on

social media platform Reddit, Eonsmoke also advertised that compared to JUUL, “[o]ur throat

hit is smoother, buzz is the same.” Eonsmoke also advertised its new “disposable pod system

which is 1.3ml and 7% salt nic for 8$ you get the battery plus one large pod that lasts like 2 juul

pods.”300

       191.    Eonsmoke’s social media posts, like its products, are designed to appeal to youth.

For example, Eonsmoke advertises its product as an accompaniment to candy and posts images

popular with youth in the forms of “memes”:301




299
    Eonsmoke (@Eonjuulcompatiblepod), Comment to @u/12gwar18, Reddit (May 21, 2018,
  8:26 PM),
  https://www.reddit.com/r/juul/comments/8kpdun/what_flavors_do_you_guys_wanna_see_next
  _from_juul/.
300
    Eonsmoke (@Eonjuulcompatiblepod), Comment to @u/richard_bag_DIK, Reddit (Oct. 23,
  2018 3:40 PM),
  https://www.reddit.com/r/juul/comments/9qrxxr/3rd_party_pods/e8bqkbb/?context=3.
301
    Eonsmoke (@eonsmoke), Instagram (May 1, 2018) (showing an Eonsmoke device next to a
  bag of M&M candies and captioned by Eonsmoke “Can you name a better combo?”); see also
  Eonsmoke (@eonsmoke), Instagram (Feb. 25, 2018) (showing a meme featuring a character
  from the animated show “The Simpsons”).


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       192.    Eonsmoke’s social media also explicitly encouraged users to associate their

products with movies and toys popular with children, such as Toy Story, and with school

supplies:302




       193.    Like JLI, Eonsmoke advertises that “[e]ach flavored cartridge is the equivalent of

up to a pack of traditional cigarettes.”303 But Eonsmoke emphasized that its products contain

even more nicotine than JUUL. For example, EonSmoke sells its 4x Pods in “Blue Raspberry




302
    Eonsmoke Vapes, Tumblr (Mar. 19, 2018),
  https://eonsmoke.tumblr.com/post/172051155991/wow-i-love-this-follow-eonsmoke-for-sales-
  and (showing Eonsmoke device with Woody from the animated film “Toy Story” and
  blueberry vape pods, captioned by Eonsmoke as “Wow I love this! Follow @Eonsmoke for
  sales and giveaways”); see also Eonsmoke Vapes, Tumblr (Feb. 16, 2018),
  https://eonsmoke.tumblr.com/post/170965631311/the-cotton-candy-60mg-eonsmoke (showing
  Eonsmoke devices and nicotine salt vape juice on a desk, captioned by Eonsmoke as “The
  Cotton Candy 60mg! #eonsmoke”); see also Eonsmoke Vapes, Tumblr (Feb. 4, 2018),
  https://eonsmoke.tumblr.com/post/170502488296/some-day-time-vibes-krissixx710 (showing
  Eonsmoke devices and flavor pods on a leopard print backpack, captioned by Eonsmoke as
  “Some Day Time Vibes @krissixx710”).
303
    Eonsmoke About Us, EonSmoke, LLC (Oct. 9, 2019),
  https://web.archive.org/web/20191009033001/https://www.eonsmoke.com/about-us/ (last
  visited Mar. 28, 2020).


                                               88
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Flavor JUUL Compatible 6.8% Salt Nic Pods.”304 Eonsmoke also used social media and memes

to highlight this “advantage” of their product over JUUL.

       194.     For example, on one post, Eonsmoke advertised that its “Watermelon 6% Pods”

were “Juul compatible with more juice and more nicotine inside every pod!”305 Eonsmoke

highlighted this difference in several of its social media posts:306




304
    Eonsmoke Product, EonSmoke, LLC (Oct. 9, 2019),
  https://web.archive.org/web/20191009085755/https://www.eonsmoke.com/product/4x-blue-
  raspberry-flavor-juul-compatible-6-8-salt-nic-pods/ (last visited Mar. 28, 2020) (“Flavor
  profile: Your favorite snack and ejuice flavor now in pod form. Both sweet and sour at the
  same time, makes sour gummy one of the fan favorites. Blue Raspberry 4x pods just hit that
  sweet spot of flavor.”).
305
    Eonsmoke Vapes, Tumblr (June 26, 2018),
  https://eonsmoke.tumblr.com/post/175281868841/try-some-watermelon-6-pods-all-juul-
  compatible (showing watermelon vape pods and sunglasses, captioned by Eonsmoke as “Try
  some Watermelon 6% Pods! All Juul compatible with more juice and more nicotine inside
  every pod! Follow @Eonsmoke”).
306
    Eonsmoke Vapes, Tumblr (Apr. 18, 2018),
  https://eonsmoke.tumblr.com/post/173080730801/comment-eon-below-for-a-follow-back-
  follow (showing person getting hit in the face with a book with text “When people say 6% nic
  is the same as 5% nic”, captioned by Eonsmoke as “Comment Eon below for a follow back!
  Follow @Eonsmoke”); see also Eonsmoke Vapes, Tumblr (May 20, 2018),
  https://eonsmoke.tumblr.com/post/174088090966/warning-pineapple-pods-contain-nicotine-
  and-so (showing pineapple crush vape pods, captioned by Eonsmoke as “WARNING:
  PINEAPPLE PODS CONTAIN NICOTINE AND SO MUCH FLAVOR IT MAY CAUSE
  YOU TO DROP ALL OTHER TYPES OF BRANDS FOR PODS. NICOTINE IS AN
  ADDICTIVE CHEMICAL. Follow @Eonsmoke”).


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          195.   This tactic is clearly effective on the youth market. As one sixteen-year-old boy

reported “Some of my friends use Eon pods because they have a higher nicotine percentage,

because they want a bigger head rush.”307

          196.   But Eonsmoke also mimized its references to nicotine while advertising on social

media when it believed it was in its marketing interests to do so. Eonsmoke was more than happy

to use nicotine as a youth-marketing gimmick, but it failed to warn its customers about the

dangers of nicotine.

          197.   Like JLI, Eonsmoke also used “influencers” to advertise its products. Eonsmoke’s

influencers include: Mia Khalifa, an Instagram influencer with 17.9 million followers who

frequently posts suggestive or provocative photos and has a large youth audience; Stevie

Emerson, who got 6.9 million views of his YouTube video titled, “Dude, Where’s my JUUL?”

and frequently referred to vapor from e-cigarettes as “water vapor;” and Donny Karle who, as


307
      Kaplan, Juul-alikes, supra note 293.


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discussed above, is better known to youth by his handle “DonnySmokes.” As a twenty-one-year-

old, Karle was getting about three million views each month reviewing vapor products on

YouTube, which began in 2017 when he posted a “unboxing” video of his newly purchased

JUUL.308 Karle’s videos were plainly aimed at youth; as mentioned above, one was titled, “How

to HIDE & HIT Your JUUL at SCHOOL WITHOUT Getting CAUGHT.”309 Eonsmoke’s CEO

Michael Tolmach told VICE that the company paid Karle $1,000 for each review of its

products.310

       198.    As of the fall of 2019, Eonsmoke’s products were sold side by side with JUUL

and the best-selling cigarette brand in the United States, Marlboro, a product of Philip Morris

USA and its parent company, Defendant Altria:311




308
    Conti, supra note 187.
309
    Id.
310
    Id.
311
    Eonsmoke Vapes, Tumblr (July 14, 2018),
  https://eonsmoke.tumblr.com/post/175887887396/this-is-how-the-top-shelf-of-the-cigarette-
  shelf (showing Juuls being sold alongside cigarettes, captioned by Eonsmoke as “This is how
  the Top shelf of the cigarette shelf looks now! Switch from cigarettes to Eon 6% pods now!
  #eonsmoke #juul.”; see also Hannah Smothers, JUUL’s ‘Banned’ Flavors Are Still Absolutely
  Available in New York City, VICE (Nov. 4, 2019),
  https://www.vice.com/en_us/article/xwepnj/juul-pod-banned-flavors-still-available-in-new-
  york-city (showing JUUL products side by side with Eonsmoke products in stores in New York
  City in mid-October 2019).


                                                91
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         199.   Eonsmoke’s conduct did not go unnoticed. On October 24, 2019, the FDA issued

a Warning Letter to Eonsmoke, stating that it was selling ninety-six e-cigarette products without

a marketing authorization order.312 The FDA also criticized Eonsmoke for omitting nicotine

warnings in its influencer posts and for making unlawful affirmative statements minimizing the

risks of vaping. Although Eonsmoke is not authorized to claim that its products are safer than

cigarettes, its website boasted that “Eonsmoke electronic cigarettes provide you with a premium

vaping experience without the thousands of harmful chemicals and additives often found in

tobacco cigarettes.”313

         200.   Eonsmoke has been sued by multiple state Attorneys General, including from

Arizona, Massachusetts, and North Carolina. On February 20, 2020, the Arizona Attorney

General was granted a preliminary injunction prohibiting the advertising, marketing, distribution,



312
      Eonsmoke, LLC Warning Letter, supra note 18.
313
      Id.


                                               92
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and sale of all ninety-six Eonsmoke products that the FDA identified as being sold without

authorization in its October 2019 Warning Letter.314

       H.    The Proliferation of “JUULalikes” and Next-Generation Products Targeting
       Youth

       201.    Eonsmoke was not the only company to follow JLI’s lead. As JUUL sales

skyrocketed in 2017 and 2018, everyone from tobacco industry giants to vape start-ups launched

their own products with the key elements of JUUL’s design: flavor pods, nicotine salts, and a

tech-like appearance.

       202.    Imperial Brands and Reynolds American, both of which already marketed e-

cigarettes, launched “JUULalike” versions of their products in 2018. As Alison Cooper, the CEO

of Imperial Brands, put it, “The type of experience JUUL delivered was definitely a step

forward.”315 In February 2018, Imperial Brands launched a new pod-based device called

“myblu,” noting in its press release that “[p]od-based devices are the fastest growing segment of

the e-vapour category in the USA.”316 Imperial Brands offered myblu pods in eleven flavors,

including Polar Mint, Mango Apricot, and Green Apple.317 In July 2018, Imperial Brands




314
    Attorney General Mark Brnovich Obtains Injection Against Vaping Company Eonsmoke, Off.
  Att’y Gen. State of Ariz. (Feb. 20, 2020), https://www.azag.gov/press-release/attorney-
  general-mark-brnovich-obtains-injunction-against-vaping-company-eonsmoke.
315
    Steve Birr, The Makers of Blu E-Cigarettes Are Taking On JUUL With A New Vape Device,
  Daily Caller (July 5, 2018), https://dailycaller.com/2018/07/05/blu-e-cigarette-juul-vape/.
316
    Imperial Brands launches new vaping product in USA, Imperial Brands (Feb. 1, 2018),
  https://www.imperialbrandsplc.com/media/key-announcements/2018/imperial-brands-
  launches-new-vaping-product-in-usa.html.
317
    blu Launches myblu E-Vapor Device, CStore Decisions (Feb. 21, 2018),
  https://cstoredecisions.com/2018/02/21/blu-launches-myblu-e-vapor-device/.


                                               93
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introduced a line of flavor pods called myblu INTENSE, using a nicotine salt formulation, with

4% nicotine strength.318

       203.    The launch of Imperial Brands’ myblu as a “JUULalike” product concerned Vince

Willmore, Vice President of Communications for the Campaign for Tobacco-Free Kids.

According to Willmore, “Juul is our biggest concern right as it is being widely used by kids

across the country . . . [b]ut we are also concerned that the introduction of a growing number of

Juul-like products could make the problem even worse.”319 Willmore is not the only one worried.

Then-FDA Commissioner Gottlieb expressed concern about products like myblu, stating that

such products “closely resemble a USB flash drive, have high levels of nicotine and emissions

that are hard to see. These characteristics may facilitate youth use, by making the products more

attractive to children and teens.”320

       204.    According to British American Tobacco, parent company of Reynolds American,

it had used nicotine salts in its Vuse e-liquid in the U.S. since 2012, “[s]o to be clear—not in



318
    Rachel Becker, Juul’s Nicotine Salts Are Dominating the Market – And Other Companies
  Want In, The Verge (Nov. 21, 2018), https://www.theverge.com/2018/11/21/18105969/juul-
  vaping-nicotine-salts-electronic-cigarettes-myblu-vuse-markten; Angelica LaVito, Juul’s
  momentum slips as NJOY woos customers with dollar e-cigarettes, CNBC (Aug. 20, 2019),
  https://www.cnbc.com/2019/08/20/juuls-momentum-slips-as-njoy-woos-customers-with-dollar-
  e-cigarettes.html.
319
    Ben Tobin, FDA targets e-cigarettes like Juul as teachers fear ‘epidemic’ use by students,
  USA Today (Aug. 16, 2018), https://www.usatoday.com/story/money/2018/08/16/juul-labs-
  back-school-teachers-e-cigarettes/917531002/.
320
    Scott Gottlieb, Statement from FDA Commissioner Scott Gottlieb, M.D., on new enforcement
  actions and a Youth Tobacco Prevention Plan to stop youth use of, and access to, JUUL and
  other e-cigarettes, FDA (Apr. 23, 2018), https://www.fda.gov/news-events/press-
  announcements/statement-fda-commissioner-scott-gottlieb-md-new-enforcement-actions-and-
  youth-tobacco-
  prevention?utm_campaign=04242018_Statement_Youth%20Tobacco%20Prevention&utm_me
  dium=email&utm_source=Eloqua.


                                                 94
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response to Juul,” according to a spokesperson. But in August 2018, R.J. Reynolds Vapor Co.

launched the Vuse Alto, with pre-filled pods available in 5% nicotine strength, compared to the

3% nicotine in Vuse Vibe cartridges and 1.5% nicotine in the Vuse Ciro. “Juul has achieved

tremendous progress over the last 18 months,” Reynolds American CEO Ricardo Oberlander

told reporters, adding that he sees JUUL as “showing the great potential for growth” in the e-

cigarette industry.321 Seeking some of the social media marketing success that propelled JLI’s

growth, Reynolds American began marketing Vuse e-cigarettes on Twitter and Instagram in May

2019.322

       205.    Also in 2018, as discussed further below, Altria launched its pod-based products,

the MarkTen Elite and the Apex by Markten.

       206.    Researchers from SRITA called it “a nicotine arms race,” writing that “JUUL’s

success in the e-cigarette marketplace has spurred a variety of new pod-based products with

exceptionally high nicotine.”323 “As of September 2018,” the researchers wrote, “there were at

least 39 JUUL knock off devices on the market”—none of which were sold prior to the

introduction of JUUL.324 These new devices followed JLI’s example of high nicotine and

discrete design:



321
    Richard Craver, Reynolds Vapor prepares national launch of new e-cig rival to JUUL,
  Winston-Salem J. (July 17, 2018), https://www.journalnow.com/business/reynolds-vapor-
  prepares-national-launch-of-new-e-cig-rival/article_7ba10442-d438-575e-af23-
  794173089a8a.html.
322
    Jennifer Maloney, Reynolds, With an Eye on Juul, Wades into Social Media, Wall St. J. (May
  15, 2019), https://www.wsj.com/articles/reynolds-with-an-eye-on-juul-wades-into-social-
  media-11557921721.
323
    Robert K. Jackler & Divya Ramamurthi, Nicotine arms race: JUUL and the high-nicotine
  product market. 28 Tobacco Control 623-28 (2019).
324
    Id.


                                               95
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       The vast majority of these emulate, and sometimes exceed, JUUL’s exceptionally
       high nicotine levels. Like JUUL, they are also inconspicuous, small enough to
       easily fit in a pocket or purse, and their purpose as a nicotine delivery system may
       not be obvious to many casual observers, including parents and teachers.325

       207.    In addition to the thirty-nine “JUULalike” devices, the researchers identified

fourteen brands marketing fifteen JUUL-compatible pods, and seventy-one American e-liquid

brands selling nicotine salt e-liquids with 5% or greater nicotine strength.326 All but one vendor

of the JUUL-compatible pods offered mango flavor.327

       208.    The rapid proliferation of vape products in JUUL’s wake and the speed with

which the vape market evolves make it difficult to enact effective legislative and regulatory

measures. When the FDA finalized its policy restricting flavored pods and “cartridge-based

products” in January 2020, vape products sprung up in the regulatory loopholes almost

immediately.

       209.    The FDA’s enforcement policy took effect on February 6, 2020, and covered:

          Any flavored, cartridge-based ENDS [Electronic Nicotine Delivery System]
           product (other than a tobacco- or menthol-flavored ENDS product);

          All other ENDS products for which the manufacturer has failed to take (or is
           failing to take) adequate measures to prevent minors’ access; [and]

          Any ENDS product that is targeted to minors or likely to promote use of
           ENDS by minors.328

       210.    In effect, this was a ban on flavored e-cigarette pods, other than tobacco and

menthol flavors. But both flavored nicotine liquid designed for refillable vape devices and



325
    Id.
326
    Id. at 2.
327
    Id.
328
    FDA News Release, supra note 270.


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disposable vape products were allowed to remain on the market.329

       211.    In announcing the ban, the Secretary of HHS recognized, “The United States has

never seen an epidemic of substance use arise as quickly as our current epidemic of youth use of

e-cigarettes.”330 FDA Commissioner Stephen Hahn, M.D. added, “As we work to combat the

troubling epidemic of youth e-cigarette use, the enforcement policy we’re issuing today confirms

our commitment to dramatically limit children’s access to certain flavored e-cigarette products

we know are so appealing to them – so-called cartridge-based products that are both easy to use

and easily concealable.”331

       212.    Enterprising companies recognized loopholes in a policy aimed only at cartridge-

based products and the opportunity to fill the demand for fruit-flavored nicotine created by JLI.

Disposable vape devices, not covered by the FDA’s ban, have become increasingly popular with

youth, building on the public health crisis Defendant JLI helped create. The use of disposable vape

devices is now “rampant” in schools.332 These products are typically cheaper than JUULpods and

are offered in increasingly more flavors.333 One high school junior told The New York Times that

she starting vaping mint and other flavored JUULs when she was in tenth grade.334 She now vapes

using disposable “Puff Bars” because “[t]hey have flavors like the Juul flavors. It’s basically like



329
    Abby Goodnough et al., With Partial Flavor Ban, Trump Splits the Difference on Vaping¸
  N.Y. Times (Jan. 2, 2020), https://www.nytimes.com/2020/01/02/health/flavor-ban-e-
  cigarettes.html; Sheila Kaplan, Teens Find a Big Loophole in the New Flavored Vaping Ban,
  N.Y. Times (Jan. 31, 2020), https://www.nytimes.com/2020/01/31/health/vaping-flavors-
  disposable.html.
330
    FDA News Release, supra note 270.
331
    Id.
332
    Kaplan, Teens Find a Big Loophole, supra note 329.
333
    Id.
334
    Id.


                                                97
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smoking a Juul.”335 Other high school students confirmed the popularity of Puff Bars, saying they

“saw them everywhere” and “[t]hat’s what everyone was talking about.”336

       213.   Defendant Eonsmoke also sells disposable vape devices called Eon St!Ks, in a

wide variety of youth-friendly flavors such as Blue Raspberry, Mango, Pink Lemonade, Lush

Ice, and Berry Gelato.337 Not only do Eonsmoke’s products come in kid-friendly flavors, they are

sold in strengths of 6.8% nicotine, even stronger than JUUL’s advertised 5% nicotine.338




                                                                            339




335
    Id.
336
    Angeline Jane Bernabe et al., Loophole in vaping ban has teens turning to disposable e-
  cigarettes, Good Morning Am. (Mar. 4, 2020),
  https://www.goodmorningamerica.com/wellness/story/loophole-vaping-ban-teens-turning-
  disposable-cigarettes-69376300.
337
    Id. (listing Eonsmoke’s St!K disposable vape flavors as Blue Raspberry, Watermelon,
  Strawberry, Mango, Pineapple, Green Apple, Citrus, Cucumber, Peach, Pink Lemonade, Lush
  Ice, Strawberry Banana, Cubano, Kiwi Strawberry, Pomegranate, and Berry Gelato).
338
    Id.
339
    St!K Disposables 6.8% Nicotine 3 Pack, Eonsmoke.com,
  https://www.eonsmoke.com/product/__trashed-3/ (last visited Mar. 28, 2020).


                                               98
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       214.    Eonsmoke also provides the flavoring for another disposable vape device called

fruyt. 340 Eonsmoke St!Ks and Puff Bars have been sold side by side in stores.341




       215.    As a Professor at Rutgers Center for Tobacco Studies stated, “[t]hese disposable,

completely self-contained e-cigarettes like Puff Bar and others share all of the characteristics that

made Juul a problem.”342 In online discussions of these disposable vape products, including Eon

St!K, users focused on “tasting similar to JUUL flavours, lasting longer than a JUUL pod and

having a good ‘hit’ like a JUUL . . . [and] posted images highlight the similar physical

dimensions to JUUL.”343 Researchers evaluating the rise of these products noted that “these

products are similar to JUUL—the brand driving high rates of youth vaping—in form and

function.”344 Disposable vape devices like Defendant Eonsmoke’s are “nearly identical in size”

to JUUL and “also contain nicotine salts,” but also offer even more flavors, even higher nicotine


340
    Cristine Delnevo et al., Rapid profileration of illegal pod-mod disposable e-cigarettes,
  Tobacco Control 055485 (Jan. 6, 2020),
  https://tobaccocontrol.bmj.com/content/early/2020/01/30/tobaccocontrol-2019-055485.full.
341
    Kaplan, Teens Find a Big Loophole, supra note 329.
342
    Id.
343
    Delnevo, Rapid proliferation, supra note 340.
344
    Id.


                                                 99
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concentrations, colorful marketing, and low pricing.345 Researchers also noted that “as a ‘single

use product’, disposable [vape devices] further contribute to plastic waste and microplastic

pollution, which is a growing health concern.” 346 This waste is a problem for Plaintiff as well as

other municipalities, schools, and counties, as discussed below.

       216.    In response to increasing pressure, the founder and CEO of the company behind

Puff Bar, Cool Clouds, announced that the company has “ceased all distribution” of Puff Bar

products in the U.S. and stopped licensing to “prevent third parties from distributing in the

U.S.”347 Defendant Eonsmoke’s disposable vape devices, on the other hand, are still available.

Moreover, for every company selling candy-flavored vape products that exits the market, more

materialize to take its place, driven by the knowledge that there is a large market of nicotine-

addicted youth eager for their products.

       217.    The rise in disposable products as a means to evade bans on flavored e-cigarettes

demonstrates why partial regulatory measures—banning flavor pods but not all flavored tobacco

products, for example—are not sufficient to halt the spread of youth vaping.348




345
    Id.
346
    Id.
347
    Sophie Alexander & Angelica LaVito, Upstart L.A. company pulls back Puff Bar single-use
  vaping product after outcry, L.A. Times (Feb. 20, 2020),
  https://www.latimes.com/business/story/2020-02-20/vaping-loophole.
348
    Press Release: Raising the Tobacco Age to 21 Won’t Stop the Youth E-Cigarette Epidemic
  and Is Not a Substitute for Eliminating the Flavored Products that Lure Kids, Tobacco Free
  Kids (Dec. 16, 2019), https://www.tobaccofreekids.org/press-
  releases/2019_12_16_tobacco21_flavor.


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        I.         JLI and Altria Join Forces to Protect JUUL’s Market Domination

                          Before conspiring with JLI, Altria tried to corner the youth e-
                   cigarette market

        218.       Altria’s first e-cigarette was a cigarette-lookalike, or “cigalike,” style of e-

cigarette, sold under the brand MarkTen. Following a phased roll-out of MarkTen in Indiana and

Arizona in late 2013, Altria launched the MarkTen nationwide in 2014 with an aggressive

marketing campaign, eclipsing the advertising expenditures for the market leader at that time, blu

e-cigarettes.349




        219.       E-cigarette advertising spending for 2014 totaled $88.1 million, a 52% increase

from 2013.350 Of the $88.1 million spent in 2014, nearly 40% of that was Altria’s MarkTen




349
    Jennifer Cantrell et al., Rapid increase in e-cigarette advertising spending as Altria’s
  MarkTen enters the marketplace, 25 Tobacco Control e16-18 (2015),
  http://dx.doi.org/10.1136/tobaccocontrol-2015-052532.
350
    Id.


                                                     101
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campaign, at $35 million.351 More than eighteen million middle school and high school children

were exposed to e-cigarette advertisements in 2014.352 Approximately one in two middle school

and high school age children saw advertisements for e-cigarettes in retail stores and almost two

in five saw advertisements for e-cigarettes online.353




       220.    At the time, the president of the Campaign for Tobacco-Free Kids said that

companies like Altria were using “exactly the same themes we saw work with kids in the U.S.

for decades with cigarettes.”354

       221.    Although free samples of tobacco products are prohibited under the terms of the

Tobacco Master Settlement Agreement, as well as FDA regulations issued in 2010, Altria


351
    Id.
352
    Carley Thompson, How JUUL cornered the youth tobacco market and what you should know,
  King Cty. Pub. Health Insider (Aug. 6, 2018), https://publichealthinsider.com/2018/08/06/how-
  juul-cornered-the-youth-tobacco-market-and-what-you-should-know/.
353
    Id.
354
    Matt Richtel, A Bolder Effort by Big Tobacco on E-Cigarettes, N.Y. Times (June 17, 2017),
  https://www.nytimes.com/2014/06/17/business/a-bolder-effort-by-big-tobacco-on-e-
  cigarettes.html.


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exploited the grey area in the regulation of e-cigarettes and distributed coupons for free sample

nicotine cartridges as part of its MarkTen launch. (The FDA has since issued finalized guidance

clarifying the scope of the ban on distributing free samples or coupons to generally include e-

cigarettes or components.355)

       222.    Altria utilized its extensive distribution network, reaching 60,000 stores in a

month.356 For instance, in Arizona, Altria’s distribution network allowed MarkTen to achieve a

48% e-cigarette market share in just seven weeks after launch, according to then-CEO Marty

Barrington’s statements on an earnings call.357 Altria was clear in its intent to dominate the

e-cigarette market as it has the traditional cigarette one: “We are the market leader today and we

will continue to be,” Barrington told investors at the time of MarkTen’s launch.358

       223.    Altria also began acquiring small companies in the vaping industry, starting in

2014 with Green Smoke, Inc., whose e-cigarettes were also the “cigalike” style, and were sold in

flavors including “Vanilla Dreams” and “Smooth Chocolate.”359 In 2016, Altria acquired a vape

product called Cync, from Vape Forward.360 Cync is a small vapor device that uses prefilled

pods, similar to JUUL.


355
    The Prohibition of Distributing Free Samples of Tobacco Products: Guidance for Industry,
  FDA (Oct. 2017), https://www.fda.gov/media/119231/download.
356
    Melissa Kress, MarkTen National Rollout Hits 60,000 Stores, Convenience Store News (July
  22, 2014), https://csnews.com/markten-national-rollout-hits-60000-stores.
357
    Mike Esterl, Altria To Launch MarkTen E-Cigarette Nationally, Wall St. J. (Feb. 19, 2014),
  https://www.wsj.com/articles/altria-to-launch-markten-e-cigarette-nationally-1392832378.
358
    Kress, supra note 356.
359
    Esterl, supra note 357; Senator Richard J. Durbin et al., Gateway to Addiction? A Survey of
  Popular Electronic Cigarette Manufacturers and Targeted Marketing to Youth at 12 (Apr. 14,
  2014), https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-
  Cigarettes%20with%20Cover.pdf.
360
    Remarks by Jody Begley, 2017 Altria Investor Day (Nov. 2, 2017), http://media.corporate-
  ir.net/media_files/IROL/80/80855/2017InvestorDay/Remarks_and_Reconciliations.pdf.


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       224.    In 2016, Altria launched a pod-based, “closed-tank” e-cigarette like JUUL, which

it branded as the MarkTen Elite: “a pod-based product with a premium, sleek battery design” and

having the “convenience of prefilled, magnetic click pods.”361 Altria told investors that the

product “offers a variety of flavorful liquids in a modern, discrete device format.”362 After its

nationwide launch, former Altria CEO Barrington, boasted that the Elite’s pods held more than

twice as much liquid as JUUL’s. 363




       225.    Altria quickly followed with another pod-based product, the Apex by MarkTen.




361
    Angel Abcede, Altria Introducing Closed Vapor System, CSP Daily News (Feb. 27, 2018),
  https://www.cspdailynews.com/tobacco/altria-introducing-closed-vapor-system#page=0.
362
    Remarks by Begley, supra note 360 at 18.
363
    Altria Group, Inc., Current Report (Form 8-K), Ex. 99.2 (Feb. 21, 2018),
  https://www.sec.gov/Archives/edgar/data/764180/000076418018000020/exhibit992-
  2018cagnyremarks.htm (remarks by Barrington and other members of Altria’s senior
  management team).


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       226.   As mentioned above, Altria marketed its e-cigarettes in flavors that would appeal

to youth. For example, the MarkTen Elite came in “Strawberry Brulee,” “Glacier Mint,” “Apple

Cider,” and “Hazelnut Cream”:364




       227.   In February 2017, Altria told investors at the 2017 Consumer Analyst Group of

New York (CAGNY) Conference that over the past year, “Nu Mark LLC (Nu Mark) made


364
    Examples New Ecigs Post Juul at 13, Campaign for Tobacco-Free Kids (July 18, 2018),
 https://www.tobaccofreekids.org/assets/images/content/2018_07_18_New_Ecigs_Post_Juul.pd
 f.


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excellent progress toward its long-term aspiration of becoming a leader in e-vapor.”365 In his

remarks, Willard said, “Nu Mark, our e-vapor company, had a very strong year. It made

excellent progress toward establishing MarkTen as a leading brand in the category, continued to

improve its supply chain, and took the necessary steps to comply with the deeming

regulations.”366 He noted, however, that the estimated “total 2016 e-vapor consumer spending

was roughly flat compared to the prior year at approximately $2.5 billion.”367

       228.    Despite its best efforts, in 2017, Altria’s MarkTen e-cigarettes had a market share

of only 13.7%, well behind JLI’s growing market share of 40%.368 Thus, despite its public

statements to the contrary, Altria knew that it would not achieve its goal of dominating the e-

cigarette market through its own products.

                     JLI and Altria Decide to Work Together to Expand JUUL’s Reach
               and Cover-Up JLI’s Youth Marketing

       229.    As set forth above, Big Tobacco has long known the importance of targeting

youth and addicting them to nicotine. Profitable growth requires a pipeline of “replacement

smokers” or e-cigarette users. JLI was wildly successful at expanding that pipeline, hooking

youth who had never smoked cigarettes—and who, having grown up in the decades of anti-




365
    Altria Group, Inc., Current Report (Form 8-K), Ex. 99.2 at 1 (Feb. 22, 2017),
  https://www.sec.gov/Archives/edgar/data/764180/000076418017000020/exhibit991-
  2017cagnyremarks.htm (remarks by Barrington and other members of Altria’s senior
  management team).
366
    Id. at 9.
367
    Id. at 10.
368
    Richard Craver, Vuse falls further behind Juul on e-cig sales, Winston-Salem J. (Dec. 14,
  2017), https://www.journalnow.com/business/vuse-falls-further-behind-juul-on-e-cig-
  sales/article_ed14c6bc-5421-5806-9d32-bba0e8f86571.html.


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smoking efforts following the Tobacco Master Settlement Agreement, never intended to try

cigarettes. JLI’s customers largely represented the generation that Altria could not reach.

       230.    While still popular overseas, cigarette use has been declining in the United States

in the last decade,369 especially with youth. Altria estimates that the cigarette industry declined

by 4% in 2017 and by 4.5% in 2018, and it predicted a continued 4% to 5% decline in the

average annual U.S. cigarette industry volume for 2019 through 2023.370 Altria later adjusted the

estimated rate of decline to 4% to 6%, to reflect efforts to increase the legal age for cigarette

smoking to twenty-one.371

       231.    As described above, Altria marketed its own e-cigarettes, testing different

versions of the MarkTen e-cigarette and acquiring products such as the GreenSmoke cigalike and

the Cync vape device. But JLI, a younger, tech-oriented, social-media-savvy company, was far

better at targeting youth and making its product “cool” than Altria and other Big Tobacco

companies were.

       232.    Both JLI and Altria knew that JUUL’s meteoric growth came from young,

nonsmoking customers. As described below, Altria told the FDA as much in an October 25, 2018

letter responding to the FDA’s request for a plan of action to address youth e-cigarette use. Altria



369
    Current Cigarette Smoking Among Adults In the United States, CDC,
  https://www.cdc.gov/tobacco/data_statistics/fact_sheets/adult_data/cig_smoking/index.htm
  (last visited Mar. 28, 2020); Youth and Tobacco Use, CDC,
  https://www.cdc.gov/tobacco/data_statistics/fact_sheets/youth_data/tobacco_use/index.htm
  (last visited Mar. 28, 2020).
370
    Altria’s Fourth-Quarter 2018 Earnings Conference Call, Altria (Jan. 31, 2019),
  http://investor.altria.com/Cache/1001247877.PDF?O=PDF&T=&Y=&D=&FID=1001247877
  &iid=4087349.
371
    Altria Shares Slide As Cigarette Sales Continue to Decline, Tobacco Bus. (July 31, 2019),
  https://tobaccobusiness.com/altria-shares-slide-as-cigarette-sales-continue-to-decline/.


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informed the FDA that it was exiting the market for pod-based e-cigarettes, on the grounds that

these products contributed to the youth vaping epidemic. Altria even displayed this letter to the

public by posting it on its website, purporting to disclaim the very marketing and advertising

tactics JLI relied on. But by this time, Altria and JLI had already been collaborating for

approximately one year, and just seven weeks later, Altria would publicly announce its $12.8

billion investment in JLI.

       233.    Altria wanted JUUL’s profits and new customer base. JLI, facing a public outcry,

needed Altria’s help to navigate the storm that it created. The solution was a well-orchestrated

cover-up with JLI dramatically changing its tune to promote itself as a company focused on

“harm reduction,” purportedly providing existing adult smokers with a way to “Make the

Switch” from combustible cigarettes to JUUL.

       234.    For that reason and others, Defendants JLI and Altria formed an association-in-

fact enterprise (“the Youth Marketing Cover-Up Enterprise”) to protect and expand the market

for JUUL through fraudulent means, including disseminating false statements denying JLI’s

efforts to target youth with nicotine products and characterizing JUUL as a cessation device that

was never intended for, or marketed to, youth. All the while, JLI and Altria understood that

maintaining and expanding JUUL’s market share meant maintaining and expanding a customer

base predominantly made of youth users.

       235.    Altria was prepared for this deception. Altria, and the rest of Big Tobacco, has a

long history of targeting youth with nicotine products and then lying about it. In fact, this type of

cover-up of youth marketing formed one of the bases for the U.S. Department of Justice’s

(“DOJ”) 1999 RICO lawsuit alleging that Big Tobacco engaged in a conspiracy to deceive the



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public about the health effects of smoking and about their marketing to youth. In 2006, in a

1,683-page opinion, Judge Kessler upheld the DOJ’s RICO claim against Altria and the other

Big Tobacco companies. Judge Kessler found that Big Tobacco, including Altria and its

subsidiary Philip Morris USA, committed predicate racketeering acts by falsely claiming that

“they do not market to youth, that their marketing is only aimed at adult smokers, and that their

marketing has no impact on youth smoking.”372 For example, Philip Morris373 and its co-

conspirators caused to be transmitted a false claim that the cigarette industry “feel[s] very

strongly that cigarette smoking is an adult custom that one should not even consider until they’ve

reached the age of maturity,” which it claimed was age twenty-one. 374 Similarly, the court found

that Philip Morris’s published marketing policies, claiming that “[a]ll of our brand advertising

and promotions are intended for adults who choose to smoke” were false.375 The court also found

that Altria made false statements in support of the Enterprise at a 2000 Philip Morris

shareholders meeting when the Altria Board of Directors denied that Philip Morris marketed to

youth:376

       [Philip Morris] has programs and policies in place, and are subject to legal
       restrictions, that help ensure that marketing and advertising activities be directed
       only to adults that choose to smoke . . . Philip Morris U.S.A. has a long-standing
       commitment to direct its advertising only at adults who choose to smoke [and]
       complies with an industry code and company policy that help ensure that its
       marketing efforts are directed only to adults who choose to smoke.




372
    Philip Morris, 449 F. Supp. 2d at 862.
373
    Id. at 204 n.12 (Judge Kessler found that Altria “effectively and actively control[ed] the
  activities of all of its subsidiaries, including Defendant Philip Morris USA Inc.”).
374
    Id. at 678-79.
375
    Id. at 683.
376
    Id. at 683.


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Judge Kessler concluded that “[t]hese public statements are false and misleading and have been

made to further the Enterprise’s overall objective of maximizing Defendants’ profits from the

sale of cigarettes.”377 As Judge Kessler explained, these “Defendants’ efforts to target youth

[we]re based on a recognition that the youth market is critical to the growth of their industry;

their denials of those efforts [we]re based on the recognition that the public considers pursuit of

the youth market to be ethically unacceptable.”378

          236.      The Youth Marketing Cover-Up Enterprise’s attempted cover-up of JLI’s youth

marketing is more of the same. As part of the fraudulent Enterprise, JLI and Altria made false

statements to the public and to regulators about actions they were purportedly taking to address

rampant youth vaping, including removing certain JUULpod flavors from the market while

continuing to promote Mint JUULpods with the knowledge that Mint was a preferred flavor with

youth, with the intent that parents, policymakers, and regulators would rely on such false

statements in a way that would allow JLI to keep selling JUUL products.

          237.      The Youth Marketing Cover-Up Enterprise is an ongoing and continuing

organization with a common purpose of covering up JLI’s youth focus and fraudulently

maintaining and expanding JUUL’s massive and ill-gotten market share.

                          Following JLI’s Journey Closely: Formation of the Youth Marketing
                    Cover-Up Enterprise

          238.      Defendants Altria and JLI formed the Youth Marketing Cover-Up Enterprise by

at least late 2017 or early 2018.




377
      Id. at 862.
378
      Id. at 863.


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       239.    From JLI’s beginnings, Altria, a pioneer in addicting youth to nicotine, “followed

Juul’s journey rather closely.”379

       240.    According to Altria’s current CEO, Howard A. Willard III, Altria first contacted

JLI about a commercial relationship in early 2017, with “confidential discussions” beginning in

the spring of 2017.380 JLI and Altria’s “confidential discussions” occurred “over a period of

approximately 18 months.”381

       241.    In November 2017, Altria announced a minority investment in Avail Vapor, LLC

(“Avail”), one of the largest vape store chains in the United States, which also produces and sells

its own branded e-liquids for refillable “open-tank” devices.382 Altria’s comments to investors

highlighted that the investment allowed Altria access to Avail’s “extensive data around adult

vaper purchasing patterns,” and “full-service analytical science laboratory,” located in Altria’s

hometown of Richmond, Virginia. 383

       242.    On information and belief, the “confidential discussions” between JLI and Altria

intensified in late 2017 and early 2018, and the companies began to lay the groundwork for



379
    Altria Group, Inc., Current Report (Form 8-K), Ex. 99.1 at 4 (Feb. 20, 2019),
  https://www.sec.gov/Archives/edgar/data/764180/000076418019000018/exhibit991-
  2019cagnyremarks.htm (Remarks by Willard and other members Altria’s senior management
  team).
380
    Willard, Letter to Senator Durbin, supra note 23 at 3.
381
    Id.
382
    Rich Duprey, Is Altria Trying to Corner the E-Cig Market?, Motley Fool (Jan. 7, 2018),
  https://www.fool.com/investing/2018/01/07/is-altria-trying-to-corner-the-e-cig-market.aspx;
  Lauren Thomas, Altria shares plunge after FDA releases road map to curb tobacco-related
  deaths, CNBC (July 28, 2017), https://www.cnbc.com/2017/07/28/altria-shares-fall-after-fda-
  releases-roadmap-to-curb-tobacco-related-deaths-.html.
383
    Altria Group, Inc., Current Report (Form 8-K), Ex. 99.1 at 19 (Nov. 2, 2017),
  https://www.sec.gov/Archives/edgar/data/764180/000076418017000131/exhibit991-
  2017investorday.htm.


                                                111
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Altria to support the Youth Marketing Cover-Up Enterprise. Altria has acknowledged that it was

monitoring JUUL sales data “in late 2017 and early 2018.”384 At that time, JUUL was

dominating the e-cigarette market. By November 2017, JLI had sold one million units of its

blockbuster product, with a 621% growth in year-to-year sales and capturing 32% of e-cigarette

sales tracked by Nielsen.385

       243.    Altria recognized that JLI had, against the backdrop of steadily declining cigarette

sales, created the perfect product to addict a new generation to nicotine. But to keep the product

from disappearing off the shelves as quickly as it had arrived due to public outcry, JLI would

need a more sophisticated approach to marketing and to navigating the storm of public opinion

and regulatory and congressional scrutiny on the horizon. In short, JLI needed Altria’s

experience, and Altria needed access to JLI’s best-selling e-cigarette and its youth market.

       244.    While following JLI’s journey closely and engaging in “confidential discussions,”

Altria had tested variations on the MarkTen that shared features of JUUL, such as the MarkTen

Bold, with a nicotine salt formulation and 4% nicotine by weight, and the MarkTen Elite, “a

small pod-based product that offers a variety of flavorful liquids in a modern, discrete device

format.”386 But as noted above, sales of Altria’s own e-cigarettes trailed behind both JUUL and

British American Tobacco’s Vuse.

       245.    Altria wanted JLI’s market dominance and young customer base. JLI, in the

crosshairs of a public and regulatory outcry, needed Altria’s experience placating the public and

its influence in Washington. Together, by lying about JLI’s efforts to addict youth to nicotine


384
    Willard, Letter to Senator Durbin, supra note 23 at 6 (emphasis added).
385
    Robinson, supra note 14.
386
    Remarks by Begley, supra note 360.


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and fraudulently misrepresenting the nature of JUUL, JLI and Altria could protect, maintain, and

expand JLI’s massive and ill-gotten youth market share.

                    Late 2017–August 2018: Early Coordination of Altria with the Youth
               Marketing Cover-Up Enterprise

       246.    As the sales of JUUL continued to mushroom, it was readily apparent, and widely

reported, that the rapid growth in sales was due to the surging popularity of “juuling” among

teenagers. By March 2018, multiple national news outlets including National Public Radio, USA

Today, and Business Insider reported youth were using JUUL with alarming frequency, posting

about “juuling” in school restrooms on social media, and bragging about being able to use the

device in the classroom due to JUUL’s discreet design.

       247.    One of the priorities for the Youth Marketing Cover-Up Enterprise was therefore

to control the messaging and narrative around youth vaping. Faced with an urgent, growing

public health crisis, national media attention, and the ire of the public, the FDA and members of

Congress, the Youth Marketing Cover-Up Enterprise realized that given the increasing public

and regulatory scrutiny of JLI’s marketing tactics, a dis-information campaign was urgently

needed to protect its bottom line, and it turned to a sophisticated and savvy third party for

assistance. By at least April 2018, both JLI and Altria were working with the global public

strategy firm Mercury LLC (“Mercury”), which is part of Omnicom Group, Inc. (“Omnicom”),

one of the “Big Four” advertising holding companies dominating marketing and communications

worldwide since the 1990s, second only to WPP plc.387


387
   See HISTORY's Moments in Media: The Birth of the Big 4 Holding Companies, MediaVillage
 (Jan. 13, 2020), https://www.mediavillage.com/article/historys-moments-in-media-the-birth-of-
 the-big-4-holding-companies/; Nathalie Tadena & Joshua Jamerson, Omnicom Posts Strong
 Sales Growth Advertising Giant's Second-Quarter Earnings Rise 12%, Wall S. J. (July 22,


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       248.    Mercury filed a lobbying registration on behalf of Defendant Altria Client

Services LLC, effective April 1, 2018, identifying “tobacco product regulations” as the specific

issue; two of Mercury’s managing directors, Stephen Aaron and Al Simpson, handle the Altria

account.388 Aaron, who was the federal liaison for the National Rifle Association for nearly a

decade, describes his role as “ help[ing] clients nuance complex issues to deliver effective

messages amid intense national debates to move the public in support of client agendas.”389 Big

Tobacco spin tactics are familiar territory for Mercury: another Mercury client is the Foundation

for a Smoke-Free World (“Foundation”), an organization established and solely funded by Philip

Morris International that claims to be an independent scientific body. 390 The World Health

Organization strongly rejected partnering with the Foundation and urged others to do the

same,391 while other global health organizations pointed out that “[w]hile PMI and its grantee

claim a commitment to reducing harm; reports show that PMIs cigarettes continue to be heavily

marketed in ways that attract children and undermine public health policy.”392 Working with JLI



  2014), https://www.wsj.com/articles/omnicom-sees-earnings-revenue-growth-top-expectations-
  1406028567.
388
    Kevin McCauley, Altria Taps Mercury for Tobacco Regulation Work, O’Dwyer’s (June 4,
  2018), https://www.odwyerpr.com/story/public/10754/2018-06-04/altria-taps-mercury-for-
  tobacco-regulation-work.html.
389
    Stephen Aaron, Managing Director, Mercury LLC,
  http://www.mercuryllc.com/experts/stephen-aaron/ (last visited Mar. 28, 2020).
390
    Tess Legg et al., The Philip Morris-funded Foundation for a Smoke-Free World: tax return
  sheds light on funding activities, Vol. 393 Lancet No. 10190 at 2469-2562 (June 22, 2019),
  https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(19)31347-9/fulltext.
391
    WHO Statement on Philip Morris funded Foundation for a Smoke-Free World, WHO (Sept.
  28, 2017), https://www.who.int/news-room/detail/28-09-2017-who-statement-on-philip-morris-
  funded-foundation-for-a-smoke-free-world.
392
    Open Letter to Urge WHO Executive Board to Reject Foundation for a Smoke Free World
  (FSFW), GGTC (Jan. 28, 2019), https://ggtc.world/2019/01/28/an-open-letter-to-urge-who-
  executive-board-to-reject-fsfw/.


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and Altria, Mercury has promoted a similar “harm reduction” message as a central feature of the

Youth Marketing Cover-Up Enterprise’s dis-information campaign.

       249.




                                     393




                               394




393
    INREJUUL_00262168; see also Kate Zernike, ‘I Can’t Stop’: Schools Struggle With Vaping
  Explosion, N.Y. Times (Apr. 2, 2018), https://www.nytimes.com/2018/04/02/health/vaping-
  ecigarettes-addiction-teen.html.
394
    INREJUUL_00262168.


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       250.




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       251.   On April 18, 2018, a group of eleven United States Senators sent JLI a letter

declaring that JUUL and JUULpods “are undermining our nation’s efforts to reduce tobacco use

among youth and putting an entire new generation of children at risk of nicotine addiction and

other health consequences.”396




395
   INREJUUL_00262226-227.
396
   Letter from Senator Richard J. Durbin et al. to Kevin Burns, JUUL Labs, Inc. (Apr. 18, 2018),
 https://www.durbin.senate.gov/imo/media/doc/JUUL%20Letter%20-%20S%20IGNED.pdf.


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       252.    Less than a week later, on April 23, 2018, then-FDA Commissioner Gottlieb

announced a crackdown on retailers to limit youth access to e-cigarettes and enforcement actions

against JLI in particular.397 On April 24, 2018, the FDA sent JLI a request for documents

“relating to marketing practices and research on marketing, effects of product design, public

health impact, and adverse experiences and complaints related to JUUL.”398 The FDA stated

clearly that it was requesting these documents because of evidence of widespread youth use,

including media reporting about middle school and high school student use of JUUL on school

property and social media evidence of youth use. “Widespread reports of youth use of JUUL

products are of great public health concern,” the FDA warned.399

       253.    JLI, with the help of its “campaign manager” Mercury and Altria guiding its

campaign, was ready with a response. The next day, on April 25, 2018, JLI issued a press

release, pledging its support of efforts to raise the minimum age to purchase tobacco products to

twenty-one and “an initial investment of $30 million over the next three years dedicated to

independent research, youth and parent education, and community engagement efforts.”400

       254.    As part of its “independent research,” in 2018, JLI, with the approval and

knowledge of JLI’s officers and directors, engaged McKinsey & Company to survey teenagers

regarding their e-cigarette flavor preferences, among other things, and engaged DB Research to

conduct a focus group with teenagers in Maryland. As discussed above, this research confirmed


397
    Gottlieb, Statement Apr. 23, 2018, supra note 320.
398
    Letter from Matthew Holman, M.D., FDA to Ziad Rouag, JUUL Labs, Inc. (Apr. 24, 2018),
  https://www.fda.gov/media/112339/download.
399
    Id.
400
    JUUL Labs, Inc., JUUL Labs Announces Comprehensive Strategy to Combat Underage Use,
  MarketWatch (Apr. 25, 2018), https://www.marketwatch.com/press-release/juul-labs-
  announces-comprehensive-strategy-to-combat-underage-use-2018-04-25.


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the popularity of Mint JUULpods with teens. Similarly, the Altria Defendants knew from

decades of experience selling a variety of tobacco products—and the development of its

“graduation theory”—that both mint and menthol were popular with youth, as discussed above.

Despite this knowledge, JLI and Altria kept Mint and Menthol JUULpods on the shelves even

when ostensibly removing youth-friendly flavors from retail stores in November 2018, as

discussed further below.

       255.




       256.    Instead, with that knowledge and with no genuine interest in youth prevention,

and as detailed below, JLI, JLI’s officers and directors, and Altria committed to work to preserve

Mint as a flavor for as long as possible. Indeed, to further this goal, Pritzker and Valani poured

additional money into JLI a mere two months later as part of a $600 million funding round,

allowing the Youth Marketing Cover-Up Enterprise to continue the work of maintaining and

expanding JUUL’s youth market-share while denying that JLI marketed to youth in order to

avoid public outcry.401




401
   JUUL Raises $650M Of Its $1.25B Mega-Round, crunchbase (July 10, 2018),
 https://news.crunchbase.com/news/juul-raises-650m-of-its-1-25b-mega-round/.


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       257.




       402


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       258.



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                                            405
                                                  Put another way, JUUL’s continued market growth

required Altria and JLI to convince the public and regulators that contrary to the facts, JLI had

nothing to do with youth vaping.

       259.    On August 2, 2018, JLI met with the FDA to discuss a proposed youth-behavioral

study on the prevalence of use, perceptions of use, and intentions to use JUUL and other tobacco

products among adolescents aged thirteen and seventeen (the “Youth Prevalence study”).406 As

with other steps taken by the Youth Marketing Cover-Up Enterprise during this time, the Youth

Prevalence study was a distraction and delay tactic, meant to give the public and regulators the


402
    INREJUUL_00258827-828.
403
    Id.; see also Start-up e-cigarette brand aims to “improve smokers’ lives”, 362 BMJ k2930
  (2018), https://www.bmj.com/content/362/bmj.k2930.
404
    INREJUUL_00258827-828.
405
    Id.
406
    Letter from Joanna Engelke, JUUL Labs, Inc., to David Portnoy, Ph.D., M.P.H., FDA Center
  for Tobacco Products (Nov. 5, 2018).


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impression that JLI was actively addressing the youth vaping epidemic. In fact, as discussed

further below, the Youth Prevalence study was a sham, and JLI would provide “results” to the

FDA in November 2018 that were directly contradicted by its own internal data.
                                                                  407
         260.



                                 408
                                       The brand campaign that Omnicom ultimately created for the

Youth Marketing Cover-Up Enterprise was the “Make the Switch” campaign, which revolved

around television ads featuring former smokers aged thirty-seven to fifty-four, each discussing

“how JUUL helped them quit smoking.”409

         261.   A striking departure from JLI’s earlier advertising campaigns and launch parties,

the “Make the Switch” campaign was the backdrop for the fraudulent statements disseminated by

the Youth Marketing Cover-Up Enterprise in order to protect, maintain, and expand the

tremendous market share gained by hooking kids on nicotine: that JUUL was only ever intended

as an alternative to smoking for existing adult smokers and JLI’s marketing was never aimed at

youth. According to JLI’s Vice President of Marketing, the “Make the Switch” campaign was




407
      See INREJUUL_00066530-539 (


                     ).
408
    INREJUUL_00074841-844.
409
    Angelica LaVito, Juul combats criticism with new TV ad campaign featuring adult smokers
  who quit after switching to e-cigarettes, CNBC (Jan. 8, 2019),
  https://www.cnbc.com/2019/01/07/juul-highlights-smokers-switching-to-e-cigarettes-in-ad-
  campaign.html.


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“an honest, straight down the middle of the fairway, very clear communication about what we’re

trying to do as a company.”410

       262.    These statements, however, are belied by evidence of JLI’s early marketing

campaigns and statements such as the admission by one of JLI’s engineers that “[w]e don’t think

a lot about addiction here because we’re not trying to design a cessation product at all . . .

anything about health is not on our mind.”411 As described elsewhere herein, JLI and its officers

and directors directly targeted underage nonsmokers. JLI and the Altria Defendants were well

aware that such users made up a significant percentage of JLI’s customer base in 2018—in fact,

they counted on this customer base to grow and preserve JUUL’s market share—and that the

statements they disseminated regarding “Make the Switch” from smoking being JLI’s mission

from the start were fraudulent.

       263.    The fraudulent nature of the “Make the Switch” campaign can literally be seen by

comparing the campaign’s advertisements to JLI’s initial advertising, as demonstrated below.

The fact that these advertisements are for the same product almost defies belief.




410
   Id.
411
   Nitasha Tiku, Startup Behind the Lambo of Vaporizers Just Launched an Intelligent e-
 Cigarette, The Verge (Apr. 21, 2015), https://www.theverge.com/2015/4/21/8458629/pax-labs-
 e-cigarette-juul.


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       264.    Indeed, JLI and Altria knew that the JUUL device was the opposite of a “tool[] to

reduce or eliminate” nicotine consumption, given JUULpods’ high nicotine content, as well as

the delivery of nicotine to the user. According to the National Institutes of Health, the “amount

and speed of nicotine delivery . . . plays a critical role in the potential for abuse of tobacco

products.”412 JLI designed its product to provide the largest amount of nicotine in the fastest way


412
  CDC et al., Nicotine Addiction: Past and Present, How Tobacco Smoke Causes Disease,
 NCBI (2010), https://www.ncbi.nlm.nih.gov/books/NBK53018/#ch4.s92.


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possible. As JLI itself advertises, JUUL delivers nicotine to the bloodstream as much as 2.7

times faster than other e-cigarettes. And, because of JLI’s unique formula of nicotine salts and

organic acids, as described above, vaping a JUUL delivers a vapor that is extremely potent in

terms of nicotine content but also considerably smoother than cigarettes or even other e-

cigarettes. At some point during the coordination between JLI and Altria, but no later than the

due-diligence period for Altria’s investment in JLI, JLI (through its employees) provided Altria

with a copy of                        , described above.413 Therefore, both JLI and Altria also

knew

           . If “harm reduction” and switching from cigarettes were the true goals, there would

be no need for the highly potent 5% nicotine formulation.

       265.      Far from being a product used by adults to quit smoking, JUUL has been an

initiation product for nonsmokers, particularly and predominantly youth. Researchers found that

in 2018, only 7.9% of American adults had ever used USB-shaped vape devices, like JUUL, and

only 2% of adults currently used them. 414 And as mentioned above, youth were sixteen times

more likely to use the USB-shaped JUUL than adults. 415

       266.      Thus, JLI and Altria committed predicate acts of wire fraud when they caused the

“Make the Switch” campaign to air on television with the fraudulent intent of deceiving the

public, Congress, and regulators into believing that JLI is and had been focused solely on

targeting adult smokers.


413
    INREJUUL_00244200.
414
    Kristy L Marynak et al., Use and reasons for use of electronic vapour products shaped like
  USB flash drivers among a national sample of adults, 28 Tobacco Control 685 (Nov. 2019),
  https://tobaccocontrol.bmj.com/content/28/6/685.
415
    Vallone et al., supra note 229.


                                                123
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       267.    Another key aspect of the Youth Marketing Cover-Up Enterprise’s early

coordination was Altria’s acquisition of shelf space that it would later provide to JLI in order to

sustain the exponential growth of underage users of JUUL products. By acquiring shelf space in

furtherance of the Youth Marketing Cover-Up Enterprise, Altria took steps to ensure that JUUL

products would receive prominent placement alongside a top-rated brand of combustible

cigarettes, namely, Altria’s Marlboro brand—the best-selling cigarette overall and by far the

most popular brand among youth, as described above.416

       268.    In 2018, Altria spent approximately $100 million to secure shelf space at retailers

for e-vapor products—purportedly for the MarkTen e-cigarette that it stopped manufacturing in

2018, although sales data suggests this was not the true reason for purchasing the shelf space:

Altria’s short-lived 2018 launch of its pod-based MarkTen Elite put that product in only 25,000

stores,417 whereas its 2014 launch of the original MarkTen saw the MarkTen reaching 60,000

stores in the first month in the western United States alone.418 Altria’s payments for shelf space

were a mixture of “cash and display fixtures in exchange for a commitment that its e-cigarettes

would occupy prime shelf space for at least two years.”419 But Altria had no need for two years

of prominent shelf space while it was engaged in discussions with JLI, was actively scaling back

sales of the original MarkTen, and had no true plans for a wide launch of the MarkTen Elite.



416
    See 2012 Surgeon General Report, supra note 246 at 164; see also Perks, supra note 99.
417
    Sheila Kaplan, Altria to Stop Selling Some E-Cigarette Brands That Appeal to Youths, N.Y.
  Times (Oct. 25, 2018), https://www.nytimes.com/2018/10/25/health/altria-vaping-
  ecigarettes.html.
418
    Kress, supra note 356.
419
    Jennifer Maloney & John McKinnon, Altria-Juul Deal Is Stuck in Antitrust Review, Wall St.
  J. (Jan. 17, 2020), https://www.wsj.com/articles/altria-juul-deal-is-stuck-in-antitrust-review-
  11579257002.


                                                124
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Instead, when Altria later announced its $12.8 billion investment in JLI, part of the agreement

was that Altria would provide JLI with this premium shelf space.420

       269.    Altria’s purchase of shelf space in 2018 indicates that Altria and JLI were

coordinating on the activities of the Youth Marketing Cover-Up Enterprise even before Altria

announced its investment in JLI and demonstrates Altria’s commitment to maintaining and

expanding JUUL’s market, including its youth market. The Youth Marketing Cover-Up

Enterprise thus ensured that JUUL products are placed where kids are most likely to see them

and buy them: in retail establishments, next to the most popular cigarette brand for underage

users, Marlboro.421

                    September–December 2018: Further Coordination of the Youth
               Marketing Cover-Up Enterprise

       270.    Throughout 2018, as public and government scrutiny of JLI’s practices

intensified, JUUL’s market share continued to climb. In the fall of 2018, with pressure mounting,

JLI and Altria stepped up the fraudulent practices of the Enterprise in response. Altria and JLI’s

responses to such scrutiny reflect a coordinated, successful effort to mislead the public, including

Plaintiff, and regulators. In reliance on JLI and Altria’s fraudulent statements and actions, JUUL

remained on the market without an overwhelming public outcry and enjoyed massive

commercial success in Plaintiff’s community.

       271.    On September 25, 2018, then-FDA Commissioner Gottlieb called youth vaping an

“epidemic” and sent letters to JLI and Altria demanding each company’s plan to reduce youth



420
  Id.
421
  Laura Bach, Where Do Youth Get Their E-Cigarettes?, Campaign for Tobacco Free Kids
 (Dec. 3, 2019), https://www.tobaccofreekids.org/assets/factsheets/0403.pdf.


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use, requesting a “detailed plan, including specific timeframes, to address and mitigate

widespread use by minors.”422

       272.    On October 2, 2018, the FDA raided JLI’s headquarters and seized more than one

thousand documents related to JLI’s sales and marketing practices.423

       273.    On October 16, 2018, JLI presented its “Action Plan” to the FDA in response to

then-FDA Commissioner Gottlieb’s September 25, 2018 letter.
                                                               424


                                                                                 425
                                                                                       As discussed

below, JLI also presented this Action Plan to the public a month later.

       274.    On October 25, 2018, Altria submitted a letter in response to the FDA’s call to

combat the youth vaping epidemic, which it published to the public on its website. 426 Altria

claimed to have “serious concerns” about youth access to e-vapor products and admitted that the

use of e-cigarettes by youth had risen to “epidemic levels.”427 Altria agreed to remove its pod-

based e-cigarettes from the market and stop selling any flavored traditional e-cigarettes other

than tobacco, menthol, and mint.428 It acknowledged that “[b]ased on the publicly available


422
    Letters to Manufacturers Regarding Plans to Address Youth Access and Use, FDA (Sept. 12,
  2018), https://www.fda.gov/tobacco-products/rules-regulations-and-guidance/ctp-letters-
  industry#youth-access (Letters were also sent to Reynolds American, Fontem Ventures, and
  JTI).
423
    McGinley, supra note 21.
424
    FDA Presentation at 2, JUUL Labs, Inc. (Oct. 16, 2018); see also INREJUUL_00182989.
425
    Id.
426
    Letter from Howard A. Willard III, Altria Group, Inc., to Scott Gottlieb, M.D., FDA
  Commissioner (Oct. 25, 2018), https://www.altria.com/-/media/Project/Altria/Altria/about-
  altria/federal-regulation-of-tobacco/regulatory-filings/documents/Altria-Response-to-FDA-E-
  vapor-October-25-2018.pdf.
427
    Id. at 1.
428
    Id. at 2.


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information from FDA and others, we believe pod-based products significantly contribute to the

rise in youth use of e-vapor products.”429 “Although we do not believe we have a current issue

with youth access to or use of our pod-based products, we do not want to risk contributing to the

issue.”430 Altria’s letter went on to disclaim a number of practices that it associated with

marketing to youth—strategies that were key components of JLI’s marketing strategy. Altria

specifically identified the use of flavors that go beyond traditional tobacco flavors, digitally

advertising on websites with a large percentage of youth visitors, using social media to promote

the brand, allowing online purchases and promotional sign-ups without age verification,

advertising e-cigarettes on billboards, advertising with models who appear to be under twenty-

five-years old, distributing branded merchandise, and paying celebrities or other third parties to

market or use a particular brand’s e-cigarette. Altria also claimed to support “banning vaping in

schools” in order to reduce “social access.”431 Altria ended the letter by committing to “reverse

the current use trend among youth.”432

         275.   On a public earnings conference call that same day, Altria repeated many of these

statements, describing its decision to remove its pod-based products from the market as one

intended to address the dramatic increase in youth e-cigarette use—while knowing that it was

only weeks away from publicly announcing a $12.8 billion investment in JLI, the company that

ignited the youth vaping crisis:

         In September, the FDA asked several companies, including Altria, to provide
         plans to address underage use of e-vapor products. We welcomed FDA’s action


429
    Id. at 2.
430
    Id.
431
    Id. at 3.
432
    Id. at 5.


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       and we agreed that the reported rise in underage use of e-vapor products is
       alarming and immediate action should be taken.433

       276.    Throughout the call, Willard repeatedly emphasized that Altria’s withdrawal of its

own pod-based products was intended to address youth use: “[W]e really feel like in light of this

dramatic increase in youth usage, withdrawing those products until the PMTA is filed is one path

forward.”434 He later said, “And frankly, the actions we took were the actions that we thought we

could take that would have the biggest impact on addressing the increased use of e-vapor

products by youth . . . we wanted to make a significant contribution to addressing the issue.”435

       277.    Willard stated that Altria had concluded that “pod-based products and flavored

products” were behind the increase in youth use of e-cigarettes:

       [A]s we looked at the data that is available in some of the remarks from the FDA,
       I think we concluded that the driver of the recent increase we think is pod-based
       products and flavored products and so we thought that the two actions that we
       took addressed the drivers of the increased youth usage here in the short run.436

       278.    Without saying anything about the massive investment it was about to make in

JLI’s pod-based products, Willard declared that Altria was removing its pod-based products from

the market to address youth use, and it would discontinue its cig-a-like flavors other than mint,

menthol, and tobacco:

       First, Nu Mark will remove from the market MarkTen Elite and Apex by
       MarkTen pod-based products until these products receive a market order from the
       FDA or the youth issue is otherwise addressed. Second, for our remaining
       MarkTen and Green Smoke cig-a-like products, Nu Mark will sell only tobacco,
       menthol and mint varieties. Nu Mark will discontinue the sale of all other flavor

433
    Altria Group Inc. (MO) Q3 2018 Earnings Conference Call Transcript, Motley Fool (Sept.
  30, 2018), https://www.fool.com/earnings/call-transcripts/2018/10/25/altria-group-inc-mo-q3-
  2018-earnings-conference-ca.aspx (emphasis added) (Willard’s comments).
434
    Id.
435
    Id.
436
    Id. (emphasis added).


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       variants of our cig-a-like products until these products receive a market order
       from the FDA or the youth issue is otherwise addressed. Although we don’t
       believe we have a current issue with youth access or use of our e-vapor products,
       we are taking this action, because we don’t want to risk contributing to the
       issue.437

       279.    Although Altria grouped mint and menthol flavors in the same category as

tobacco flavor, it knew from decades of selling tobacco products with these flavors that mint and

menthol are popular with youth, no matter what tobacco product, as discussed above.

       280.    On November 5, 2018, JLI transmitted the results of its Youth Prevalence study to

the FDA.438 Remarkably, JLI’s study concluded that only 1.5% of youth had ever used JUUL,

and that only 0.8% of youth had used JUUL in the last thirty days.439 And

                                                                                    JLI’s Youth

Prevalence study suggested that Mango was four times as popular as Mint. Specifically, the

Youth Prevalence study found that 47% of youth who reported vaping using JUUL in the last

thirty days used Mango most often, with only about 12% reporting the same for Mint.440

       281.    On November 13, 2018, JLI presented its “Action Plan” to the public, largely

identical to what JLI had presented to the FDA in October 2018.441 JLI announced its intent to

stop selling certain flavors in brick-and-mortar stores, restrict purchases of those flavors on the

JUUL website to adults age twenty-one and over, and shut down its social media accounts.442


437
     Id. (emphasis added).
438
     Engelke, Letter to David Portnoy, supra note 406.
439
     Id.
440
     Id. at 3.
441
     JUUL Labs Action Plan (“JLI November Action Plan”), JUUL Labs, Inc. (Nov. 13, 2018),
  https://newsroom.juul.com/juul-labs-action-plan/ (JLI did not include in its November Action
  Plan to the public a proposal for Bluetooth or WiFi equipped devices that was included in JLI’s
  October 2018 Action Plan to the FDA.).
442
    Id.


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The flavors that would be available only through JUUL.com were “Mango, Fruit, Creme, and

Cucumber.”443 Through both JLI’s October 2018 presentation to the FDA and JLI’s Action Plan

shared with the public in November 2018, the Youth Marketing Cover-Up Enterprise

fraudulently characterized Mint as a “tobacco and menthol-based product,” as opposed to a

“flavored product,” suggesting that it was a product for adult smokers. JLI include a version of

the below image in in both the public-facing Action Plan and JLI’s presentation to the FDA.444




       282.    But JLI and Altria knew that non-smoking youth liked Mint as much as any

flavor. As JLI’s internal documents confirm, Mint’s success was
                                                                                              445
                                                                                                    JLI
                                                                       446
knew there was                                                               and
                                                                             447
                                                                                   As alleged in a



443
    Id.
444
    Id.
445
    INREJUUL_00265069.
446
    INREJUUL_00079307-409 at 395.
447
    Id.


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whistleblower complaint, JLI’s then-CEO told his employees that “You need to have an IQ of 5

to know that when customers don’t find mango they buy mint.”448

       283.    As predicted, JLI’s sale of Mint pods rose from one third of its sales in September

2018 to approximately two thirds in February 2019. JLI’s 2019 revenues were estimated to be

between $2.36 billion and $3.4 billion, and Mint pods accounted for approximately 75% of JLI’s

total 2019 sales.

       284.    Seeing that the Youth Marketing and Cover-Up’s scheme was successful, on

December 7, 2018, Altria discontinued the production and distribution of all MarkTen and Green

Smoke vapor products. “We remain committed to being the leader in providing adult smokers

innovative alternative products that reduce risk, including e-vapor,” Willard explained in a

statement to the press.449 “We do not see a path to leadership with these particular products and

believe that now is the time to refocus our resources.”450

                     Publicly Announcing the Ties Between the Youth Marketing Cover-
               Up Enterprise Defendants

       285.    On December 20, 2018, Altria and JLI publicly announced the collaboration that

had been taking place, on information and belief, since late 2017. In the largest equity investment




448
    Angelica LaVito, Former Juul executive sues over retaliation, claims company knowingly
  sold tainted nicotine pods, CNBC (Oct. 30, 2019), https://www.cnbc.com/2019/10/30/former-
  juul-executive-sues-over-retaliation-claims-company-knowingly-sold-tainted-pods.html; Sheila
  Kaplan & Jan Hoffman, Juul Knowingly Sold Tainted Nicotine Pods, Former Executive Say,
  N.Y. Times (Nov. 20, 2019), https://www.nytimes.com/2019/10/30/health/juul-pods-
  contaminated.html (emphasis added).
449
    Altria Shifts Gears on Innovative Products Platform, Convenience Stores News (Dec. 7,
  2018), https://csnews.com/altria-shifts-gears-innovative-products-platform.
450
    Id.


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in United States history, Altria invested $12.8 billion in JLI.451 The announcement came less

than two months after Altria told the FDA that it “believe[s] that pod-based products

significantly contribute to the rise in youth use of e-vapor products” and that it accordingly

would be removing its pod-based products from the market.452

       286.    In making this decision to place profits over public health, Altria considered that

the e-cigarette industry would see significant year-over-year growth in the near term, and that

“JUUL continu[es] to be a growth driver for the e-vapor category.”453 And although Altria

claimed its investment had an altruistic motive—“we believed the transaction would give Altria

an unprecedented opportunity to share our experience in underage tobacco prevention with

JUUL to help address youth usage”—in reality, Altria has provided no underage / youth

prevention services to JLI.454

       287.    Altria admitted that minors were using JUUL products and that “underage use of

e-cigarette product is a problem.”455 But Altria would not have made such a sizable investment if

it did not intend to grow JUUL’s already enormous market even more. In fact, Altria said as

much when announcing its infusion of cash, explaining that its investment in JLI “enhances

future growth prospects” and committing to applying “its logistics and distribution experience to

help JUUL expand its reach and efficiency.”456 According to Willard, Altria was “excited to


451
    Altria Group, Inc., Altria Makes $12.8 Billion Minority Investment to Accelerate Harm
  Reduction and Drive Growth (“Altria Minority Investment”) (Form 8-K), Ex. 99.1 (Dec. 20,
  2018),
  https://www.sec.gov/Archives/edgar/data/764180/000119312518353970/d660871dex991.htm.
452
    Willard, Letter to Gottlieb, supra note 426.
453
    Willard, Letter Senator Durbin, supra note 23 at 10-11.
454
    Id. at 5.
455
    Id.
456
    Altria Minority Investment, supra note 451.


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support JUUL’s highly-talented team and offer [Altria’s] best-in-class services to build on their

tremendous success.”457

       288.    This arrangement was profitable for both companies, as well as for Monsees,

Bowen, Prtizker, Huh, and Valani. JLI’s employees received $2 billion in bonuses, which, split

among the JLI’s 1,500 employees, was approximately $1.3 million per employee;458 Altria

received millions of loyal youth customers; and Monsees, Bowen, Pritzker, Huh, and Valani

received untold sums of money and saw the value of their shares in JLI skyrocket, allowing them

to cash out via a special dividend and bonus, as well as through stock sales that were not

available to other JLI minority shareholders.459 In deciding to make a huge investment in JLI,

Altria took into account that the e-cigarette industry would see significant year-over-year growth

in the near term, and that “JUUL continu[es] to be a growth driver for the e-vapor category.”460

       289.    Since the deal was inked in December 2018, Altria’s actions have clearly helped

JUUL maintain, if not expand, its market share—a market share that, based on Altria’s own

October 25, 2018 letter to the FDA, it believes was gained by employing marketing and

advertising practices that contributed to youth vaping. Altria’s Second Quarter 2019 Earnings

Call reported that JUUL continued to grow in the first half of 2019, from a 33% category share




457
    Id.
458
    Olivia Zaleski, Juul Employees to Get $2 Billion Bonus in Altria Deal, Bloomberg (Dec. 20,
  2018), https://www.bloomberg.com/news/articles/2018-12-20/juul-employees-said-to-get-2-
  billion-bonus-in-altria-deal.
459
    Tiffany Kary, JUUL Founders Sued for Self-Dealing Over Altria's $12.8 Billion, Bloomberg
  (Jan. 13, 2020), https://www.bloomberg.com/news/articles/2020-01-13/juul-founders-sued-for-
  self-dealing-over-altria-s-12-8-billion.
460
    Willard, Letter to Senator Durbin, supra note 23.


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in 2018 to 48% by the second quarter 2019. JLI’s expected revenue for 2019 was $3.4 billion,

nearly triple what it was in 2018.461

       290.    On a December 20, 2018 call, Altria emphasized the profit opportunity from its

investment, while simultaneously characterizing it as an opportunity for harm reduction and

reducing youth e-cigarette use. Willard made the following statements:

       It’s important to both Juul and us that they continue to operate with the
       entrepreneurial passion that has made them so successful;

       Let’s imagine the combination of Juul’s leading market position, brand equity and
       deep innovation pipeline with our strong retail presence, our ability to connect
       directly with adult smokers on our company’s databases while avoiding
       unintended audiences, our leading sales organization which covers approximately
       230,000 stores, and our deep regulatory affairs expertise;

       We believe the investment in Juul represents the fastest and most sustainable
       opportunity to generate the most significant income in the e-vapor category. The
       geo-economics today are attractive and we expect our strong distribution
       infrastructure to help accelerate their financial performance;

       We have long said that providing adult smokers with superior, satisfying products
       with the potential to reduce harm is the best way to achieve tobacco harm
       reduction. Through Juul, we are making the biggest investment in our history
       toward that goal;

       Altria and Juul are committed to preventing kids from using any tobacco
       products. As recent studies have made clear, youth vaping is a serious problem
       which both Altria and Juul are committed to solve; and

       Together Juul and Altria will work to prevent youth usage through their
       announced initiatives, further technological developments, and increased
       advocacy for raising the minimum age of purchase for all tobacco products to
       21.462


461
    Olivia Zaleski & Ellen Huet, Juul Expects Skyrocketing Sales of $3.4 Billion, Despite
  Flavored Vape Restrictions, Bloomberg (Feb. 22, 2019),
  https://www.bloomberg.com/news/articles/2019-02-22/juul-expects-skyrocketing-sales-of-3-4-
  billion-despite-flavored-vape-ban.
462
    Melissa Kress, Altria Takes 'Significant Action' to Prepare for Its Future, Convenience Store
  News (Dec. 21, 2018), https://csnews.com/altria-takes-significant-action-prepare-its-future.


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            291.   Willard went so far as to characterize Altria’s investment in JLI as the

culmination of decades of pursuit of harm reduction for the sake of smokers’ health and

wellbeing:

            Almost my entire career, we have believed that our business would be better in
            the long term if we could offer harm reduced products that would represent
            attractive alternatives to our adult cigarette smokers to switch. And we have
            invested billions of dollars in it and lots of effort. And ultimately until December
            this year, we really didn’t have the product portfolio to fully achieve our harm
            reduction aspiration. And the opportunity to invest in JUUL, I think, really makes
            that harm reduction aspiration a reality.463

            292.   During Altria’s January 31, 2019 Earnings Call, Altria explained its investment in

JLI in more detail:

            Through JUUL, we have found a unique opportunity to not only participate
            meaningfully in the e-vapor category but to also support and even accelerate
            transition to noncombustible alternative products by adult smokers. The JUUL
            investment provides Altria with a significant stake in the largest and fastest-
            growing e-vapor company with a highly talented management team, successful
            end-market products, a strong innovation pipeline and significant international
            opportunity. When you add to JUUL’s already substantial capabilities, our
            underage tobacco prevention expertise and ability to directly connect with adult
            smokers, we see a compelling future with long-term benefits for both adult
            tobacco consumers and our shareholders. We are excited about JUUL’s domestic
            growth and international prospects and their potential impact on our investment;

            JUUL’s 2018 growth was quite remarkable. JUUL had net revenues in excess of
            $1 billion in 2018, up from approximately $200 million in 2017. JUUL
            overwhelmingly reaccelerated the U.S. e-vapor category growth rate, growing
            JUUL’s volume by nearly 600% to over 450 million refill kit pods;

            We estimate JUUL represents over 30% of the overall e-vapor category across
            open and close systems and all trade classes. After e-vapor growth plateaued from
            2015 to 2017, rapid growth was reignited in 2018, and we expect U.S. e-vapor
            volume to grow at a compounded annual rate of 15% to 20% through 2023. As a
            reminder, Altria’s share of JUUL’s international e-vapor income would be 100%
            incremental to Altria; and


463
      Id.


                                                    135
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       We believe the global e-vapor and heat-not-burn segments, with estimated sales
       of roughly $23 billion in 2018, have substantial room to grow. JUUL currently
       operates in eight countries with plans for additional expansion this year. We
       expect the JUUL product features that have driven JUUL’s success in switching
       adult smokers in the U.S. to strongly appeal to international adult cigarette
       smokers.464

       293.    But as the president of the Campaign for Tobacco-Free Kids observed upon

announcement of the deal, “Altria has no interest in seriously reducing the number of people who

smoke cigarettes.”465

       294.    Instead, Willard continued to emphasize that Altria expects to reap the benefits of

JLI’s expansion to international markets: “Ultimately, we expect the international revenue and

income opportunity to end up being as large as or larger than the U.S. opportunity. Our 35%

investment was based on a deep strategic, operational and financial analysis of JUUL and the

marketplace.”466

       295.    As Willard emphasized, Altria expected continued growth even in the U.S., with

“a U.S. e-vapor category that grows volume between 15% to 20% annually” and “JUUL

continuing to be the primary growth driver for the e-vapor category”—statements which are

inconsistent with the idea of eliminating the underage and youth non-smoker sales that had

driven JUUL to its position of dominance:

       Clearly, we look at this opportunity over the long term, but for context, let us
       provide a view five years out. Some of our independently developed key
       assumptions over the next five years that informed that analysis include: a U.S. e-

464
    Altria Group (MO) Q4 2018 Earnings Conference Call Transcript, Motley Fool (Dec. 31,
  2018), https://www.fool.com/earnings/call-transcripts/2019/02/01/altria-group-mo-q4-2018-
  earnings-conference-call-t.aspx.
465
    Sheila Kaplan & Matt Richtel, Juul Closes Deal with Tobacco Giant Altria, N.Y. Times (Dec.
  20, 2018), https://www.nytimes.com/2018/12/20/health/juul-reaches-deal-with-tobacco-giant-
  altria.html.
466
    Altria Q4 2018 Earnings Call Transcript, supra note 464.


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       vapor category that grows volume between 15% to 20% annually; JUUL
       continuing to be the primary growth driver for the e-vapor category; attractive
       JUUL operating margins that achieve current cigarette-like margins due to the
       benefits of increasing scale and automation in the supply chain; international
       revenues that equal domestic revenues by 2023; and international margins that
       approach current international cigarette margins. Under our assumptions, our
       investment in JUUL would generate an after-tax return exceeding our weighted
       average cost of capital in 2023.

       Additionally, with five-year e-vapor category volume growth in the range of 15%
       to 20% annually, we would expect the U.S. cigarette category volume decline rate
       to be consistent with the decline rate estimate of 4% to 5%. I’ll remind you that
       in 2018 with e-vapor category volume growth of 35%, the cigarette category
       decline rate was 4.5%, including half of a percent headwind from gas prices.
       Combined with the earnings and cash generation engine of our core tobacco
       business, we believe this investment in JUUL will support consistent returns over
       the long term by providing Altria with a significant stake in the fastest-growing --
       in the fast-growing e-vapor category.

       And I think we agree with the other JUUL investors that its growth prospects
       are so strong that now is the time to invest in—and ultimately driving top-line
       growth.467

Later in the call, Willard repeatedly referred to JUUL’s growth as “dramatic”:

       I have to point out that JUUL’s growth and success in the U.S. market last year
       was unique and first of its kind compared to other tobacco product successes both
       in the U.S. and overseas. I mean, the growth rate was dramatic, it represented
       the entire growth of e-vapor for the year, and it dramatically reaccelerated the
       growth of e-vapor. 468

       296.    Such “dramatic” growth was, as Altria well knew, due to the product’s viral

popularity among teens. Willard briefly acknowledged the youth vaping crisis, stating, “Briefly

touching on the regulatory environment, the FDA and many others are concerned about an

epidemic of youth e-vapor usage. We share those concerns. This is an issue that we and others in

the industry must continue to address aggressively and promptly. 469


467
    Id. (emphasis added).
468
    Id. (emphasis added).
469
    Id.


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          297.   In response to questions from an analyst at Morgan Stanley, Willard said that

even if there is “a slowdown in growth in the next year or two” due to regulatory actions aimed

at reducing youth use, Altria expects overall growth in JUUL sales over the next five years:

          I think with regard to the midterm forecast, one of the reasons why we selected a
          five-year period to estimate the growth rate of the e-vapor category and JUUL is a
          significant driver of that growth is, I think, there is a bit of uncertainty as to
          whether or not there’ll be a slowdown in growth in the next year or two as the
          industry works together with the FDA to drive down youth usage. And so I think
          that is to be determined. But I think even taking into account the fact that there
          could be some impact in the short run, I think we’re confident in the long-term
          growth rate that we forecasted.470

          298.   Two different analysts on the call quizzed Altria about the math behind its

projections—how was it that Altria projected 15% to 20% growth in the United States e-vapor

category, with JUUL as the primary driver of growth in the category, while the cigarette market

decline was only predicted to be 4% to 5% annually, and JUUL’s supposed customer base was

primarily smokers making the switch from cigarettes to vaping? Specifically, an analyst from

Citi asked Altria about the slide shown below, representing JUUL’s growth relative to the

growth of the e-vapor category as a whole:

          So if I take what you’ve said about the impact basically with growth of JUUL—
          this is Slide 8, and equate that to cigarettes, it looks like the JUUL has grown
          about 0.4 billion units, which equates essentially to a 4% market share growth,
          and that's true for the whole e-cigarettes or e-vapor category. And yet you’ve also
          said that the impact of the growth of e-vapor on cigarettes is about 1.3%, 1.4%.
          So is there a right way of thinking about it, where basically two-thirds of vapor
          growth is incremental? Is that how we should think about it? And, I guess, if that
          is the right way of thinking about it, where is that increment coming from? Do
          you think it’s mostly coming from people in their 20s or what?471




470
      Id.
471
      Id. (emphasis added).


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                                                                                  472



       299.    Willard did not offer a full explanation but responded by saying the increase in

the vapor growth category was coming in part from smokeless tobacco users and cigar

smokers.473 Given the forecasted dramatic growth in vaping and the relatively modest consumer

base for smokeless tobacco and cigar smokers, this explanation is unconvincing at best.

       300.    While JLI and Altria remain distinct corporate entities, following its equity

investment in JLI, Altria publicly acknowledged at least some of the systemic links between

Altria and JLI, including contractual relationships, financial ties, and continuing coordination of

activities. Altria provides services to JLI in furtherance of the Youth Marketing Cover-Up

Enterprise, in the areas of “direct marketing; sales, distribution and fixture services; and




472
    Altria’s Fourth-Quarter 2018 Earnings Conference Call, Altria Client Services (Jan. 31,
  2019), http://investor.altria.com/Cache/IRCache/3ec9cf77-9d83-04fe-1ea2-
  1e2b8437afa5.PDF?O=PDF&T=&Y=&D=&FID=3ec9cf77-9d83-04fe-1ea2-
  1e2b8437afa5&iid=4087349.
473
    Altria Q4 2018 Earnings Call Transcript, supra note 464.


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regulatory affairs.”474 These services included “[p]roviding regulatory affairs consulting and

related services to Juul as it prepares its PMTA application.”475

          301.

                                       :476




          302.   JLI and Altria also agreed to cross-market JUUL with Marlboro cigarettes. For

example, Altria offered coupons for JUUL starter kits inside packs of Marlboro cigarettes.477




474
      Willard, Letter to Senator Durbin, supra note 23 at 11
475
      Id. at 13.
476
477
                                                                                                 ;
 Points for us!, Reddit (Sept. 16, 2019),
 https://www.reddit.com/r/juul/comments/d50jku/points_for_us/ (depicting an image of a
 Marlboro carton with a JUUL starter kit coupon inside that a member of the public purchased).


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       303.    These coupons, however, were more for show than anything else. In response to

analyst questions about the JUUL coupons in Marlboro packs, Willard explained that Altria did

not actually expect these coupons to cut into Marlboro sales, for two reasons. First, he said that

cigarette smokers were already aware of JUUL:

       So I think with regard to your question about putting JUUL inserts on our
       cigarette packs . . . theoretically, I guess, it could result in a bit more volume


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          coming out of Marlboro. But I think that that is unlikely to be the case. And I
          say that for really two reasons. I think there’s already very high awareness among
          all cigarette -- adult cigarette smokers and, frankly, all Marlboro smokers about
          the availability of JUUL. So I think that a lot of that awareness has already been
          established. I wouldn’t expect a big incremental uptick from those onserts.478

          304.   The second reason Willard gave is that JUUL is popular with younger customers,

although he was careful to reference that group as twenty-one to twenty-nine-year-olds:

          And then secondly, I would point out that I think JUUL tends to get more of its
          growth from the 21- to 29-year-old cigarette smoker than it does from the 30-
          plus cigarette smoker. And if you think about it, I think, as we’ve communicated
          in the past, Marlboro’s share of those 21- to 29-year-old smokers is about equal to
          its overall share. But there are several other cigarette brands that are
          overdeveloped among 21- to 29-year olds, such as Newport, Camel or Natural
          American Spirit that, frankly, might actually give up more volume on a relative
          basis than Marlboro.479

          305.   By including JUUL coupons in Marlboro packs, the Enterprise creates the

impression of marketing JUUL to existing smokers, to “Make the Switch.” But neither Altria nor

JLI expect a significant migration of Marlboro customers to JUUL. As Altria and JLI know, and

as reflected by the analysts’ inquiries about the growth of the e-vapor category compared to the

decline in the cigarette category, JUUL sales depend on nonsmokers.

          306.   Altria also, through its provision of “services,” actively sought to assist JLI in

staving off regulation and keeping its products on the market and available to kids and the public

at large and allow it to remain accessible in Plaintiff’s community. Altria is and was working to

actively help run the Youth Marketing Cover-Up Enterprise’s operations and expand sales of

JULL products. Altria’s investment brings legal and regulatory benefits to JLI, by helping to




478
      Altria Q4 2018 Earnings Call Transcript, supra note 464 (emphasis added).
479
      Id. (emphasis added).


                                                  142
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navigate the regulatory waters and FDA pressure while continuing to deceive the public about

JLI’s youth marketing.

        307.    From its decades of experience dealing with regulators, Altria knows the critical

importance of influence in Washington. Altria “has a potent lobbying network in Washington

[D.C.] and around the country,”480 and a significant priority for the Enterprise is expanding JLI’s

connections to Washington insiders. In September 2018, for example, Andrew Perraut joined JLI

as the Deputy Director of Public Policy; Perraut was previously a policy analyst for the White

House Office of Information and Regulatory Affairs (“OIRA”) and the lead for all regulatory

issues for tobacco for six years. In fact, Perraut participated in the redrafting of the FDA’s

proposed deeming regulations regarding e-cigarettes before the proposed rule was published in

2014. But by the time the tobacco industry was meeting with the agency in 2015, Perraut was on

the other side of the table, representing an organization called Cigar Rights of America, along

with others, to lobby against restrictions. As Perraut explained in an interview, this agency

review period is not a well-publicized opportunity for influence: “The OIRA process is very

intentionally a little bit under the radar. . . . Parties are generally fairly informed on how to

submit their comments [to the FDA]; folks are much less informed about how to engage during

the White House review.”481




480
    Shelia Kaplan, In Washington, Juul Vows to Curb Youth Vaping. Its Lobbying in States Runs
  Counter to That Pledge, N.Y. Times (Apr. 28, 2019),
  https://www.nytimes.com/2019/04/28/health/juul-lobbying-statesecigarettes.html.
481
    Melissa Vonder Haar, Deeming: Still Time to Comment, A Washington insider’s view on e-
  vapor and the rulemaking process, CSP Daily (May 20, 2015),
  https://www.cspdailynews.com/tobacco/deeming-still-time-comment.


                                                  143
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       308.    Altria’s lobbying prowess in the area of e-cigarettes was on display in the context

of the FDA’s deeming rule. First, notwithstanding Altria’s professed concern about flavors

attracting youth customers, Altria submitted comments in August 2014 in response to the

proposed rule opposing the regulation of flavors. Altria asserted that restrictions could result in

more illicit sales, and that adults also liked fruity and sweet e-cigarette flavors. Then, in April

2015, Altria distributed draft legislation on Capitol Hill that would eliminate the new

requirement that most e-cigarettes already on sale in the United States be evaluated retroactively

to determine if they are “appropriate for the protection of public health.” Altria delivered its

proposal, F.D.A. Deeming Clarification Act of 2015, to Representative Tom Cole of Oklahoma,

who introduced the bill two weeks later using Altria’s draft verbatim. Seventy other

representatives signed on to Altria’s legislation.

       309.    Altria brings this lobbying muscle to the Youth Marketing Cover-Up Enterprise.

While an Altria spokesman has denied that there was any contractual services agreement for

lobbying between JLI and Altria, he admitted that he did not know what informal advice and

conversations Altria has had with JLI about lobbying and efforts. Vince Willmore, a spokesman

for the Campaign for Tobacco-Free Kids, which has been involved in many state lobbying

battles, said, “It’s hard to say where Altria ends and Juul begins.”482 Since JLI and Altria joined

forces, JLI’s spending on lobbying has risen significantly. JLI spent $4.28 million on lobbying in

2019, compared to $1.64 million in 2018.483 Successful lobbying efforts directly further Altria



482
   Kaplan, In Washington, Juul Vows to Curb Youth Vaping, supra note 480.
483
   Center for Responsive Politics, Client Profile: JUUL Labs,
 https://www.opensecrets.org/federal-lobbying/clients/summary?cycle=2019&id=D000070920
 (last visited Mar. 28, 2020).


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and JLI’s goal of deceiving the public by preventing regulators from drawing public attention to

JLI’s prior youth marketing.

       310.    In addition, Altria’s arrangement with JLI gives JLI greater access to retail

opportunities. JUUL products have been in 90,000 retail outlets in the United States, while Altria

reaches 230,000 outlets in the United States. Altria also brought its logistics and distribution

experience (although, after increasing public scrutiny, Altria announced on January 30, 2020 that

it would limit its support to regulatory efforts beginning in March 2020484). And importantly, as

noted above, Altria gives JLI access to shelf space that it had obtained under fraudulent

pretenses. This is not just any shelf space; it is space near Altria’s products and retail displays.

The arrangement allows JUUL to receive prominent placement alongside a top-rated brand of

combustible cigarettes among youth.

       311.    Beyond the services Altria provides for the Youth Marketing Cover-Up

Enterprise, Altria and JLI share leadership. Altria’s investment allows it to appoint one-third of

JLI’s Board. In addition, in October 2019, JLI’s CEO resigned to be replaced by another career

Altria executive, K.C. Crosthwaite. Crosthwaite had most recently served as the vice president

and chief growth officer of Altria Client Services, overseeing the company’s work, including

digital marketing, packaging design and innovation, product development, and safety, health, and

environmental affairs. Crosthwaite knows Big Tobacco’s playbook all too well, having

previously served as the president and CEO of Phillip Morris USA, the vice president and

general manager at Marlboro—the leading cigarette brand among youth. In addition, Joe


484
   Nathan Bomey, Marlboro maker Altria distances itself from vaping giant Juul amid legal
 scrutiny, USA Today (Jan. 31, 2020), https://www.usatoday.com/story/money/2020/01/31/juul-
 altria-distances-itself-e-cigarette-maker-amid-scrutiny/4618993002/.


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Murillo, who headed regulatory affairs for Altria and previously ran Altria’s e-cigarette business,

Nu Mark, is now JLI’s Chief Regulatory Officer.485

       312.    The relationship between JLI and Altria did not go unnoticed. By February 2019,

the FDA became aware that it had been deceived by JLI and Altria. On February 6, 2019, then-

FDA commissioner Gottlieb wrote JLI and Altria demanding in-person meetings, excoriating

Altria for its “newly announced plans with JUUL [that] contradict the commitments you made to

the FDA” in a prior meeting and Willard’s October 25, 2018 letter to the FDA.486 Gottlieb’s

letter to JLI alleged that JLI’s conduct was “inconsistent with its previous representations to the

FDA.”487

       313.    The FDA demanded Altria be prepared to explain itself regarding its “plans to

stop marketing e-cigarettes and to address the crisis of youth use of e-cigarettes.” Then-FDA

Commissioner Gottlieb told Altria that “deeply concerning data” shows that “youth use of JUUL

represents a significant proportion of overall use of e-cigarette products by children” and despite

any alleged steps the companies had taken to address the issue he “ha[d] no reason to believe

these youth patterns of use are abating in the near term, and they certainly do not appear to be

reversing.”




485
    Jennifer Maloney, Juul Hires Another Top Altria Executive, Wall St. J. (Oct. 1, 2019),
  available at https://www.wsj.com/articles/juul-hires-another-top-altriaexecutive-11569971306.
486
    Letter from Scott Gottlieb, M.D., FDA Commissioner, to Howard A. Willard III, Altria
  Group, Inc. (Feb. 9, 2019), (emphasis added).
487
    Letter from Scott Gottlieb, M.D., FDA Commissioner, to Kevin Burns, JUUL Labs, Inc. (Feb.
  9, 2019).


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       314.    JLI and Altria met with Gottlieb in March 2019 in a meeting the then-FDA

Commissioner described as “difficult.”488 Gottlieb “did not come away with any evidence that

public health concerns drove Altria’s decision to invest in JLI, and instead said it looked like a

business decision. According to reporting by The New York Times, Gottlieb angrily criticized

JLI’s lobbying of Congress and the White House, stating:

       We have taken your meetings, returned your calls and I had personally met with
       you more times than I met with any other regulated company, and yet you still
       tried to go around us to the Hill and White House and undermine our public
       health efforts. I was trying to curb the illegal use by kids of your product and you
       are fighting me on it.”489

       315.    But just a week after the “difficult” meeting with JLI and Altria, Gottlieb posted a

statement about the FDA’s new e-cigarette policy, proposing to ban all flavors except “tobacco-,

mint- and menthol-flavored products.”490 He cited the strong support of President Trump (whose

administration JLI had aggressively lobbied491), and also cited “recent evidence indicat[ing] that

mint- and menthol-flavored ENDS products are preferred more by adults than minors.”492 JLI

and Altria’s success in getting the FDA to adopt their fraudulent claim that Mint was a traditional


488
    Kate Rooney & Angelica LaVito, Altria Shares Fall After FDA’s Gottlieb Describes
  ‘Difficult’ Meeting on Juul, CNBC (Mar. 19, 2019), https://www.cnbc.com/2019/03/19/altria-
  shares-fall-after-fdas-gottlieb-describes-difficult-meeting-on-juul.html.
489
    Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y. Times
  (Nov. 24, 2019), https://www.nytimes.com/2019/11/23/health/juul-vaping-crisis.html.
490
    Statement from FDA Commissioner Scott Gottlieb, M.D., on advancing new policies aimed
  at preventing youth access to, and appeal of, flavored tobacco products, including e-cigarettes
  and cigars, FDA (Mar. 13, 2019), https://www.fda.gov/news-events/press-
  announcements/statement-fda-commissioner-scott-gottlieb-md-advancing-new-policies-aimed-
  preventing-youth-access.
491
    Evan Sully & Ben Brody, JLI Spent Record $1.2 Million Lobbying as Regulators Stepped Up,
  Wash. Post (Oct. 22, 2019), https://www.washingtonpost.com/business/on-small-business/juul-
  spent-record-12-million-lobbying-as-regulators-stepped-up/2019/10/22/2a0dbc52-f4de-11e9-
  b2d2-1f37c9d82dbb_story.html.
492
    Id.


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tobacco flavor was crucial to their mission to deceive the public into thinking that JLI does not

market to youth despite JLI continuing to sell Mint JUULpods. Just a few weeks later, Gottlieb

resigned from his position as FDA Commissioner.

       316.    The cover-up activities of the Enterprise are ongoing. The Youth Marketing

Cover-Up Enterprise has recently taken another page out of Big Tobacco’s playbook, in working

to manufacture a “grassroots” campaign of adult JUUL users—what some call an “Astroturf

campaign.” In June 2019, the Enterprise retained Locust Street, another DC-based political and

communications consultant, and what some have called a “political dark arts” firm. The

Enterprise Defendants hired Locust Street to sway public opinion in New York in response to the

state’s contemplated ban on flavored e-cigarettes. As part of this effort, Locust Street contacted

adult JUUL customers by phone and/or email to encourage them to share their “switch story”:

       My name is [redacted] and I am an Outreach Specialist with Locust Street
       Community Solutions. I’m reaching out to you on behalf of Juul Labs, who has
       contracted with Locust Street to support its services and collect success stories
       from New Yorkers who have made the switch to Juul from combustible
       cigarettes. We received your information as a Juul user from Juul Labs and we are
       only using this contact information to support our services on behalf of the
       company and to discuss your “switch story.”

       I attempted to reach you by phone, but I’m emailing in case this is an easier way
       to get in touch. I hope that we can talk to discuss your experience with Juul
       products.

       Please feel free to give me a call back at [redacted] or reply to this email if you’d
       like to share your story!493




493
   Katie Notopoulos, Juul Is Giving Its Customer Data To Its PR Firm, BuzzFeed News (Sept.
 5, 2019), https://www.buzzfeednews.com/article/katienotopoulos/juul-user-privacy-publicity-
 new-york.


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       317.    This sort of fake “grassroots” campaign was a technique utilized by Big Tobacco

in decades past to device the public. According to Sarah Milov, an assistant professor of history

at the University of Virginia and the author of The Cigarette: A Political History, Big Tobacco

companies “pioneered techniques of manufacturing popular outrage to proposed regulations on

cigarettes because grassroots anti-smoking campaigns were beginning to gain traction in the

1970s.”494

       318.    JLI and Altria’s “Make the Switch” campaign was also fraudulent because,

despite what it represented to the public, JLI does not have authority to claim that JUUL is

healthier than cigarettes. On September 9, 2019, the FDA warned JLI that it had violated federal

law by making unauthorized representations that JUUL products are safer than cigarettes.495

       319.    On October 17, 2019, JLI announced that it would suspend the sale of certain

JUUL flavors online.496 However, this likely had minimal impact given that JLI was continuing

to sell the mint and menthol flavors, which both JLI and Altria knew to be popular flavors with

youth, as discussed above. Recent research confirmed that 60% of high school e-cigarette users

prefer mint and menthol flavors.497 As former New York City Mayor Mike Bloomberg stated,

“JUUL’s decision to keep mint- and menthol-flavored e-cigarettes on the shelves is a page right


494
    Alex Norcia, Get Ready for JUUL's Grassroots Rebrand, VICE (Oct. 3, 2019),
  https://www.vice.com/en_us/article/qvgwmp/get-ready-for-juuls-grassroots-rebrand.
495
    Juul Labs, Inc. Warning Letter, FDA (Sept. 9, 2019), https://www.fda.gov/inspections-
  compliance-enforcement-and-criminal-investigations/warning-letters/juul-labs-inc-590950-
  09092019.
496
    Allison Aubrey, Juul Suspends Sales of Flavored Vapes and Signs Settlement to Stop
  Marketing to Youth, NPR (Oct. 17, 2019), https://www.npr.org/sections/health-
  shots/2019/10/17/771098368/juul-suspends-sales-of-flavored-vapes-and-signs-settlement-to-
  stop-marketing-to-.
497
    Lindsey Tanner, US teen vaping numbers climb, fueled by Juul & mint flavor, Associated
  Press (Nov. 5, 2019), https://apnews.com/8151770f69fd43c4b132854a335d0ef1.


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out of the tobacco industry’s playbook.”498 Almost a month later, JLI announced that it would

stop selling Mint, but it continues to sell its Menthol JUUL products.499

       320.    JLI’s purported attempts to limit the sale of flavored JUUL products have not

been effective, thereby demonstrating that JLI’s so-called remedial measures have been about

swaying public opinion and not about preventing youth access to JUUL. On November 4, 2019,

VICE Magazine reported that when it visited more than twenty stores in New York City, all but

two of the stores selling JUUL products had at least one of the banned flavors available in stores,

including Mango.500 Some of these stores were displaying these products even after JLI

announced that it would suspend the sale of these flavors online. According to one bodega

owner, the last time a JLI representative came into his store, flavored pods including Mango

were on display, but the representative said nothing about them.501 Photographs taken for that

article showed both Mango-flavored JUULpods and flavored Eonsmoke products still being sold

side by side as recently as mid-October 2019.

       J.      The Cost of JUUL’s Success

       321.    JLI’s success in addicting a new generation to nicotine, and Altria’s support to

insulate JLI from a public outcry that could have mitigated this harm, have come at a terrible cost

to public health. On December 28, 2018, the University of Michigan’s National Adolescent Drug

Trends for 2018 reported that increases in adolescent e-cigarette use from 2017 to 2018 were the



498
    Id.
499
    Associated Press, Juul Halts Sales of Mint, Its Top-Selling e-Cigarette Flavor, N.Y. Times
  (Nov. 7, 2019), https://www.nytimes.com/aponline/2019/11/07/health/bc-us-med-juul-
  flavor.html.
500
    Smothers, supra note 311.
501
    Id.


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“largest ever recorded in the past 43 years for any adolescent substance use outcome in the

U.S.”502

       322.    The percentage of twelfth grade students who reported consuming nicotine almost

doubled between 2017 and 2018, rising from 11% to 20.9%.503 This increase was “twice as large

as the previous record for largest-ever increase among past 30-day outcomes in twelfth grade.”

       323.    By 2018 approximately 3.6 million middle and high school students were

consuming e-cigarettes regularly,504 and one in five twelfth graders reported using an e-cigarette

containing nicotine in the last thirty days.505 As of late 2019, five million students reported active

use of e-cigarettes, with 27.5% of high school students and 10.5% of middle school students

using them within the last thirty days and with most youth reporting JUUL as their usual

brand.506




502
    National Adolescent Drug Trends in 2018, Univ. of Mich. Inst. for Soc. Res. (Dec. 17, 2018),
  http://monitoringthefuture.org/pressreleases/18drugpr.pdf.
503
    Teens Using Vaping Devices in Record Numbers, Nat’l Insts. of Health (Dec. 17, 2018),
  https://www.nih.gov/news-events/news-releases/teens-using-vaping-devices-record-numbers.
504
    See Jan Hoffman, Addicted to Vaped Nicotine, Teenagers Have no Clear Path to Quitting,
  N.Y. Times (Dec. 18, 2018), https://www.nytimes.com/2018/12/18/health/vaping-nicotine-
  teenagers.html.
505
    Id.
506
    National Youth Tobacco Survey (2019), supra note 6; Cullen, supra note 249.


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       324.     The Secretary of HHS declared that “[w]e have never seen use of any substance

by America’s young people rise as rapidly as e-cigarette use [is rising].”507 Then-FDA

Commissioner Gottlieb described the increase in e-cigarette consumption as an “almost

ubiquitous—and dangerous—trend” that is responsible for an “epidemic” of nicotine use among

teenagers.508 The rapid—indeed infectious—adoption of e-cigarettes “reverse[s] years of

favorable trends in our nation’s fight to prevent youth addiction to tobacco products.”509 CDC

Director Robert Redfield agreed, “The skyrocketing growth of young people’s e-cigarette use

over the past year threatens to erase progress made in reducing tobacco use. It’s putting a new

generation at risk for nicotine addiction.”510 Then-Commissioner Gottlieb identified the two

primary forces driving the epidemic as “youth appeal and youth access to flavored tobacco

products.”511

       325.     Within days of the FDA’s declaration of an epidemic, Surgeon General Dr.

Jerome Adams also warned that the “epidemic of youth e-cigarette use” could condemn a

generation to “a lifetime of nicotine addiction and associated health risks.”512 The Surgeon

General’s 2018 Advisory states that JUUL, with its combination of non-irritating vapor and

potent nicotine hit, “is of particular concern for young people, because it could make it easier for




507
    Hoffman, supra note 12; Bahl, supra note 12.
508
    FDA Launches New, Comprehensive Campaign to Warn Kids About the Dangers of E-
  Cigarette Use as Part of Agency’s Youth Tobacco Prevention Plan, Amid Evidence of Sharply
  Rising Use Among Kids, FDA (Sept. 18, 2018), https://www.fda.gov/NewsEvents/Newsroom/
  PressAnnouncements/ucm620788.htm.
509
    Id.
510
    Vera, supra note 10.
511
    Id.
512
    Adams, supra note 2.


                                                152
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them to initiate the use of nicotine . . . and also could make it easier to progress to regular e-

cigarette use and nicotine dependence.”513

        326.   As described above, JUUL uses patented nicotine salts rather than freebase

nicotine. 514 Similarly, Big Tobacco and Eonsmoke launched their own JUUL lookalikes, using

the same high concentrations of nicotine, formulated in the same manner; myblu contains 4.0%

nicotine salts, Vuse Alto contains 5.0% nicotine salts, and Eonsmoke’s products contain 6.8%

nicotine. 515 Between 2013 and 2018, the average nicotine concentration in e-cigarettes more than

doubled. 516

        327.   The increased nicotine exposure facilitated by JUUL and similar vape devices has

serious health consequences. The ease of use and “smoothness” strip away external inhibitors

and enable extreme levels of unfettered use. Using JLI’s own calculations, consuming two

JUULpods in a day is the equivalent of consuming two to four packs of cigarettes a day. In this

way, JLI has not only cultivated a new generation of e-cigarette smokers, but it has also

accelerated a new style of smoking—vaping—that is more nicotine-saturated than ever before.

Kids are consuming so much nicotine that they are experiencing symptoms of nicotine toxicity,

including headaches, nausea, sweating, and dizziness, and they have even coined a term for it:

“nic sick.” As one high school student explained to CBS News, it “kinda seems like a really bad


513
    Id.
514
    Becker, supra note 318.
515
    About INTENSE Flavors, blu, https://www.blu.com/en/US/explore/explore-vaping/about-blu-
  products/about-blu-intense-flavors (last visited Mar. 28, 2020); faqs, Vuse Vapor,
  https://vusevapor.com/faqs/product/ (last visited Mar. 28, 2020); Eonsmoke Product, supra
  note 304.
516
    Alexa R. Romberg et al., Patterns of nicotine concentration in electronic cigarettes sold in
  the United States, 2013-2018, 203 Drug & Alcohol Dependence 1 (2019),
  https://www.sciencedirect.com/science/article/abs/pii/S0376871619302571.


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flu, like, just out of nowhere. Your face goes pale, you start throwing up and stuff, and you just

feel horrible.”517

        328.    Increased rates and duration of vaping lead to greater overall exposure to nicotine.

Nicotine is a highly addictive neurotoxin. Nicotine’s addictive properties are similar to heroin

and cocaine. 518 Nicotine fosters addiction through the brain’s “reward” pathway. Both a

stimulant and a relaxant, nicotine affects the central nervous system; increases blood pressure,

pulse, and metabolic rate; constricts blood vessels of the heart and skin; and causes muscle

relaxation. Long-term exposure to nicotine causes upregulation—an increase in the number of

these high-affinity nicotinic receptors in the brain. When nicotine binds to these receptors it

triggers a series of physiological effects in the user that are perceived as a “buzz” that includes

pleasure, happiness, arousal, and relaxation of stress and anxiety. With regular nicotine use,

however, these feelings diminish, and the user must consume increasing amounts of nicotine to

achieve the same effects.

        329.    Youth are particularly vulnerable to nicotine addiction, as Defendants know well.

As described by the Surgeon General, “Tobacco use is a pediatric epidemic.” Nine out of ten

smokers begin by age eighteen and 80% who begin as teens will smoke into adulthood.519

        330.    The above statements apply equally, if not more so, to e-cigarettes. Further, the

Surgeon General has explained how the nicotine in e-cigarettes affects the developing brain and


517
    High school students say about 20% of their peers are vaping, some as young as 8th grade,
  CBS News (Aug. 30, 2019), https://www.cbsnews.com/news/high-school-students-say-about-
  20-of-their-peers-are-vaping-some-as-young-as-8th-grade/.
518
    See e.g., U.S. Dep’t of Health & Human Servs., The Health Consequences of Smoking:
  Nicotine Addiction, A Report of the Surgeon General, DHHS Publication Number (CDC) 88-
  8406 (1988), https://stacks.cdc.gov/view/cdc/22014/cdc_22014_DS1.pdf.
519
    2012 Surgeon General Report, supra note 246 at 1.


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can addict kids more easily than adults: “Until about age 25, the brain is still growing. Each time

a new memory is created, or a new skill is learned, stronger connections—or synapses—are built

between brain cells. Young people’s brains build synapses faster than adult brains. Because

addiction is a form of learning, adolescents can get addicted more easily than adults.”520

       331.    Studies confirm that exposure to nicotine as a teen—even minimal exposure—

biologically primes the brain for addiction and greatly increases likelihood of dependence on

nicotine as well as other substances later in life. 521 In a study done on mice, even “very brief,

low-dose exposure to nicotine in early adolescence increases the rewarding properties of other

drugs, including alcohol, cocaine, methamphetamine—and these are long-term changes.”522

E-cigarette use also puts adolescents at increased risk for cigarette smoking. Compared to

adolescents who do not use e-cigarettes, those who do are four times more likely to begin

smoking cigarettes.523

       332.    The use of flavors only amplifies vape devices’ addictive qualities. Research done

by Nii Addy, Associate Professor of psychiatry and cellular and molecular physiology at the

Yale University School of Medicine, found that “sweet flavors can make the nicotine more




520
    Know The Risks: E-Cigarettes & Young People, U.S. Dep’t Health & Human Servs., https://e-
  cigarettes.surgeongeneral.gov/knowtherisks.html (last visited Mar. 20, 2020).
521
    Principles of Adolescent Substance Use Disorder: A Research Based Guide, Nat’l Inst. on
  Drug Abuse (2014), https://www.drugabuse.gov/publications/principles-adolescent-substance-
  use-disorder-treatment-research-based-guide/introduction.
522
    Jon Hamilton, How Vaping Nicotine Can Affect A Teenage Brain, NPR (Oct. 10, 2019),
  https://www.npr.org/sections/health-shots/2019/10/10/768588170/how-vaping-nicotine-can-
  affect-a-teenage-brain.
523
    Kaitlyn M. Berry et al., Association of Electronic Cigarette Use with Subsequent Initiation of
  Tobacco Cigarettes in US Youths, JAMA Network Open (Feb. 1, 2019),
  https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2723425.


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palatable . . . but also act in the brain to increase nicotine taking.”524 This effect is especially

troubling for teenage brains, which are more sensitive than adult brains to rewards. According to

University of Pennsylvania psychologist Janet Audrain-McGovern, research shows that “if the

first e-cigarette you used was flavored, then you’re more likely to go on and use an e-cigarette

again.”525

        333.    As Dr. Winickoff explained in his testimony before Congress:

        Nicotine addiction can take hold in only a few days, especially in the developing
        adolescent brain that is particularly vulnerable to addiction to nicotine. . . . Many
        of my patients find Juul nearly impossible to stop. Nicotine withdrawal can cause
        headaches, insomnia, irritability, anxiety, and depression, and these withdrawal
        symptoms are one of the primary reasons a nicotine addiction is difficult to
        overcome.”526

        334.    Moreover, there is a lack of effective tools to help adolescents overcome nicotine

addiction: there is no good data on how to treat adolescents with e-cigarette dependence; there

has not been enough research on youth tobacco cessation strategies; and most of the

pharmacological therapies approved for adults have been shown to be ineffective or only

marginally effective in adolescents.527

        335.    Research indicates that daily e-cigarette use is much more likely to continue than

daily cigarette smoking. Out of surveyed students who reported ever using cigarettes daily, only

17% indicated that they remained daily smokers.528 Out of surveyed students who reported ever

using e-cigarettes daily, 58% remained daily users.529 This data demonstrates both that e-


524
    Hamilton, supra note 522.
525
    Id.
526
    Winickoff Testimony, supra note 252 at 2.
527
    Id.
528
    Id.
529
    Id.


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cigarette use in teens is very persistent, a result consistent with the addictiveness of these

products and the difficulty youth have in trying to quit.530

       336.    The effects of nicotine exposure on the brain of youth and young adults include

not only addiction, priming for use of other addictive substances, but also reduced impulse

control, deficits in attention and cognition, and mood disorders.531 A psychoactive substance that

targets brain areas involved in emotional and cognitive processing, nicotine poses a particularly

potent threat to the adolescent brain, as it can “derange the normal course of brain maturation

and have lasting consequences for cognitive ability, mental health, and even personality.”532

Animal researchers from Yale University School of Medicine found that vaping during

adolescence can lead to long-term brain changes, like attention deficit hyperactivity disorder.533

       337.    The dangerous and destructive nature of nicotine is no recent discovery. As a key

ingredient in tobacco products, the drug and its deleterious effects have been the subject of

scientific research and public health warnings for decades. Nicotine causes cardiovascular,

reproductive, and immunosuppressive problems with devastating effects. In 2014, the Surgeon

General reported that nicotine addiction is the “fundamental reason” that individuals persist in

using tobacco products, and this persistent tobacco use contributes to millions of needless deaths



530
    Id.
531
    Menglu Yuan et al., Nicotine and the Adolescent Brain, 593 J. of Physiology 3397 (2015),
  www.ncbi.nlm.nih.gov/pmc/articles/PMC4560573/; U.S Surgeon General and U.S. Centers for
  Disease Control & Prevention, Office on Smoking and Health, Know the Risks: E-Cigarettes
  and Young People (2019), https://e-cigarettes.surgeongeneral.gov/.
532
    N.A. Goriounova & H.D. Mansvelder, Short- and Long-Term Consequences of Nicotine
  Exposure during Adolescence for Prefrontal Cortex Neuronal Network Function, Cold Spring
  Harbor Persp. in Med. 2(12) (Dec. 2012),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3543069/.
533
    Hamilton, supra note 522.


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and many diseases, including diseases that affect the heart and blood vessels (cardiovascular

disease), lung diseases (chronic obstructive pulmonary disease (“COPD”) and lung cancer),

cancer almost anywhere in the body, and birth defects. Part of the reason the national decline in

cigarette use in recent years was such a victory for public health was because there was a

corresponding decline in youth exposure to nicotine. From 2000 to 2017, the smoking rate

among high school students fell by 73%.534

       338.    In June 2014, the CDC reported that “by achieving a teen smoking rate of 15.7

percent, the United States has met its national Healthy People 2020 objective of reducing

adolescent cigarette use to 16 percent or less.”535 The Surgeon General reported in 2014:

        We are at a historic moment in our fight to end the epidemic of tobacco use that
       continues to kill more of our citizens than any other preventable cause. The good
       news is that we know which strategies work best. By applying these strategies
       more fully and more aggressively, we can move closer to our goal of making the
       next generation tobacco-free.”536

       339.    That trend has completely reversed. In 2018, more than one in four high school

students in the United States reported using a tobacco product in the past thirty days, a dramatic

increase from just one year before.537 But there was no increase in the use of cigarettes, cigars, or




534
    Matthew L. Myers, On 20th Anniversary of State Tobacco Settlement (the MSA), It’s Time for
  Bold Action to Finish the Fight Against Tobacco, Campaign for Tobacco-Free Kids (Nov. 26,
  2018), https://www.tobaccofreekids.org/press-releases/2018_11_26_msa20.
535
    Current cigarette smoking among U.S. high school students lowest in 22 years, CDC (June
  12, 2014), https://www.cdc.gov/media/releases/2014/p0612-YRBS.html.
536
    LET’S MAKE THE NEXT GENERATION TOBACCO-FREE: Your Guide to the 50th
  Anniversary Surgeon General’s Report on Smoking and Health, U.S. Dep’t of Health & Human
  Servs. (2014), https://www.hhs.gov/sites/default/files/consequences-smoking-consumer-
  guide.pdf.
537
    Progress Erased: Youth Tobacco Use Increased During 2017-2018, CDC (Feb. 11, 2019),
  https://www.cdc.gov/media/releases/2019/p0211-youth-tobacco-use-increased.html.


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hookahs during that same time period.538 There was only increased use in a single tobacco

product: e-cigarettes. While use of all other tobacco products continued to decrease as it had

been for decades, e-cigarette use increased 78% in just one year.539 This drastic reversal caused

the CDC to describe youth vaping an “epidemic.”540




       340.    The teen vaping epidemic has had, and will continue to have, significant costs for

individual users and society alike. Nicotine addiction alone carries significant health

consequences, and these are exacerbated when adolescents are involved. Adolescent nicotine



538
    Tobacco Use By Youth Is Rising: E-Cigarettes are the Main Reason, CDC (Feb. 2019),
  https://www.cdc.gov/vitalsigns/youth-tobacco-use/index.html.
539
    Scott Gottlieb, Statement from FDA Commissioner Scott Gottlieb, M.D., on proposed new
  steps to protect youth by preventing access to flavored tobacco products and banning menthol
  in cigarettes, FDA (Nov. 15, 2018), https://www.fda.gov/news-events/press-
  announcements/statement-fda-commissioner-scott-gottlieb-md-proposed-new-steps-protect-
  youth-preventing-access.
540
    Adams, supra note 2.


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addiction leads to memory and attention problems, and increases chances of addiction later in

life, all of which will continue to have long-lasting impacts on society.

       341.    Science is also beginning to show that e-cigarettes have the potential to cause

even more distinct health risks and costs. E-cigarettes were initially considered to be a safer

alternative to cigarettes, but recent studies done on rats and mice have demonstrated results that

they are “as damaging to pulmonary structures as traditional tobacco cigarettes.”541 Mice

exposed to e-cigarette fluids containing nicotine experienced effects that are associated with

chronic obstructive pulmonary disease, such as cytokine expression, airway hyper-reactivity, and

lung tissue destruction.542 The use of e-cigarettes also caused inflammation in mice and impaired

their immune defenses against various bacterial and viral infections.543 Moreover, a recent study

that monitored 32,000 adults in the United States for three years found that e-cigarette users were

30% more likely to develop a chronic lung disease, such as asthma, bronchitis, and emphysema,

than people who did not smoke either e-cigarettes or traditional cigarettes.544

       342.    It is not just these consequences that raise public health concerns. The CDC and

FDA recently investigated an outbreak of e-cigarette, or vaping, product use associated lung




541
    Viktorija Reinikovaite et al., The effects of electronic cigarette vapour on the lung: direct
  comparison to tobacco smoke at 2, 51 Eur. Respiratory J. (Jan. 23, 2018),
  https://erj.ersjournals.com/content/erj/51/4/1701661.full.pdf.
542
    Itsaso Garcia-Arcos et al., Chronic electronic cigarette exposure in mice induces features of
  COPD in a nicotine-dependent manner, 71 Thorax, 1119, 1119-29 (Aug. 24, 2016),
  https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5136722/pdf/thoraxjnl-2015-208039.pdf.
543
    Id.
544
    Dharma N. Bhatta & Stanton A. Glantz, Association of E-Cigarette Use with Respiratory
  Disease Among Adults: A Longitudinal Analysis, Am. J. Preventive Med. (Dec. 16, 2019),
  https://www.sciencedirect.com/science/article/abs/pii/S0749379719303915.


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injuries, known as EVALI.545 As of February 18, 2020, there were over 2,800 reported cases of

hospitalization due to e-cigarette or vaping product use-associated lung injury (“EVALI”) in all

fifty states and sixty-eight deaths had been confirmed by the CDC.546 While public health

officials believe this outbreak is associated with vitamin E acetate, which is often used in

connection with vaping marijuana, 14% of patients have reported vaping nicotine only.547

       343.    Many teenagers are simply unaware of these risks, an ignorance that Defendants

have capitalized on. According to Dr. Winickoff, many of his patients believe vaping is

harmless:

       Counseling teens and preteens on e-cigarette use is challenging. Many of my
       patients have wildly incorrect beliefs about e-cigarettes. They know that cigarettes
       are dangerous, but assume that Juul—since it’s ubiquitous, comes in child-
       friendly flavors, and is marketed as a healthier alternative to smoking—must be
       harmless. I have to explain to kids that e-cigarettes do not have the same positive
       health benefits as the fruits whose flavor they copy. Even the term vapor calls to
       mind harmless water vapor. There is no water in these products.548

       K.      Vaping in Schools

       344.    In addition to severe health consequences, widespread vaping and “juuling” has

placed severe burdens on society and schools in particular. It is not an overstatement to say that

JUUL has changed the educational experience of students across the nation. As one vape shop

manager told KOMO News, “It’s the new high school thing. Everyone’s got the JUUL.”549




545
    Outbreak of Lung Injury Associated with E-cigarette Use, or Vaping, CDC,
  https://www.cdc.gov/tobacco/basic_information/e-cigarettes/severe-lung-disease.html (last
  visited Mar. 28, 2020).
546
    Id.
547
    Id.
548
    Winickoff Testimony, supra note 252 at 1.
549
    Juuling at School, supra note 275.


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       345.    The JUUL youth addiction epidemic spread rapidly across high schools in the

United States. JUUL surged in popularity, largely through social media networks, and created

patterns of youth usage, illegal youth transactions, and addiction, that are consistent with this

account from Reddit in 2017:

       Between classes the big bathroom in my school averages 20-25 kids, and 5-10
       JUULs. Kids usually will give you a dollar for a JUUL rip if you don’t know
       them, if you want to buy a pod for 5$ you just head into the bathroom after lunch.
       We call the kids in there between every class begging for rips ‘JUUL fiends.’ Pod
       boys are the freshman that say ‘can I put my pod in ur juul?’ and are in there
       every block. I myself spent about 180$ on mango pods and bought out a store,
       and sold these pods for 10$ a pod, making myself an absolutely massive profit in
       literally 9 days. Given because I’m 18 with a car and that’s the tobacco age
       around here, I always get offers to get pod runs or juuls for kids. people even
       understand the best system to get a head rush in your 2 minutes between classes,
       is all the juuls at once. So someone yells “GIVE ME ALL THE JUULS” and 3-7
       are passed around, two hits each. This saves us all juice, and gives you a massive
       head rush. Kids also scratch logos and words onto their juuls to make i[t] their
       own, every day you can find the pod covers in my student parking lot. I know this
       sounds exaggerated, but with a school with 1400 kids near the city and JUULs
       being perceived as popular, it’s truly fascinating what can happen.550

       346.    In response to the post above, several others reported similar experiences:

               a.      “[T]his is the exact same thing that happens at my school, we call
                       [JUUL fiends] the same thing, kind of scary how similar it is.”551

               b.      “Same thing at my school. JUUL fiend is a term too.”552

               c.      “Yeah nicotine addiction has become a huge problem in my high
                       school because of juuls even the teachers know what they are.”553

               d.      “[S]ame [expletive] at my school except more secretive because it’s
                       a private school. It’s crazy. Kids hit in class, we hit 3-5 at once, and



550
    What’s Juul in School, https://www.reddit.com/r/juul/comments/61is7i/whats_juul_in_school/
  (last visited Mar. 20, 2020).
551
    Id.
552
    Id.
553
    Id.


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                      everyone calls each other a juul fiend or just a fiend. Funny how
                      similar it all is.”554

               e.     “[T]he same [expletive] is happening in my school. kids that vaped
                      were called [expletive] for the longest time, that all changed
                      now.”555

               f.     “Made an account to say that it’s exactly the same way in my school!
                      LOL. I’m from California and I think I know over 40 kids that have
                      it here just in my school. We do it in the bathrooms, at lunch etc.
                      LMAO. ‘Do you have a pod man?’”556

               g.     “It’s the same at my school and just about every other school in
                      Colorado.”557

               h.     “2 months into this school year, my high school made a newspaper
                      article about the ‘JUUL epidemic.’”558

               i.     “Wow do you go to high school in Kansas because this sounds
                      EXACTLY like my school. I’ll go into a different bathroom 4 times
                      a day and there will be kids in there ripping JUUL’s in every single
                      one.”559.

               j.     “At my high school towards the end of lunch everyone goes to the
                      bathroom for what we call a ‘juul party.’ People bring juuls, phixes,
                      etc. It’s actually a great bonding experience because freshman can
                      actually relate to some upperclassmen and talk about vaping.”560

               k.     “To everyone thinking that this is just in certain states, it’s not. This
                      is a nationwide trend right now. I’ve seen it myself. If you have one
                      you’re instantly insanely popular. Everyone from the high-achievers
                      to the kids who use to say ‘e-cigs are for [expletives]’ are using the
                      juul. It’s a craze. I love it, I’ve made an insane amount of money.




554
    Id.
555
    Id.
556
    Id.
557
    Id.
558
    Id. (citing Juuls Now Rule the School as Students Frenzy Over E-cig (Oct. 5, 2016),
  https://imgur.com/a/BKepw).
559
    Id.
560
    Id.


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                      It’s something that has swept through our age group and has truly
                      taken over. And it happened almost overnight.”561

         347.   E-cigarette use has completely changed school bathrooms—now known as “the

Juul room.”562 As one high school student explained, “it’s just a cloud.”563 The ubiquity of e-

cigarette use in high school bathrooms has generated numerous online spoofs about “the juul

room.”




                                                                     564




561
    Id. (emphasis added).
562
    Moriah Balingit, In the ‘Juul room’: E-cigarettes spawn a form of teen addiction that worries
  doctors, parents and schools, Wash. Post (July 26, 2019),
  https://www.washingtonpost.com/local/education/helpless-to-the-draw-of-nicotine-doctors-
  parents-and-schools-grapple-with-teens-addicted-to-e-cigarettes/2019/07/25/e1e8ac9c-830a-
  11e9-933d-7501070ee669_story.html.
563
    Greta Jochem, Juuling in School: e-Cigarette Use Prevalent Among Local Youth, Daily
  Hampshire Gazette (Nov. 13, 2018), https://www.gazettenet.com/Juuling-in-Schools-
  21439655.
564
    Juul Hashtag Meme, Stan. U. Res. into the Impact of Tobacco Advert. (2018),
  http://tobacco.stanford.edu/tobacco_main/images_pods.php?token2=fm_pods_st681.php&toke
  n1=fm_pods_img37610.php&theme_file=fm_pods_mt068.php&theme_name=JUUL&subthem
  e_name=%23juul.


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       348.    As another high school student explained, “You can pull it out, you can have it

anywhere. To smoke a cigarette you have to hit the bus stop. You want a Juul you hit the

bathroom, it’s easy.”565 He added that JLI “market[s] it as an alternative to cigarettes but really

it’s a bunch of kids who have never picked up a pack and they’re starting their nicotine addiction

there.”566 Students at another high school stated that classmates had “set off the fire alarm four

times last year from vaping in the bathrooms [at school],” adding that it is commonplace to see

students vaping in school bathrooms or in the parking lot.567

       349.    This impact was only made worse by JLI intentionally targeting schools, as

described above.

       350.    Such rampant vapor product use has effectively added another category to

teachers’ and school administrators’ job descriptions; many now receive special training to

respond to the various problems that vaping presents, both in and out of the classroom. A

national survey of middle schools and high schools found that 43.3% of schools have had to

implement not only an e-cigarette policy but a e-cigarette-specific policy. Participants in the

survey reported multiple barriers to enforcing these policies, including the discreet appearance of

the product, difficulty pinpointing the vapor or scent, and the addictive nature of the product.

       351.    Across the United States, schools have had to divert resources and administrators

have had to go to extreme lengths to respond to the ever-growing number of students vaping on


565
    Alison Grande, ‘Juuling': Vaping device that looks like USB drive popular with teens, KIRO
  7 (Dec. 8, 2017), https://www.kiro7.com/news/local/juuling-vaping-device-that-looks-like-usb-
  drive-popular-with-teens/660965605/.
566
    Id.
567
    Manisha Jha, ‘You need to stop vaping right now’: Students and faculty react to Washington
  vape ban, The Daily, U. of Wash. (Sept. 30, 2019),
  http://www.dailyuw.com/news/article_960d8692-e324-11e9-870c-9f9d571115d6.html.


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school grounds. According to the Truth Initiative, more than 40% of all teachers and

administrators reported that their school uses camera surveillance near the school’s restroom,

almost half (46%) reported camera surveillance elsewhere in the school, and 23% reported using

assigned teachers for restroom surveillance.568 Some schools have responded by removing

bathroom doors or even shutting bathrooms down, and schools have banned flash drives to avoid

any confusion between flash drives and JUULs or the new “JUULalike” products⸺like

Eonsmoke’s device or the other copycats. Schools have also paid thousands of dollars to install

special monitors to detect vaping, which they say is a small price to pay compared to the

plumbing repairs otherwise spent as a result of students flushing vaping paraphernalia down

toilets. Other school districts have sought state grant money to create new positions for tobacco

prevention supervisors, who get phone alerts when vape smoke is detected in bathrooms.

       352.    Many schools have also shifted their disciplinary policies in order to effectively

address the youth vaping epidemic. Rather than immediately suspending students for a first

offense, school districts have created anti-vaping curricula which students are required to follow

in sessions held outside of normal school hours, including on Saturdays. Teachers prepare

lessons and study materials for these sessions with information on the marketing and health

dangers of vaping—extra work which requires teachers to work atypical hours early in the

mornings and on weekends. Some schools will increase their drug testing budget to include

random nicotine tests for students before they join extracurricular activities. Under this drug-

testing protocol, first offenders will undergo drug and alcohol educational programming; second


568
   How are schools responding to JUUL and the youth e-cigarette epidemic?, Truth Initiative
 (Jan. 18, 2019), https://truthinitiative.org/research-resources/emerging-tobacco-products/how-
 are-schools-responding-juul-and-youth-e-cigarette.


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and third offenders with be forced to sit out from extracurriculars and attend substance abuse

counseling.

       353.    JUUL’s prevalence in schools is not a coincidence; JLI actively sought to enter

school campuses while it was coordinating with Altria. The U.S. House Subcommittee on

Economic and Consumer Policy (“Subcommittee”) conducted a months-long investigation of

JLI, including reviewing tens of thousands of internal documents, and concluded that JLI

“deliberately targeted children in order to become the nation’s largest seller of e-cigarettes.”569

The Subcommittee found that “(1) JUUL deployed a sophisticated program to enter schools and

convey its messaging directly to teenage children; (2) JUUL also targeted teenagers and children,

as young as eight years-old, in summer camps and public out-of-school programs; and (3) JUUL

recruited thousands of online ‘influencers’ to market to teens.”570

       354.    According to the Subcommittee, JLI was willing to pay schools and organizations

hundreds of thousands of dollars to have more direct access to kids. For example, JLI paid a

Baltimore charter school organization $134,000 to start a summer camp to teach kids healthy

lifestyles, for which JLI itself would provide the curriculum; offering schools $10,000 to talk to

students on campus; and giving the Police Activities League in Richmond, California, almost

$90,000 to provide JLI’s own vaping education program, “Moving On,” to teenage students

suspended for using cigarettes. Meanwhile, JLI would collect data about test scores, surveys, and

activity logs about the students.



569
    Memorandum, U.S. House Subcommittee on Econ. & Consumer Policy (July 25, 2019),
  https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20Memo.
  pdf.
570
    Id.


                                                 167
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       355.    Among the more egregious incidents reported by the Subcommittee was a July

24, 2019 presentation in which no parents or teachers were in the room for the presentation, the

message conveyed was that JUUL was “totally safe,” and the presenter even demonstrated to the

students how to use a JUUL. The school was presumably paid for this meeting, which was

marketed to the school as an anti-smoking initiative. A JLI spokesman said the company is no

longer funding such programs.

       356.    The problems with JLI’s youth prevention programs were widespread. According

to outside analyses, “the JUUL Curriculum is not portraying the harmful details of their product,

similar to how past tobacco industry curricula left out details of the health risks of cigarette

use.”571 Although it is well-known that teaching children to deconstruct ads is one of the most

effective prevention techniques, JLI programs entirely omitted this skill, and JLI’s curriculum

barely mentioned JUUL products as among the potentially harmful products to avoid.572 As one

expert pointed out, “we know, more from anecdotal research, that [teens] may consider [JUULs]

to be a vaping device, but they don’t call it that. So when you say to a young person, ‘Vapes or e-

cigarettes are harmful,’ they say, ‘Oh I know, but I’m using a JUUL.’”573

       357.    Internal emails confirm both that JLI employees knew about the similarities of

JLI’s “youth prevention program” to the earlier pretextual antismoking campaigns by the

cigarette industry and that JLI management at the highest levels was personally involved in these


571
    Victoria Albert, Juul Prevention Program Didn't School Kids on Dangers, Expert Says:
  SMOKE AND MIRRORS. JUUL—which made up 68 percent of the e-cigarette market as of
  mid-June—seems to have taken a page from the playbook of Big Tobacco, The Daily Beast
  (Oct. 19, 2018), https://www.thedailybeast.com/juul-prevention-program-didnt-school-kids-on-
  dangers-expert-says.
572
    Id.
573
    Id.


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efforts.




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                                                                                577
                                                                                      The paper

concluded that “the Philip Morris[’s ‘youth prevention’] campaign had a counterproductive

influence.”578

           358.   The Board was intimately involved in these “youth prevention” activities. For

example,



       579



           359.
                                                                   580
                                                                         Eventually, JLI ended this



574
    INREJUUL_00197608.
575
    INREJUUL_00197607.
576
    INREJUUL_00196624.
577
    INREJUUL_00265202.
578
    Matthew C. Farrelly et al., Getting to the Truth: Evaluating National Tobacco
  Countermarketing Campaigns, 92 Am. J. Public Health 901 (2002).
579
    JLI00151300.
580
    INREJUUL_00194646.


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version of its youth prevention program, but the damage had been done: following the playbook

of Big Tobacco, JLI had hooked more youth on nicotine.

        L.      Impact of the Youth Vaping Crisis on Plaintiff City and County of Denver

        360.    Plaintiff City and County of Denver is home to approximately 715,000

residents.581 Denver is the capital of Colorado, the largest city in the state, and the fastest-

growing city and county within Colorado.582 Approximately 19% of Denver’s residents are under

the age of eighteen.583

        361.    Denver has been hit hard by the youth vaping epidemic. In 2013, only 11% of

students in Colorado Region 20, which encompasses Plaintiff’s community, had ever tried e-

cigarettes.584 By 2017, that number had skyrocketed to 40% of students in Colorado Region 20

reportedly having tried electronic vapor products, with approximately 18% of Plaintiff’s high

school students reportedly having used an electronic vapor product in the past thirty days.585

These numbers are self-reported, and many public health officials believe they likely

underestimate the actual prevalence of youth vaping.

        362.    Not only are Defendants’ products being used frequently by youth in Plaintiff’s

community, but data indicates that these numbers are likely to continue to rise. Almost one-half

of students in Colorado Region 20 said it would be easy for them to get electronic vapor




581
    Quick Facts Denver County, Colorado, U.S. Census Bureau (July 1, 2018),
  https://www.census.gov/quickfacts/fact/table/denvercountycolorado/PST045218.
582
    Denver, Colorado Population 2020, World Population Rev. (Oct. 29, 2019),
  http://worldpopulationreview.com/us-cities/denver-population/.
583
    Quick Facts Denver County, supra note 581.
584
    2013 Healthy Kids Colorado Survey Results, supra note 7 at 52.
585
    2017 Healthy Kids Colorado Survey Results, supra note 8 at 76.


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products, and one-third of these students said they would likely use an electronic vapor product if

one of their friends offers it.586

        363.    These increasing numbers are consistent with the rise in youth vaping throughout

the State of Colorado, which tops the nation for youth e-cigarette use.587 An estimated 27,000

Colorado high school students reported vaping more than ten days a month.588 Vaping is also

much more common among youth than with adults in Colorado. In 2017, 27% of Colorado youth

were currently vaping—more than twice the national average—and almost 45% reported

experimenting with vaping.589 By comparison, in 2018, only 7.5% of Colorado adults were

actively vaping, and only 27% had ever tried it.590

        364.    According to the Executive Director and Chief Medical Officer of the Colorado

Department of Public Health and Environment: “Vaping has replaced cigarettes as a way for

underage youth to use nicotine[.] . . Too many of our young people don’t realize the health risks

involved.”591 While about 85% of high school students in Plaintiff’s region view smoking

cigarettes as risky, only about 45% of these students feel the same way about vaping.592

        365.    Data and feedback from Denver Public Schools (“DPS”), the sole public school

district in Plaintiff’s jurisdiction, show the scope of the youth vaping epidemic in Plaintiff’s


586
    Id. at 78.
587
    D’Argonne, supra note 9.
588
    John Daley, Colorado Is a Hotbed of Teen Vaping, But Lacks the Tools to Help Kids Quit,
  CPR News (July 30, 2019), https://www.cpr.org/2019/07/30/colorado-is-a-hot-bed-of-teen-
  vaping-but-lacks-the-tools-to-help-kids-quit/.
589
    D’Argonne, supra note 9.
590
    2018 Colorado Behavioral Risk Factor Surveillance System (BRFSS), Colo. Dep’t of Pub.
  Health & Env’t (2018),
  https://drive.google.com/file/d/1sBj5BZCNWWBdEOmAPu3c65XAg99Zh3da/view.
591
    D’Argonne, supra note 9.
592
    2017 Healthy Kids Colorado Survey Results, supra note 8, at 78.


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community. Vaping has become highly disruptive to DPS’s operations, as DPS has had to

respond to many disciplinary issues and confiscate hundreds of vape devices from its students.

          366.   Even beyond the negative health and wellness effects on Denver youth, Plaintiff

and DPS are concerned about the hazardous nature of e-cigarette and e-liquid waste. DPS is

considered a large generator of hazardous waste due to the immense volume of vape

confiscations and therefore must comply with standards established by the United States

Environmental Protection Agency. However, in Denver there is no central repository for public

disposal of hazardous waste. Therefore, Plaintiff and DPS, along with other community entities,

are faced with the challenge of proper disposal, which has become an increasing public health

concern. Unfortunately, Plaintiff has limited staff capacity and resources to help provide an

immediate solution, and Plaintiff’s dedicated staff has not had the time or resources to address

this impact on Plaintiff’s land and property.

          367.   In order to combat the public health crisis caused by Defendants’ conduct,

Plaintiff spent significant and unexpected levels of time and resources on addressing the

pervasiveness of youth use of vaping products. For example, Denver Department of Public

Health and Environment (“DDPHE”) created an enforcement program in order to mitigate the

accessibility of Defendants’ products to minors. According to a 2017 survey, 47.6% of students

said they could easily get tobacco products if they wanted.593 Approximately 27% of students

younger than eighteen years of age who reported current electronic vapor product use were able




593
      2017 Healthy Kids Colorado Survey Results, supra note 8 at 80.


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to purchase their own electronic vapor products from a gas station, convenience store, grocery

store, or drugstore.594

        368.    Plaintiff has prioritized retailer compliance enforcement with respect to Electronic

Nicotine Devices (“ENDs”). Beginning in 2017, DDPHE implemented a sting operation in

which minors attempt to buy cigarettes and ENDs.595 Compliance is more effective with respect

to traditional cigarette sales than ENDs, reflecting the extent of the misinformation and

confusion spread by Defendants: between 7% and 10% of Denver tobacco retailers sold

cigarettes to minors, however, 27% sold minors ENDs.596 DDPHE’s enforcement team has seen

a significant increase in violation rates since it began prioritizing purchasing ENDs in its

product-purchasing program in 2018. This program remains a high priority for Plaintiff moving

forward, but it consumes a large amount of Plaintiff’s limited resources. In order to fully respond

to the youth vaping epidemic, Plaintiff will likely need to hire additional dedicated staff to

conduct enforcement activities.

        369.    To combat the issue of access to youth, Denver passed its Tobacco 21 Law

(“T21”) in the fall of 2019.597 T21’s goal is to “‘protect the approximately 120,700 people under

twenty-one years of age in the City and County of Denver from tobacco-related morbidity and

mortality by limiting access.”598 Mayor Michael B. Hancock recognizes that “youth who try e-

cigarettes are more likely to begin smoking tobacco later” and “raising the age of purchase to 21


594
    Id.
595
    David Sachs, Denver raises smoking and vaping age to 21 and will track who’s selling the
  stuff, Denverite (Sept. 30, 2019), https://denverite.com/2019/09/30/denver-raises-smoking-and-
  vaping-age-to-21-and-will-track-whos-selling-the-stuff/.
596
    Id.
597
    Denver Rev. Municipal Code § 24-402.
598
    Sachs, supra note 595.


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years old for tobacco and nicotine products is a step we can take as a city to curb this rising trend

of youth use and promote public and personal health among our young residents.”599 This law

also required all tobacco and nicotine retailers to obtain a license from Plaintiff in order to

continue to sell tobacco products, including e-cigarettes, within Plaintiff’s boundaries. Any

retailer applying for a license after July 1, 2020 will be required to be located at least 1,000 feet

away from schools, city-owned recreation centers, and city-owned outdoor pools.

       370.    Plaintiff expended substantial amounts of time and resources in order to develop

and implement T21. Plaintiff’s DDPHE first began developing the T21 policy in 2018 based on

the data derived from the Healthy Kids Colorado Survey. Survey results indicated that perception

of risk among youth related to vaping nicotine was particularly low compared to the risk of

smoking cigarettes. As mentioned above, while 85% of youth said they thought smoking is risky,

only 45% said they believed vaping to be risky. Additionally, the survey results suggested that

ease of access was much higher for youth purchasing vape-related products than cigarettes.

DDPHE focused its efforts on raising Denver’s minimum purchasing age for tobacco products to

the age of twenty-one to help eliminate the “pipeline” through which students were obtaining

vape products from eighteen-year-old classmates who could legally purchase them.

       371.    Recognizing the widespread impact of Defendants’ actions on Plaintiff’s

community, DDPHE pursued a thoughtful and deliberate stakeholder engagement to develop and

implement T21. All Denver tobacco retailers were invited to two separate listening sessions to

learn and ask questions about changes brought by the new law. DDPHE is only able to employ


599
   Denver Pub. Health & Env’t (@DDPHE), Twitter (Sept. 30, 2019),
 https://twitter.com/DDPHE/status/1178797284013690880?ref_src=twsrc%5Etfw (last visited
 Mar. 28, 2020).


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one full-time investigator and two part-time minors to help with compliance checks of

approximately 500 different retailers. DDPHE conducts compliance checks of retailers to ensure

they are not selling to underage customers. Following the passage of T21 in 2019, this team

administered a “soft enforcement” round of compliance checks with no penalty to retailers.

Businesses receive feedback from the checks before the enforcement program returns to routine

compliance and enforcement. Ultimately, to address the prolific nature of the vaping epidemic,

Plaintiff’s enforcement team will need to continue conducting at least four visits per retailer per

year, requiring an estimated 2,000 visits a year, for the indefinite future.

       372.    Plaintiff has been taking important steps to combat the youth vaping epidemic,

but it cannot fully address the existing widespread use of vapor products and resulting nicotine

addiction among youth. Because of the potency of Defendants’ nicotine salts, combined with the

discreet device design and the ease of delivery—allowing youth to take a puff as often as every

few minutes—widespread vaping has resulted in a higher incidence of addiction than that caused

by youth cigarette smoking. In other words, unlike a combustible cigarette with its telltale

smoke, there is nothing about the JUUL device that prevents kids from taking a puff behind the

closed doors of their bedrooms or even the moment a teacher’s back is turned in the classroom.

As the researchers conducting the national Monitoring the Future survey wrote in a letter to the

New England Journal of Medicine:

       Current efforts by the vaping industry, government agencies, and schools have
       thus far proved insufficient to stop the rapid spread of nicotine vaping among
       adolescents. Of particular concern are the accompanying increases in the
       proportions of youth who are physically addicted to nicotine, an addiction that is
       very difficult to overcome once established. The substantial levels of daily vaping
       suggest the development of nicotine addiction. New efforts are needed to protect
       youth from using nicotine during adolescence, when the developing brain is



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       particularly susceptible to permanent changes from nicotine use and when almost
       all nicotine addiction is established.600

       373.    Therefore, while Plaintiff has been working tirelessly to address the youth vaping

crisis, more resources are needed to fully counter Defendants’ conduct. With additional

resources, Plaintiff would expand its educational and training efforts, including developing

educational materials and trainings for students and their families and creating a more robust

education and prevention program that engages leadership at schools. In addition, Plaintiff would

conduct more traditional outreach efforts such as media development and targeted marketing

campaigns to support Plaintiff’s prevention work.

       374.    Additionally, a major concern for Plaintiff is the lack of treatment options for a

generation of addicted youth that reside within Plaintiff’s community. The State of Colorado has

few programs, shrinking resources, and little research available to help youth stop vaping.601

Colorado spends nearly $24 million a year on tobacco prevention,602 but youth e-cigarette use

continues to rise.603 Money available to support anti-smoking efforts has been declining as youth

use of traditional cigarettes goes down, such that remaining tobacco prevention funds are

inadequate to address skyrocketing rates of youth vaping.

       375.    According to a State of Colorado communication strategist: “Our young people

are facing an epidemic of vaping. We’re not funded to deal with vaping products. And so we’ve

got more problems than we’ve seen before and fewer resources with which to deal with them.”604


600
    Miech, supra note 4. Error! Hyperlink reference not valid.
601
    Id.
602
    Colorado, Campaign for Tobacco-Free Kids (Dec. 18, 2019),
  https://www.tobaccofreekids.org/what-we-do/us/statereport/colorado.
603
    2017 Healthy Kids Colorado Survey Results, supra note 8.
604
    Daley, supra note 588.


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As for treatment options, the director of Behavior Health Services at Denver Health stated:

“Really, we have almost nothing in terms of treatment for these kids.”605

            376.   Although creating treatment options for youth addicted to nicotine is a major

priority for Plaintiff, these options will be difficult to develop. Many of the tobacco cessation

products that are approved by the United States Food and Drug Administration are not approved

for use by children. Plaintiff first needs additional research on what cessation options are

possible and which ones will be effective for youth vaping. Vaping presents unique regulatory

challenges because the ability to conceal Defendants’ products enables youth to vape more

frequently and in more locations than they are able to when smoking traditional cigarettes. With

additional resources, Plaintiff would support development of additional, youth-appropriate

cessation options that can meet the needs of Plaintiff’s diverse community. Plaintiff would also

support the development of vaping-specific cessation resources to address the ways in which

vaping cessation may differ from traditional smoking cessation.

            377.   Fully addressing the harms to Plaintiff caused by Defendants’ conduct will

require a comprehensive approach. Without the resources to fund measures such as those

described herein, Plaintiff will continue to be harmed by the ongoing consequences of

Defendants’ conduct.




605
      Id.


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        M.      No Federal Agency Action, Including by the FDA, Can Provide the Relief
        Plaintiff Seeks Here

        378.       The injuries Plaintiff has suffered and will continue to suffer cannot be addressed

by agency or regulatory action. There are no rules the FDA could make or actions the agency

could take that would provide Plaintiff the relief it seeks in this litigation.

        379.       Even if e-cigarettes were entirely banned today or only used by adults, millions of

youth, including Plaintiff’s residents, would remain addicted to nicotine.

        380.       Regulatory action would do nothing to compensate Plaintiff for the money and

resources it has already expended addressing the impacts of the youth vaping epidemic and the

resources it will need in the future. Only this litigation has the ability to provide Plaintiff with the

relief it seeks.

        381.       Furthermore, the costs Plaintiff has incurred in responding to the public health

crisis caused by youth vaping and in rendering public services described above are recoverable

pursuant to the causes of actions raised by Plaintiff. Defendants’ misconduct alleged herein is not

a series of isolated incidents, but instead the result of a sophisticated and complex marketing

scheme and related cover-up scheme that has caused a continuing, substantial, and long-term

burden on the services provided by Plaintiff. In addition, the public nuisance created by

Defendants and Plaintiff’s requested relief in seeking abatement further compels Defendants to

reimburse and compensate Plaintiff for the substantial resources it has expended and will need to

continue to expend to address the youth vaping epidemic.




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                                  V.      CAUSES OF ACTION

                          VIOLATIONS OF COLORADO PUBLIC NUISANCE LAW

       382.    Plaintiff City and County of Denver incorporates each preceding paragraph as

though set forth fully herein.

       383.    Plaintiff brings this claim under Colorado Public Nuisance law as to all

Defendants.

       384.    Under Colorado law, “[a] public nuisance is the doing or failure to do something

that injuriously affects the safety, health, or morals of the public or works some substantial

annoyance, inconvenience, or injury to the public.” State, Dep’t of Health v. The Mill, 887 P.2d

993, 1002 (Colo. 1994).

       385.    Plaintiff and its residents have a right to be free from conduct that endangers their

health and safety. Yet Defendants have engaged in conduct and omissions which unreasonably

and injuriously interfered with the public health and safety in Plaintiff’s community and created

substantial annoyance, inconvenience, and injury to the public by their production, promotion,

distribution, and marketing of vapor products, including, but not limited to JUUL, for use by

youth in the City and County of Denver. Defendants’ actions and omissions have substantially,

unreasonably, and injuriously interfered with the functions and operations of the City and County

of Denver and affected the public health, safety, and welfare of the Denver community.

       386.    Each Defendant has created or assisted in the creation of a condition that is

injurious to the health and safety of Plaintiff and its residents and interferes with the comfortable

enjoyment of life and property of the entire Denver community.




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       387.    Defendants’ conduct has directly caused a severe disruption of the public health,

order, and safety. Defendants’ conduct is ongoing and continues to produce permanent and long-

lasting damage.

       388.    This harm to Plaintiff and the public is substantial, widespread, and ongoing. It

outweighs any potential offsetting benefit of the Defendants’ wrongful conduct because

Defendants’ conduct violates Colorado’s public policy against marketing vapor products to

minors. This policy is expressed through Colorado then-Governor John Hickenlooper’s

Executive Order B 2018 011, finding that “vaping products, and e-cigarettes are particularly

harmful to children” and that “[e]ven as we have made progress discouraging cigarette use

among youth, use of e-cigarettes and vaping devices among youth has increased, reaching

epidemic proportions that are putting the health of our children at risk.”606 This policy is also

expressed through statutes and regulations, including but not limiting to:

       1.      CRS § 18-13-121(1), under which it is illegal to give, sell, distribute or offer for
               sale a nicotine product to any person under eighteen years of age;

       2.      CRS § 44-7-103(1), under which it is illegal to sell or permit the sale of nicotine
               products to minors;

       3.      CRS § 18-13-121(2), under which it is illegal for people under eighteen years of
               age to purchase nicotine products; and

       4.      CRS § 25-14-301, under which it is illegal for people under eighteen years of age
               to possess nicotine products.

       389.    Defendants’ conduct violated this public policy, including by:

       1.      Actively seeking to enter school campuses, targeting children as young as eight
               through summer camps and school programs, extensively targeting youth through
               social media campaigns, and recruiting “influencers” to market to teens;

606
   John W. Hickenlooper, B 2018 011, Executive Order, State of Colo. (Nov. 2, 2018),
 https://drive.google.com/file/d/1-EapnrOOLsvBxsYlkThi7-EZEyxGn3io/view.


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       2.      Engaging in marketing tactics specifically designed to mislead children and youth
               and to ensnare minors into nicotine addiction, including by explicitly adopting
               tactics prohibited from Big Tobacco, with the knowledge that those tactics were
               likely to ensnare children and youth into nicotine addiction, including using
               billboards and outdoor advertising, sponsoring events, giving free samples, paying
               affiliates and “influencers” to push vapor products, and by selling vapor products
               in flavors designed to appeal to youth;

       3.      Engaging in advertising modeled on cigarette ads and featuring youthful-
               appearing models and designing advertising in a patently youth-oriented fashion;

       4.      Directing advertising to youth media outlets and media designed to appeal to
               children and youth, such as Instagram and other social media channels;

       5.      Hosting youth-focused parties across the United States, at which free samples
               were dispensed and in which vaping was featured prominently across social
               media;

       6.      Formulating vapor products with flavors with the knowledge that such flavors
               appealed to youth and with the intent that youth become addicted or dependent
               upon vapor products; and

       7.      Promoting and assisting the growth of the vapor product market and its
               availability with knowledge that vapor products were being purchased and used
               by large numbers of youth.

       390.    The health and safety of the youth of the City and County of Denver, including

those who use, have used, or will use vapor products, as well as those affected by others’ use of

vapor products, are matters of substantial public interest and of legitimate concern to the

Plaintiff, as well as to the entire City and County of Denver community.

       391.    Defendants’ conduct has affected and continues to affect a substantial number of

people within the City and County of Denver and is likely to continue causing significant harm.

       392.    But for Defendants’ actions, vapor products, including, but not limited to JUUL,

used by youth would not be as widespread as it is today, and the youth vaping public health crisis

that currently exists as a result of Defendants’ conduct would have been averted.




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        393.        Defendants knew or should have known that their conduct would create a public

nuisance. Defendants knew or reasonably should have known that their statements regarding the

risks and benefits of vaping were false and misleading, that their marketing methods were

designed to appeal to minors, and that their false and misleading statements, marketing to

minors, and active efforts to increase the accessibility of vapor products and grow JUUL’s

market share, or the market share of Defendants’ products, were causing harm to you and to

municipalities, schools, and counties, including youth in the City and County of Denver and to

Plaintiff itself.

        394.        Thus, the public nuisance caused by Defendants was reasonably foreseeable,

including the financial and economic losses incurred by Plaintiff.

        395.        Alternatively, Defendants’ conduct was a substantial factor in bringing about the

public nuisance even if a similar result would have occurred without it. By directly marketing to

youth and continuing these marketing practices after it was evident that children were using

JUUL products in large numbers and were specifically using these products in schools, JLI

directly facilitated the spread of the youth vaping crisis and the public nuisance affecting the City

and County of Denver.

        396.        By seeking to capitalize on JLI’s success in addicting minors to nicotine and by

directly marketing to youth and continuing these marketing practices after it was evident that

children were using JUUL products and Eonsmoke products in large numbers and were

specifically using these products in schools, Eonsmoke directly facilitated the spread of the youth

vaping crisis and the public nuisance affecting the City and County of Denver.




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       397.    Altria, by investing billions of dollars in JLI and actively working to promote the

sale and spread of JUUL products with the knowledge of JLI’s practice of marketing JUUL

products to youth and its failure to control youth access to JUUL products, directly facilitated the

spread of the youth vaping crisis and the public nuisance affecting the City and County of

Denver.

       398.    Plaintiff has taken steps to address the harm caused by Defendants’ conduct,

including, but not limited to, those listed in Section IV.L above.

       399.    Fully abating the epidemic of youth vaping resulting from Defendants’ conduct

will require much more than these steps.

       400.    Plaintiff therefore requests all the relief to which it is entitled, including damages

in an amount to be determined at trial and an order providing for the abatement of the public

nuisance that Defendants have created or assisted in the creation of, and enjoining Defendants

from future conduct contributing to the public nuisance described above.

                   VIOLATIONS OF THE RACKETEER INFLUENCED AND
        CORRUPT ORGANIZATIONS ACT (“RICO”), 18 U.S.C. § 1961 ET SEQ.

       401.    Plaintiff hereby incorporates by reference the allegations contained in the

preceding paragraphs of this complaint.

       402.    This claim is brought by Plaintiff against Defendants JLI and the Altria

Defendants (“Youth Marketing Cover-Up Enterprise Defendants”) for actual damages, treble

damages, and equitable relief under 18 U.S.C. § 1964 for violations of 18 U.S.C. § 1961 et seq.

       403.    At all relevant times, each Youth Marketing Cover-Up Enterprise Defendant is

and has been a “person” within the meaning of 18 U.S.C. § 1961(3), because they are capable of

holding, and do hold, “a legal or beneficial interest in property.”


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        404.    Plaintiff is a “person,” as that term is defined in 18 U.S.C. § 1961(3), and has

standing to sue as it was and is injured in its business and/or property as a result of the Youth

Marketing Cover-Up Enterprise Defendants’ wrongful conduct described herein.

        405.    Section 1962(c) makes it “unlawful for any person employed by or associated

with any enterprise engaged in, or the activities of which affect, interstate or foreign commerce,

to conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through

a pattern of racketeering activity . . . .” 18 U.S.C. § 1962(c).

        406.    Section 1962(d) makes it unlawful for “any person to conspire to violate” Section

1962(c), among other provisions. See 18 U.S.C. § 1962(d).

        407.    Each Youth Marketing Cover-Up Enterprise Defendant conducted the affairs of

an enterprise through a pattern of racketeering activity, in violation of 18 U.S.C. § 1962(c) and §

1962(d).

A.      Description of Defendants’ Youth Marketing Cover-Up Enterprise

        408.    RICO defines an enterprise as “any individual, partnership, corporation,

association, or other legal entity, and any union or group of individuals associated in fact

although not a legal entity.” 18 U.S.C. § 1961(4).

        409.    Under 18 U.S.C. § 1961(4) a RICO “enterprise” may be an association-in-fact

that, although it has no formal legal structure, has (i) a common purpose, (ii) relationships among

those associated with the enterprise, and (iii) longevity sufficient to pursue the enterprise’s

purpose. See Boyle v. United States, 556 U.S. 938, 946 (2009).




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       410.    Defendants JLI and Altria formed an association-in-fact enterprise—referred to

herein as the Youth Marketing Cover-Up Enterprise. This Enterprise exists separately from the

otherwise legitimate business operations of JLI and Altria.

       411.    The Youth Marketing Cover-Up Enterprise is an ongoing and continuing business

organization consisting of “persons” within the meaning of 18 U.S.C. § 1961(3) that created and

maintained systematic links for a common purpose: fraudulently maintaining and expanding

JLI’s massive, and ill-gotten, share of the e-cigarette market.

       412.    As set forth above, JLI obtained its massive market share over a short time period

by successfully targeting youth and addicting youth to nicotine.

B.     The Enterprise Sought to Fraudulently Deny Having Marketed to Youth in
       Maintaining and Expanding JUUL’s Youth Market Share

       413.    As described above, Altria—having long followed JUUL’s market-share

dominance with envy—decided to go from JLI’s competitor to its co-conspirator. Altria and JLI

thus formed the Youth Marketing Cover-Up Enterprise with the goal of preserving, and profiting

from, JUUL’s ill-gotten market share.

       414.    The Youth Marketing Cover-Up Enterprise recognized that one of the keys to

preserving JUUL’s market share was to continue to falsely deny that JLI marketed its tobacco

products to youth. Both JLI and Altria knew that once JLI had established a base of young

customers, the focus had to be on covering up JLI’s past youth marketing in order to keep JUUL

products available in communities like Plaintiff’s. To further this effort, JLI and Altria have also

made repeated statements through the mail and wires, in advertising and otherwise, that JLI does

not market to youth and its marketing is only aimed at adult smokers, that none of the Youth

Marketing Cover-Up Defendants want youth to vape, and vaping is for adults only. But this is


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not now, and has not ever been, an effective tactic to prevent youth initiation, as Altria well

knows. In upholding the United States’ lawsuit against Altria and other Big Tobacco defendants,

for marketing and civil violations of RICO, the court recognized that “smoking has traditionally

been viewed by adolescents and young adults as sophisticated adult behavior to be emulated.”607

As mentioned above, “[e]mphasizing that smoking is an adult activity underscores the

desirability of engaging in adult behavior for adolescents who are particularly motivated to

appear mature.”608

          415.   JLI and the Altria Defendants worked in concert to defraud the public and

regulators in order to quell a public outcry and prevent regulation that would have impeded their

plan to maintain and expand sales of JUUL products to a customer base primarily consisting of

youth. Specifically, they worked to ensure that certain flavors popular with youth such as mint

remained on the market as long as possible, even while publicly declaring that they were

removing flavors from the market to specifically address the youth vaping crisis and despite their

knowledge that mint was a particularly attractive flavor to youth.

          416.   Thus, in furtherance of their Enterprise, JLI and Altria repeatedly made

statements denying that youth were intended targets for JUUL products and asserting that JUUL

products were really created and designed as a smoking cessation device, intended from the start

for “switchers” (existing smokers who are open to vaping). These statements are false, and

constitute mail and wire fraud, predicate acts under RICO.




607
      Philip Morris, 449 F. Supp. 2d at 617.
608
      Id. at 669.


                                                 186
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       417.    At all relevant times, each Youth Marketing Cover-Up Enterprise Defendant was

aware of the conduct of the Youth Marketing Cover-Up Enterprise, was a knowing and willing

participant in that conduct, and reaped profits from that conduct in the form of sales and

distribution of JUUL products.

       418.    The persons engaged in the Youth Marketing Cover-Up Enterprise are

systematically linked through contractual relationships, financial ties, and continuing

coordination of activities.

       419.    There is regular communication between JLI and the Altria Defendants in which

information regarding the Youth Marketing Cover-Up Enterprise Defendants’ scheme to protect,

maintain and expand JUUL’s market share is shared. Typically, this communication occurred,

and continues to occur, through the use of the mail and wires in which Defendants share

information regarding the operation of the Youth Marketing Cover-Up Enterprise and its cover-

up of JLI’s efforts to target and addict youth.

       420.    The Youth Marketing Cover-Up Enterprise functions as a continuing unit for the

purposes of executing and accomplishing its objectives, and when issues arise, each member of

the Enterprise agrees to take action to support the Enterprise.

       421.    Each Youth Marketing Cover-Up Enterprise Defendant participated in the

operation and management of the Youth Marketing Cover-Up Enterprise by directing its affairs

as described herein.

       422.    While the Youth Marketing Cover-Up Enterprise Defendants participate in, and

are members of, the Youth Marketing Cover-Up Enterprise, they have an existence separate from




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the Enterprise, including distinct legal statuses, affairs, offices and roles, officers, directors,

employees, and individual personhood.

        423.      Without the willing participation of each Youth Marketing Cover-Up Enterprise

Defendant, the Youth Marketing Cover-Up Enterprise’s common course of conduct would not be

successful.

C.      Predicate Acts: Mail and Wire Fraud

        424.      To carry out, or attempt to carry out, the objectives of the Youth Marketing

Cover-Up Enterprise, the members of the Enterprise, each of whom is a person associated-in-fact

with the Enterprise, did knowingly conduct or participate in, directly or indirectly, the affairs of

the Enterprise through a pattern of racketeering activity within the meaning of 18 U.S.C. §§

1961(1), 1961(5) and 1962(c), and employed the use of the mail and wire facilities, in violation

of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

        425.      Specifically, the members of the Youth Marketing Cover-Up Enterprise have

committed, conspired to commit, and/or aided and abetted in the commission of, at least two

predicate acts of racketeering activity (i.e., violations of 18 U.S.C. §§ 1341 and 1343), within the

past ten years.

        426.      The multiple acts of racketeering activity which the members of the Youth

Marketing Cover-Up Enterprise committed, or aided or abetted in the commission of, were

related to each other, posed a threat of continued racketeering activity, and therefore constitute a

“pattern of racketeering activity.”

        427.      The racketeering activity was made possible by the Enterprise’s regular use of the

facilities, services, and employees of the Enterprise.



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       428.    The members of the Youth Marketing Cover-Up Enterprise participated in the

Enterprise by using mail, telephone, and the internet to transmit mailings and wires in interstate

or foreign commerce.

       429.    The members of the Youth Marketing Cover-Up Enterprise used, directed the use

of, and/or caused to be used, thousands of interstate mail and wire communications in service of

the Enterprise’s objectives through common misrepresentations, concealments, and material

omissions.

       430.    In devising and executing the objectives of the Youth Marketing Cover-Up

Enterprise, its members devised and knowingly carried out a material scheme and/or artifice to

defraud the public by marketing JUUL products to youth, ensuring that youth could access JUUL

products, and then denying that JUUL products were marketed to youth, and maintained that

JUUL was really created and designed as a smoking cessation device.

       431.    For the purpose of furthering its desire to preserve and increase its market share,

even at the expense of exposing and addicting youth to nicotine, the Youth Marketing Cover-Up

Enterprise committed these racketeering acts, which number in the thousands, intentionally and

knowingly with the specific intent to advance its objectives.

       432.    In order to protect JLI’s ability to continue to sell JUUL products and market to

youth, the Altria Defendants and JLI, through their operation of the Youth Marketing Cover-Up

Enterprise, worked in concert to defraud the public and regulators in order to prevent the public

and political condemnation that would have impeded the Youth Marketing Cover-Up

Enterprise’s common purpose: maintaining and expanding JLI’s massive, and ill-gotten, share of

the e-cigarette market.



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         433.   In furtherance of their Enterprise, JLI and Altria repeatedly made statements to

the public disclaiming any desire to build a youth market, and statements that JUUL was always

intended for and marketed to adult smokers and/or as a smoking cessation device. In truth, JUUL

was a potent nicotine delivery system designed to addict non-smokers, particularly youth, to

nicotine, and in fact was specifically marketed to appeal to children. It was only in the face of

widespread public outrage and increased scrutiny that Youth Marketing Cover-Up Enterprise

dramatically re-shaped its marketing message and launched its “Make the Switch” campaign. In

making these representations, JLI and Altria intended that consumers, the public, and regulators

rely on misrepresentations that JUUL products were designed to assist smoking cessation, did

not pose a threat to public health, and were never intended to be used or marketed to appeal to

youth.

         434.   These statements by the Youth Marketing Cover-Up Enterprise Defendants are

false, and constitute mail and wire fraud, predicate acts under RICO.

         435.   Each of the Youth Marketing Cover-Up Enterprise Defendants knew at the time

of making these statements that they were untrue and misleading. JUUL is not FDA-approved as

a cessation product.

         436.   Each of the foregoing statements and transmissions constitutes a predicate act of

wire fraud. The Youth Marketing Cover-Up Enterprise Defendants made these transmissions and

statements, knowing they would be transmitted via wire, with the intent to market to youth and to

deceive the public, the FDA, and Congress as to JLI and its officers and directors’ true intentions

of hooking underage users.




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       437.    As set forth herein, JLI obtained its massive market share over a short time period

by successfully targeting youth and addicting youth to nicotine. Altria’s investment in and

provision of “services” to JLI reflect an intention to further the Enterprise’s common purpose of

fraudulently maintaining and expanding JUUL’s market share, including by maintaining and

growing JLI’s youth sales. JUUL’s predominantly youth customer base ensures a steady supply

of nicotine-addicted customers—creating a new generation of customers for Altria’s products.

The Enterprise has worked to maintain and expand JUUL’s market share—which, based on

Altria’s own October 25, 2018 letter to the FDA, Altria believes was obtained by employing

marketing and advertising practices that contributed to youth vaping. The Enterprise’s efforts to

cover up the role of youth in JUUL’s sales are knowing, intentional, and fraudulent in violation

of RICO.

       438.    The Youth Marketing Cover-Up Enterprise’s predicate acts of racketeering (18

U.S.C. § 1961(1)) include, but are not limited to:

       A. Mail Fraud: the Youth Marketing Cover-Up Enterprise violated 18 U.S.C. §
       1341 by sending or receiving, or by causing to be sent and/or received, fraudulent
       materials via U.S. mail or commercial interstate carriers for the purpose of
       deceiving the public regarding its efforts to market to youth and the true purpose
       and design behind its products; and

       B. Wire Fraud: the Youth Marketing Cover-Up Enterprise violated 18 U.S.C. §
       1343 by transmitting and/or receiving, or by causing to be transmitted and/or
       received, fraudulent materials by wire for the purpose of deceiving the public
       regarding its efforts to market to youth and the true purpose and design behind its
       products.

       439.    The Youth Marketing Cover-Up Enterprise falsely and misleadingly used the mail

and wires in violation of 18 U.S.C. § 1341 and § 1343. Illustrative and non-exhaustive examples

include the following:



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       1.      “Here at JUUL we are focused on driving innovation to eliminate cigarettes, with
               the corporate goal of improving the lives of the world’s one billion adult
               smokers.” (JLI’s Twitter Feed, July 5, 2017).609

       2.      “It’s a really, really important issue. We don’t want kids using our products.”
               (CNBC Interview of JLI’s Chief Administrative Officer, December 14, 2017).610

       3.      “We market our products responsibly, following strict guidelines to have material
               directly exclusively toward adult smokers and never to youth audiences.” (JLI
               Social Media Post, March 14, 2018).611

       4.      “JUUL Labs was founded by former smokers, James and Adam, with the goal of
               improving the lives of the world’s one billion adult smokers by eliminating
               cigarettes. We envision a world where fewer adults use cigarettes, and where
               adults who smoke cigarettes have the tools to reduce or eliminate their
               consumption entirely, should they so desire.” (JLI Website, April 2018 (or
               earlier)).612

       5.      “Our company’s mission is to eliminate cigarettes and help the more than one
               billion smokers worldwide switch to a better alternative,” said JUUL Labs Chief
               Executive Officer Kevin Burns. “We are already seeing success in our efforts to
               enable adult smokers to transition away from cigarettes and believe our products
               have the potential over the long-term to contribute meaningfully to public health
               in the U.S. and around the world. At the same time, we are committed to deterring
               young people, as well as adults who do not currently smoke, from using our
               products. We cannot be more emphatic on this point: No young person or non-
               nicotine user should ever try JUUL.” (JLI Press Release, April 25, 2018).613

       6.      “Our objective is to provide the 38 million American adult smokers with
               meaningful alternatives to cigarettes while also ensuring that individuals who are
               not already smokers, particularly young people, are not attracted to nicotine
               products such as JUUL,” said JUUL Labs Chief Administrative Officer Ashley
               Gould, who heads the company's regulatory, scientific and youth education and
               prevention programs. “We want to be a leader in seeking solutions, and are
609
    Jackler et al., supra note 46 at 25 (This was the first mention of the term “adult” or “adult
  smoker” on JLI’s Twitter Feed).
610
     Angelica LaVito, Nearly one-quarter of teens are using pot, CNBC (Dec. 14, 2017),
  https://www.cnbc.com/2017/12/13/marijuana-and-nicotine-vaping-popular-among-teens-
  according-to-study.html (Interview with Ashely Gould, JUUL Chief Administrative Officer).
611
    Jackler et al., supra note 46 at 2 (citing a JUUL social media post from March 14, 2018).
612
    Our Mission, JUUL Labs, Inc., https://www.juul.com/mission-values (last visited Mar. 28,
  2020) (emphasis added).
613
    JUUL Labs Announces Comprehensive Strategy, supra note 400.


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              actively engaged with, and listening to, community leaders, educators and
              lawmakers on how best to effectively keep young people away from JUUL.” (JLI
              Press Release, April 25, 2018).614

       7.     “JUUL was not designed for youth, nor has any marketing or research effort since
              the product’s inception been targeted to youth.” (Letter to FDA, June 15, 2018).615

       8.     “With this response, the Company hopes FDA comes to appreciate why the
              product was developed and how JUUL has been marketed — to provide a viable
              alternative to cigarettes for adult smokers.” (Letter to FDA, June 15, 2018).616

       9.     “We welcome the opportunity to work with the Massachusetts Attorney General
              because, we too, are committed to preventing underage use of JUUL. We utilize
              stringent online tools to block attempts by those under the age of 21 from
              purchasing our products, including unique ID match and age verification
              technology. Furthermore, we have never marketed to anyone underage. Like
              many Silicon Valley technology startups, our growth is not the result of marketing
              but rather a superior product disrupting an archaic industry. When adult smokers
              find an effective alternative to cigarettes, they tell other adult smokers. That’s
              how we’ve gained 70% of the market share. . . Our ecommerce platform utilizes
              unique ID match and age verification technology to make sure minors are not able
              to access and purchase our products online.” (Statement from Matt David, JLI
              Chief Communications Officer, July 24, 2018).617

       10.    “We adhere to strict guidelines to ensure that our marketing and commercial
              communications are directed toward existing adult smokers.” (JLI Website, July
              26, 2018).

       11.    “We did not create JUUL to undermine years of effective tobacco control, and we
              do not want to see a new generation of smokers.” (JLI’s website as of July 26,
              2018).618




614
    Id.
615
    Letter from JUUL’s Counsel at Sidley Austin to Matthew Holman, M.D., FDA at 2 (June 15,
  2018).
616
    Id. at 3.
617
    Statement Regarding The Press Conference Held By The Massachusetts Attorney General,
  JUUL Labs, Inc. (July 24, 2018), https://newsroom.juul.com/statement-regarding-the-press-
  conference-held-by-the-massachusetts-attorney-general/.
618
    Our Responsibility, JUUL Labs, Inc. (July 26, 2018),
  https://web.archive.org/web/20180726021743/https://www.juul.com/our-responsibility (last
  visited Mar. 29, 2020).


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       12.    “Although we do not believe we have a current issue with youth access to or use
              of our pod-based products, we do not want to risk contributing to the issue.”
              (Letter from Altria CEO to FDA Commissioner Gottlieb, October 25, 2018).619

       13.    “We believe e-vapor products present an important opportunity to adult
              smokers to switch from combustible cigarettes.” (Letter to FDA Commissioner
              Gottlieb, October 25, 2018).620

       14.    “We don’t want anyone who doesn’t smoke, or already use nicotine, to use JUUL
              products. We certainly don’t want youth using the product. It is bad for public
              health, and it is bad for our mission. JUUL Labs and FDA share a common goal –
              preventing youth from initiating on nicotine.” (JLI Website, November 12,
              2018).621

       15.    “To paraphrase Commissioner Gottlieb, we want to be the offramp for adult
              smokers to switch from cigarettes, not an on-ramp for America’s youth to initiate
              on nicotine.” (JLI Website, November 13, 2018).622

       16.    “We won’t be successful in our mission to serve adult smokers if we don’t narrow
              the on-ramp. . . . Our intent was never to have youth use JUUL products.” (JLI
              Website, November 13, 2018).623

       17.    “Altria and JUUL are committed to preventing kids from using any tobacco
              products. As recent studies have made clear, youth vaping is a serious problem,
              which both Altria and JUUL are committed to solve. As JUUL previously said,
              ‘Our intent was never to have youth use JUUL products.’” (Altria News Release,
              December 20, 2018).624

       18.    “Altria’s investment sends a very clear message that JUUL’s technology has
              given us a truly historic opportunity to improve the lives of the world’s one billion
              adult cigarette smokers,” said Kevin Burns, Chief Executive Officer of JUUL.
              “This investment and the service agreements will accelerate our mission to
              increase the number of adult smokers who switch from combustible cigarettes to
              JUUL devices.” (Altria News Release, December 20, 2018).625

       19.    “We have long said that providing adult smokers with superior, satisfying
              products with the potential to reduce harm is the best way to achieve tobacco

619
    Willard, Letter to Gottlieb, supra note 426 at 2.
620
    Id. (emphasis added).
621
    JUUL Labs Action Plan, supra note 441 (statement of Ken Burns, former CEO of JUUL).
622
    Id.
623
    Id.
624
    Altria Minority Investment, supra note 451.
625
    Id.


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              harm reduction. Through Juul, we are making the biggest investment in our
              history toward that goal.” (Altria News Release, December 20, 2018).626

       20.    “We are taking significant action to prepare for a future where adult smokers
              overwhelmingly choose non-combustible products over cigarettes by investing
              $12.8 billion in JUUL, a world leader in switching adult smokers . . . . We have
              long said that providing adult smokers with superior, satisfying products with the
              potential to reduce harm is the best way to achieve tobacco harm reduction.”
              (Altria News Release, December 20, 2018).627

       21.    “Almost my entire career, we have believed that our business would be better in
              the long term if we could offer harm reduced products that would represent
              attractive alternatives to our adult cigarette smokers to switch. And we have
              invested billions of dollars in it and lots of effort. And ultimately until December
              this year, we really didn't have the product portfolio to fully achieve our harm
              reduction aspiration. And the opportunity to invest in JUUL, I think, really makes
              that harm reduction aspiration a reality.” (Altria Earnings Call, January 31,
              2019).628

       22.    “Through JUUL, we have found a unique opportunity to not only participate
              meaningfully in the e-vapor category but to also support and even accelerate
              transition to noncombustible alternative products by adult smokers.” (Altria
              Earnings Call, January 31, 2019).629

       23.    “We expect the JUUL product features that have driven JUUL's success in
              switching adult smokers in the U.S. to strongly appeal to international adult
              cigarette smokers.” (Altria Earnings Call, January 31, 2019).630

       24.    “Throughout our analysis, it became clear that investing with JUUL to accelerate
              its global growth was more value accretive than investing internally to leap frog
              its product. We determined that our services and infrastructure could complement
              JUUL’s terrific product and capabilities, and help advance a compelling long-
              term commercial and harm-reduction opportunity.” (Remarks by Altria CEO, Feb.
              20, 2019).631

       25.    “First of all, I’d tell them that I’m sorry that their child’s using the product. It’s
              not intended for them. I hope there was nothing that we did that made it appealing
              to them. As a parent of a 16-year-old, I’m sorry for them, and I have empathy for

626
    Id. (emphasis added).
627
    Id. (emphasis added).
628
    Altria Q4 2018 Earnings Call Transcript, supra note 464.
629
    Id. (emphasis added).
630
    Id. (emphasis added).
631
    Altria, supra note 379.


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              them, in terms of what the challenges they’re going through.” (CNBC Interview
              of JLI CEO, July 13, 2019).632

       26.    “We never wanted any non-nicotine user, and certainly nobody under the legal
              age of purchase, to ever use Juul products. . . .That is a serious problem. Our
              company has no higher priority than combatting underage use.” (Testimony of
              James Monsees, July 25, 2019).633

       27.    James Monsees, one of the company’s co-founders, said selling JUUL products to
              youth was “antithetical to the company’s mission.”(James Monsees’ Statement to
              The New York Times, August 27, 2019).634

       28.    “Our focus is and will remain entirely on helping adult smokers switch away
              from combustible cigarettes, the leading cause of preventable death in the world.”
              (Statement by JLI spokesman to The New York Times, August 27, 2019).635

       29.    “We have no higher priority than to prevent youth usage of our products which is
              why we have taken aggressive, industry leading actions to combat youth usage.”
              (JLI Website, August 29, 2019).636

       30.    “JUUL Labs, which exists to help adult smokers switch off of combustible
              cigarettes. . .” (JLI Website, September 19, 2019).637




632
    Angelica LaVito, As Juul grapples with teen vaping ‘epidemic,’ CEO tells parent ‘I’m sorry’,
  CNBC (July 13, 2019), https://www.cnbc.com/2019/07/13/as-juul-deals-with-teen-vaping-
  epidemic-ceo-tells-parents-im-sorry.html.
633
    Examining JUUL’s Role in the Youth Nicotine Epidemic: Part II: Hearing Before the House
  Committee on Oversight and Reform Subcommittee on Economic and Consumer Policy at 1
  (July 25, 2019), https://docs.house.gov/meetings/GO/GO05/20190725/109846/HHRG-116-
  GO05-Wstate-MonseesJ-20190725.pdf (testimony of JUUL Founder James Monsees).
634
    Richtel & Kaplan, supra note 137.
635
    Sheila Kaplan, Philip Morris and Altria Are in Talks to Merge, N.Y. Times (Aug. 27, 2019),
    https://www.nytimes.com/2019/08/27/health/philip-morris-altria-merger-tobacco.html
    (statement made by Joshua Raffel, JUUL spokesperson).
636
    Our Actions to Combat Underage Use, JUUL Labs, Inc. (Aug. 29, 2019),
  https://newsroom.juul.com/ouractions-to-combat-underage-use/ (JUUL statement in response
  to lawsuits).
637
    CONSUMER UPDATE: 9/19, JUUL Labs, Inc (Sept. 19, 2019),
  https://newsroom.juul.com/consumer-update-9-19/ (emphasis added).


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       31.    “We have never marketed to youth and we never will.”(JLI Statement to Los
              Angeles Times, September 24, 2019).638

       32.    “In late 2017 and into early 2018, we saw that the previously flat e-vapor category
              had begun to grow rapidly. JUUL was responsible for much of the category
              growth and had quickly become a very compelling product among adult
              vapers. We decided to pursue an economic interest in JUUL, believing that an
              investment would significantly improve our ability to bring adult smokers a
              leading portfolio of non-combustible products and strengthen our competitive
              position with regards to potentially reduced risk products.” (Letter from Altria
              CEO to Senator Durbin, October 14, 2019).639

       33.    “The growth of the e-vapor category since 2017 illustrates the willingness of adult
              smokers to try these products, and JUUL in particular has been highly
              successful at moving adult smokers away from cigarettes.” (Remarks by Altria
              CEO, Feb. 19, 2020).640

       34.    “JUUL was designed with adult smokers in mind. . . . By accommodating
              cigarette-like nicotine levels, JUUL provides satisfaction to meet the standards
              of adult smokers looking to switch from smoking cigarettes.” (JLI Website, last
              visited March 29, 2020).641

       440.   The mail and wire transmissions described herein were made in furtherance of the

Youth Marketing Cover-Up Enterprise Defendants’ scheme and common course of conduct

designed to fraudulently grow the market of nicotine-addicted youth and to cover up JLI and the

its officers and directors’ marketing to youth, thereby increasing or maintaining JUUL’s market

share, resulting in corresponding high profits for all Youth Marketing Cover-Up Enterprise

Defendants.




638
    Michael Hiltzik, Column: Studies show how Juul exploited social media to get teens to start
  vaping, L.A. Times (Sept. 24, 2019), https://www.latimes.com/business/story/2019-09-
  24/hiltzik-juul-target-teens (statement made on behalf of JUUL).
639
    Willard, Letter to Senator Durbin, supra note 23 at 3 (emphasis added).
640
    Altria Group, Inc., Current Report (Form 8-K), Ex. 99.1 at 5 (Feb. 19, 2020),
  https://www.sec.gov/Archives/edgar/data/764180/000076418020000013/exhibit991-
  2020cagnyre.htm (emphasis added).
641
    JUUL Labs, Inc., https://www.juul.com/ (last visited Mar. 29, 2020) (emphasis added).


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       441.    Some of the precise dates of the fraudulent uses of the mail and interstate wire

facilities have been deliberately hidden and cannot be alleged without access to the Youth

Marketing Cover-Up Enterprise Defendants’ books and records. However, Plaintiff has

described the types of predicate acts of mail and/or wire fraud, including the specific types of

fraudulent statements upon which, through the mail and wires, the Youth Marketing Cover-Up

Enterprise engaged in fraudulent activity in furtherance of its scheme.

       442.    The members of the Enterprise have not undertaken the practices described herein

in isolation, but as part of a common scheme and conspiracy. In violation of 18 U.S.C. §

1962(d), the members of the Youth Marketing Cover-Up Enterprise conspired to violate 18

U.S.C. § 1962(c), as described herein. On information and belief, various other persons, firms,

and corporations, including third-party entities and individuals not named as Defendants herein,

have participated as co-conspirators with the Youth Marketing Cover-Up Enterprise Defendants

and the members of the Youth Marketing Cover-Up Enterprise in these offenses and have

performed acts in furtherance of the conspiracy to increase or maintain revenue, maintain or

increase market share, and/or minimize losses for the Youth Marketing Cover-Up Enterprise

Defendants and their named and unnamed co-conspirators throughout the illegal scheme and

common course of conduct.

       443.    To achieve their common goals, the members of the Enterprise hid from Plaintiff

and the public: (1) the fraudulent nature of the Youth Marketing Cover-Up Enterprise scheme;

(2) the fraudulent nature of statements made by the Youth Marketing Cover-Up Enterprise

Defendants regarding JLI’s efforts to target youth and the nature of JLI’s products; and (3) the

true nature and objective of the relationship between the members of the Enterprise.



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       444.    Each member of the Youth Marketing Cover-Up Enterprise, with knowledge and

intent, agreed to the overall objectives of the schemes and participated in the common course of

conduct. Indeed, for the conspiracy to succeed, each of the members of the Youth Marketing

Cover-Up Enterprise had to agree to conceal their fraudulent scheme.

       445.    The members of the Youth Marketing Cover-Up Enterprise knew, and intended

that, the public would rely on the material misrepresentations and omissions made by them.

       446.    As described herein, the members of the Youth Marketing Cover-Up Enterprise

engaged in a pattern of related and continuous predicate acts for years. The predicate acts

constituted a variety of unlawful activities, each conducted with the common purpose of

maintaining JUUL’s ill-gotten market share and thereby continuing to receive significant monies

and revenues from the public, including youth, based on their misconduct.

       447.    The predicate acts also had the same or similar results, participants, victims, and

methods of commission.

       448.    The predicate acts were related and not isolated events.

       449.    The public, including youth and parents in Plaintiff’s community, relied on

Defendants’ fraudulent misrepresentations and omissions, as alleged above.

       450.    The Youth Marketing Cover-Up Enterprise Defendants’ fraudulent concealment

was material to Plaintiff and the public. The pattern of racketeering activity described above is

currently ongoing and open-ended, and threatens to continue indefinitely unless this Court

enjoins the racketeering activity.




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D.    Plaintiff Has Been Damaged by the Youth Marketing Cover-Up Enterprise
      Defendants’ RICO Violations

        451. Plaintiff has been injured by the Youth Marketing Cover-Up Enterprise

 Defendants’ predicate acts. By fraudulently denying JLI’s youth marketing and working to

 preserve and expand the market of underage JUUL customers, the Youth Marketing Cover-Up

 Enterprise caused the expansion of an illicit e-cigarette market for youth in Plaintiff’s

 community and caused a large number of youth in Plaintiff’s community to become addicted to

 nicotine. In addition, the Youth Marketing Cover-Up Enterprise Defendants intentionally

 sought to reach into schools and deceive public health officials in order to continue growing

 JLI’s youth customer base. The repeated fraudulent misstatements by the Youth Marketing

 Cover-Up Enterprise Defendants denying that JLI marketed to youth have served to preserve

 JUUL’s market share—a market share that is based upon children purchasing JLI’s tobacco

 products.

        452. Plaintiff was a direct victim of Defendants’ misconduct. The Youth Marketing

 Cover-Up Enterprise Defendants displayed a wanton disregard for public health and safety by

 intentionally addicting youth, including youth in Plaintiff’s community, to nicotine and then

 attempted to cover up their scheme in order to maintain and expand JUUL’s market share.

 Defendants actively concealed that they marketed to youth in order to avoid public

 condemnation and keep their products on the market and continue youth sales. This forced

 Plaintiff to shoulder the responsibility for this youth vaping crisis created by Defendants’

 misconduct. The harm created by the illicit youth e-cigarette market created by Defendants

 required Plaintiff to expend its limited financial resources to mitigate the health crisis of youth

 vaping. The expansion of this youth e-cigarette market was the goal of the Youth Marketing


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 Cover-Up Enterprise and is critical to its success. Therefore, the harm suffered by Plaintiff

 because it must address and mitigate the youth vaping crisis was directly foreseeable and in

 fact an intentional result of Defendants’ misconduct.

         453. The creation and maintenance of this youth e-cigarette market directly harms

 Plaintiff by imposing costs on its business and property. Plaintiff’s injuries were not solely the

 result of them having to spend money to act governmentally. Instead, as a result of Defendants’

 misconduct, Plaintiffs have been and will be forced to go far beyond what a governmental

 entity might ordinarily be expected to pay to enforce the laws to promote the general welfare in

 order to combat the youth vaping crisis. This includes providing new programs and new

 services as a direct result and in direct response to Defendants’ misconduct. As a result of the

 conduct of the Youth Marketing Cover-Up Defendants, Plaintiff has incurred and will incur

 costs that far exceed the norm.

       454.    The Youth Marketing Cover-Up Enterprise Defendants’ violations of 18 U.S.C. §

1962(c) and (d) have directly and proximately caused injuries and damages to Plaintiff, its

community, and the public, and Plaintiff is entitled to bring this action for three times its actual

damages, as well as for injunctive/equitable relief, costs, and reasonable attorneys’ fees and costs

pursuant to 18 U.S.C. § 1964(c).

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment as follows:

         455. Entering an Order that the conduct alleged herein constitutes a public nuisance

 under Colorado law;

         456. Entering an Order that Defendants are jointly and severally liable;



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        457. Entering an Order requiring Defendants to abate the public nuisance described

 herein and to deter and/or prevent the resumption of such nuisance;

        458. Enjoining Defendants from engaging in further actions causing or contributing to

 the public nuisance as described herein;

        459. Awarding equitable relief to fund prevention education and addiction treatment;

        460. Awarding actual and compensatory damages;

        461. Awarding statutory damages in the maximum amount permitted by law;

        462. Awarding reasonable attorneys’ fees and costs of suit;

        463. Awarding pre-judgment and post-judgment interest; and

        464. Such other and further relief as the Court deems just and proper under the

 circumstances.

                                JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury.


      RESPECTFULLY SUBMITTED this 1st day of April, 2020.

                                                    KELLER ROHRBACK L.L.P.


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                                                    By /s/ Derek W. Loeser
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